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                                Exhibit C
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                                     UNITED STATES SECURITIES AND EXCHANGE COMMISSION
                                                                       WASHINGTON, D.C. 20549
                                                                               FORM 10-K
(Mark One)
☒    ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
              For the fiscal year ended                          December 31, 2022


                                                                                        OR
☐    TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                     For the transition period from                                                       to
                                                                    Registrant; State of Incorporation; Address and
                              Commission File Number                              Telephone Number                            IRS Employer Identification No.

                                      001-38126                                                                                        XX-XXXXXXX




                                                                               Altice USA, Inc.
                                                                                       Delaware
                                                                                 1 Court Square West
                                                                        Long Island City, New York         11101
                                                                                    (516) 803-2300

Indicate by check mark if the Registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act                                   Yes    ☒   No   ☐

Indicate by check mark if the Registrant is not required to file reports pursuant to Section 13 or Section 15(d) of the Act                              Yes    ☐   No   ☒

Indicate by check mark whether the Registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of
1934 during the preceding 12 months (or for such shorter period that the Registrant was required to file such reports), and (2) has been subject to
such filing requirements for the past 90 days.                                                                                                        Yes       ☒   No   ☐

Indicate by check mark whether the Registrant has submitted electronically every Interactive Data File required to be submitted and posted pursuant
to Rule 405 of Regulation S-T (§232.405 of this chapter) during the preceding 12 months (or for such shorter period that the Registrant was required
to submit such files).                                                                                                                               Yes        ☒   No   ☐
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Indicate by check mark whether the Registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, a smaller reporting company or an emerging growth
company. See the definitions of "large accelerated filer", "accelerated filer", "smaller reporting company", and "emerging growth company" in Rule 12b-2 of the Exchange Act.
(Check one)

Large Accelerated Filer                                               ☒                             Accelerated filer                                                       ☐
Non-accelerated filer                                                 ☐                             Smaller reporting company                                               ☐
(Do not check if a smaller reporting company)                                                       Emerging growth company                                                 ☐

If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new or revised financial
accounting standards provided pursuant to Section 13(a) of the Exchange Act. ☐

Indicate by check mark whether the Registrant is a shell company (as defined in Rule 12b-2 of the Act).                                               Yes ☐         No     ☒


Indicate by check mark whether the registrant has filed a report on and attestation to its management’s assessment of the effectiveness of its internal control over
financial reporting under Section 404(b) of the Sarbanes-Oxley Act (15 U.S.C. 7262(b)) by the registered public accounting firm that prepared or issued its audit
report.                                                                                                                                                                    ☒

Aggregate market value of the voting and non-voting common equity held by non-affiliates of Altice USA, Inc. computed by reference to the
price at which the common equity was last sold on the New York Stock Exchange as of June 30, 2022:                                        $                      2,021,264,916

Securities registered pursuant to Section 12(b) of the Act:
                              Title of each class                                      Trading Symbol                      Name of each exchange on which registered
              Class A Common Stock, par value $0.01 per share                              ATUS                                             NYSE

Number of shares of common stock outstanding as of February 17, 2023                                                                              456,069,373

Documents incorporated by reference - Altice USA, Inc. intends to file with the Securities and Exchange Commission, not later than 120 days after the close of its fiscal year, a
definitive proxy statement or an amendment to this report filed under cover of Form 10-K/A containing the information required to be disclosed under Part III of Form 10-K.
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*   Some or all of these items are omitted because Altice USA, Inc. intends to file with the Securities and Exchange Commission, not later than 120 days after the close of its
    fiscal year, a definitive proxy statement or an amendment to this report filed under cover of Form 10-K/A containing the information required to be disclosed under Part III
    of Form 10-K.

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                                                                                   PART I
Item 1.      Business
Altice USA, Inc. ("Altice USA" or the "Company") was incorporated in Delaware on September 14, 2015. The Company is controlled by Patrick Drahi through Next Alt.
S.à.r.l. ("Next Alt"), who also controls Altice Group Lux S.à.r.l., formerly Altice Europe N.V. ("Altice Europe") and its subsidiaries and other entities.
Altice USA is a holding company that does not conduct any business operations of its own. Altice Europe, through a subsidiary, acquired Cequel Corporation ("Cequel") on
December 21, 2015 (the "Cequel Acquisition") and Cequel was contributed to Altice USA on June 9, 2016. Altice USA acquired Cablevision Systems Corporation
("Cablevision") on June 21, 2016 (the "Cablevision Acquisition").
We principally provide broadband communications and video services in the United States and market our services primarily under the Optimum brand. We deliver broadband,
video, and telephony services to approximately 4.9 million residential and business customers. Our footprint extends across 21 states (primarily in the New York metropolitan
area and various markets in the south-central United States) through a fiber-rich hybrid-fiber coaxial ("HFC") broadband network and a fiber-to-the-home ("FTTH") network
with approximately 9.5 million total passings as of December 31, 2022. Additionally, we offer news programming and advertising services, and a full service mobile offering to
consumers across our footprint.
Our ongoing FTTH network build, with planned upgrades, will enable us to deliver multi-gig broadband speeds to meet the growing data needs of residential and business
customers. Concurrent to our FTTH network deployment, we also continue to upgrade our existing HFC network through the deployment of digital and expansion of Data Over
Cable Service Interface Specification ("DOCSIS") 3.1 technology in order to roll out enhanced broadband services to customers. We currently make available in a majority of
our footprint 1 Gbps broadband services which provide a connectivity experience supporting the most data-intensive activities, including streaming 4K ultra-high-definition
("UHD") and high-definition ("HD") video on multiple devices, online multi-player video game streaming platforms, video chatting, streaming music, high-quality virtual-and
augmented reality experiences, and downloading large files.
The following table presents certain financial data and metrics for Altice USA:
                                                                                                                                Years ended December 31,
                                                                                                                 2022                     2021                      2020
                                                                                                                           (in thousands, except percentage data)
Customer Relationships (a)                                                                                            4,879.7                    5,014.7                 5,024.6
Revenue                                                                                                $           9,647,659      $          10,090,849      $        9,894,642
Adjusted EBITDA (b)                                                                                    $           3,866,537      $            4,427,251     $        4,414,814
Adjusted EBITDA as % of Revenue                                                                                          40.1 %                      43.9 %                 44.6 %
Net income attributable to Altice USA, Inc. stockholders                                               $             194,563      $              990,311     $          436,183


(a)      Customer metrics do not include mobile customers. Please refer to "Management's Discussion and Analysis of Financial Condition and Results of Operations" for additional
         information regarding our customer metrics.
(b)      For additional information regarding Adjusted EBITDA, including a reconciliation of Net Income to Adjusted EBITDA, please refer to "Management's Discussion and Analysis of
         Financial Condition and Results of Operations."


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Our Products and Services
We provide broadband, video and telephony services to both residential and business customers. We also provide enterprise-grade fiber connectivity, bandwidth and managed
services to enterprise customers and provide advertising time and services to advertisers. In 2022, we surpassed 2.1 million homes and businesses passed with our state-of-the-
art FTTH network. In addition, we offer various news programming through traditional linear and digital platforms and a full service mobile offering to consumers across our
footprint.
The prices we charge for our services vary based on the number of services and associated service level or tier our customers choose, coupled with any promotions we may
offer.
Residential Services
The following table shows our residential customer relationships for broadband, video and telephony services provided to residential customers.
                                                                                                                                            December 31,
                                                                                                                        2022                   2021               2020
                                                                                                                                           (in thousands)
Total residential customer relationships:                                                                                   4,498.5                 4,632.8              4,648.4
 Broadband                                                                                                                  4,282.9                 4,386.2              4,359.2
 Video                                                                                                                      2,439.0                 2,732.3              2,961.0
 Telephony                                                                                                                  1,764.1                 2,005.2              2,214.0



The following table shows our revenues for broadband, video and telephony services provided to residential customers.
                                                                                                                                    Years Ended December 31,
                                                                                                                    2022                     2021                 2020
Residential revenue:                                                                                                                      (in thousands)
 Broadband                                                                                                  $           3,930,667     $          3,925,089    $     3,689,159
 Video                                                                                                                  3,281,306                3,526,205          3,670,859
 Telephony                                                                                                                332,406                  404,813            468,777

Broadband Services
We offer a variety of broadband service tiers tailored to meet the different needs of our residential customers. Current offers include download speeds up to 5 Gbps for our
residential customers. We make FTTH symmetrical broadband service available to over 2.1 million homes and plan to continue this expansion throughout our footprint. In 2022,
we added 2 Gbps and 5 Gbps symmetrical speed tiers to a portion of our FTTH network and expanded deployment of Smart WiFi 6. We expect to make these speeds available
to all residential and business customers in our FTTH footprint in the future.
Substantially all of our HFC network is digital and DOCSIS 3.1 compatible, with 242 homes per node and a bandwidth capacity of at least 750 MHz throughout. This network
allows us to provide our customers with advanced broadband, video and telephony services.
In addition, we have deployed WiFi across our footprint providing for approximately 1.5 million total WiFi hotspots as of December 31, 2022. The WiFi network allows
broadband customers to access Internet connectivity while they are away from their home or office. WiFi is delivered via wireless access points mounted on our broadband
network, in certain retail partner locations, certain rail stations, New York City parks and other public venues. Some of our equipment includes a second network that enables
all broadband customers to access the WiFi network throughout the neighborhoods we serve. Access to the WiFi network is offered as a free value-added benefit to broadband
customers. Our WiFi service also allows our broadband customers to access the WiFi networks of Comcast Corporation ("Comcast"), Charter Communications, Inc. ("Charter")
and Cox Communications, Inc. Through these relationships we offer our customers complimentary access to additional hotspots nationwide.


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Video Services
We currently offer a variety of video services through Optimum TV, which include delivery of broadcast stations and cable networks, over the top ("OTT") services such as
Netflix, YouTube and others, advanced digital video services, such as video-on-demand ("VOD"), HD channels, digital video recorder ("DVR") and pay-per-view, to our
residential markets. Depending on the market and level of service, customers have access to local broadcast networks and independent television stations, news, information,
sports and entertainment channels, regional sports networks, international channels and premium services such as HBO, Showtime and Cinemax. Additionally, we provide app
based solutions for TV, including a companion mobile app that allows viewing of television content on iOS or Android devices, as well as the available Optimum TV app on
Apple TV for eligible customers.
Our residential customers pay a monthly charge based on the video programming level of service, tier or package they receive and the type of equipment they select. Customers
who subscribe to seasonal sports packages, international channels and premium services may be charged an additional monthly amount. We may also charge additional fees for
pay-per-view programming and events, DVR and certain VOD services.
As of December 31, 2022, our residential customers were able to receive between 452 to 583 digital channels depending on their market and level of service. In addition,
depending on the service area, we offer between 146 to 186 HD channels which represent the most widely watched programming, including all major broadcast networks, as
well as most leading national cable networks, premium channels and regional sports networks.
We also provide advanced services, such as pay-per-view and VOD, that give residential video customers control over when they watch their favorite programming. Our pay-
per-view service allows customers to pay to view single showings of programming on an unedited, commercial-free basis, including feature films, live sporting events, concerts
and other special events. Our VOD service provides on-demand access to movies, special events, free prime time content and general interest titles. Subscription-based VOD
premium content such as HBO and Showtime is made available to customers who subscribe to one of our premium programming packages.
For a monthly fee, we offer DVR services. Depending on the service area and market, customers may receive either a set-top box DVR with the ability to record, pause and
rewind live television or an enhanced Cloud DVR with remote-storage capability to record 15 shows simultaneously while watching any live or pre-recorded show, and pause
and rewind live television with three storage capacity options to select from.
Additionally, customers can use their credentials to access apps provided by programmers and networks on platforms where these apps are offered.
We also provide an entertainment product, Optimum Stream, to our non-video broadband customers that offers customers access to a wide variety of video content through an
easy self-installation device.
Telephony Services
Through Voice over Internet protocol ("VoIP") telephone service we also offer unlimited local, regional and long-distance calling within the United States, Canada, Puerto Rico
and the U.S. Virgin Islands for a flat monthly rate, including popular calling features such as caller ID with name and number, call waiting, three-way calling and enhanced
emergency 911 dialing. We also offer additional options designed to meet our customers' needs, including directory assistance, voicemail services and international calling.
Mobile
We offer a mobile service providing data, talk and text to consumers in or near our service footprint. The service is delivered over a nationwide network with long-term
evolution ("LTE") and 5G (where available) coverage through our network partners, including our infrastructure-based mobile virtual network operator ("MVNO") agreement
with T-Mobile U.S. Inc. ("T-Mobile"). We offload mobile traffic using our Optimum Wi-Fi network of hotspots in the New York metropolitan area as well as select customer
premises equipment across our footprint. Our full infrastructure MVNO agreement with T-Mobile is differentiated from other light MVNOs in that it gives us full access control
over our own core network, as well as the Home Location Register and subscriber identification module ("SIM") cards. This allows us to fully control seamless data offloading
and the handover between the fixed and wireless networks. We also have full product, features and marketing flexibility with our mobile service.
Our mobile product is sold at Optimum stores, as well as online. Consumers can bring their own devices or purchase or finance a variety of phones directly from us, including
Apple, Samsung, Motorola and TCL devices.


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Business Services
We offer a wide and growing variety of products and services to both large enterprise and small and medium-sized business ("SMB") customers, including broadband,
telephony, networking and video services. As of December 31, 2022, we served approximately 381,200 SMB customers across our footprint. We serve enterprise customers
primarily through our majority-owned Lightpath business (see discussion below).
Enterprise Customers
Lightpath provides Ethernet, data transport, IP-based virtual private networks, Internet access, telephony services, including session initiated protocol ("SIP") trunking and
VoIP services to the business market primarily in the New York metropolitan area. Lightpath also entered the Boston metropolitan area as a result of an acquisition of assets in
June 2021 and entered the Miami metropolitan area in November 2022. Our Lightpath bandwidth connectivity service offers speeds up to 100 Gbps. Lightpath also provides
managed services to businesses, including hosted telephony services (cloud based SIP-based private branch exchange), managed WiFi, managed desktop and server backup and
managed collaboration services including audio and web conferencing. Through Lightpath, we also offer fiber-to-the-tower ("FTTT") services to wireless carriers for cell tower
backhaul that enables wireline communications service providers to connect to towers that their own wireline networks do not reach. Lightpath's enterprise customers include
companies in health care, financial, education, legal and professional services, and other industries, as well as the public sector and communication providers, incumbent local
exchange carriers ("ILEC"), and competitive local exchange carriers ("CLEC"). As of December 31, 2022, Lightpath had approximately 13,500 locations connected to its fiber
network, which currently includes approximately 20,200 miles of fiber sheaths (“route miles”) (approximately 10,000 owned route miles and approximately 10,200 route miles
pursuant to an indefeasible right of use (“IRU”) from Altice USA).
In December 2020, the Company completed the sale of a 49.99% interest in its Lightpath fiber enterprise business (the "Lightpath Transaction") based on an implied enterprise
value of $3.2 billion. The Company retained a 50.01% interest in the Lightpath business and maintained control of Cablevision Lightpath LLC ("Lightpath"), the entity holding
the interest in the Lightpath business. Accordingly, the Company continues to consolidate the operating results of the Lightpath business.
In our footprint outside of the New York metropolitan area (our former Suddenlink footprint), for enterprise and larger commercial customers, we offer high capacity data
services, including wide area networking and dedicated data access and advanced services such as wireless mesh networks. We also offer enterprise class telephone services
which include traditional multi-line phone service over DOCSIS and trunking solutions via SIP for our Primary Rate Interface ("PRI") and SIP trunking applications. Similar to
Lightpath, we also offer FTTT services in these areas. These services are offered on a standalone basis or in bundles that are developed specifically for our commercial
customers.
SMB Customers
We provide broadband, video and telephony services to SMB customers. In addition to these services, we also offer managed services, including hosted private branch
exchange, managed WiFi, premiere technical support and network security for SMB customers. Telephony services include Optimum Voice for Business, Business Hosted
Voice and Business Trunking (SIP and PRI). Optional telephony add-on services include international calling and toll free numbers.
News and Advertising
News 12
Our News 12 networks consist of seven 24-hour local news channels in the New York metropolitan area—the Bronx, Brooklyn, Connecticut, Hudson Valley, Long Island, New
Jersey and Westchester—providing each with complete access to hyper-local breaking news, traffic, weather, sports, and more. News 12 also includes a streaming OTT regional
news channel, News 12 New York.
Since launching in 1986, News 12 has been widely recognized by the news industry with numerous prestigious honors and awards, including multiple Emmy Awards, Edward
R. Murrow Awards, NY Press Club Awards, and more. We derive revenue from our News 12 networks for the sale of advertising and affiliation fees paid by cable operators.


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Cheddar
Acquired in 2019, Cheddar News covers the latest headlines and trending topics across business, politics, tech, pop culture, and innovative products, and services. Cheddar
News broadcasts live throughout the day across traditional linear television delivery systems and OTT platforms.
i24NEWS
Launched in July 2013, i24NEWS is an international news channel specializing in delivering international news focusing on the Middle East. i24NEWS' global news team
covers top stories as they happen on three channels, in three languages: English, French and Arabic.
a4 Advertising
a4 is an award-winning multi-screen advertising sales agency and media consultancy business for SMBs, national brands, political candidates, and the media and entertainment
industries. a4 works with advertisers to target households across the United States, using their proprietary technology and privacy-compliant database of aggregated consumer
and TV viewership data.
New York Interconnect
In many markets, we have entered into agreements commonly referred to as “Interconnects” with other cable operators to jointly sell local advertising. This simplifies our
clients' purchase of local advertising and expands their geographic reach. In some markets, we represent the advertising sales efforts of other cable operators; in other markets,
alternative cable operators represent us. For example, NY Interconnect, LLC ("NYI") is a joint venture between Altice USA, Charter and Comcast. NYI provides a wide range
of television and digital advertising opportunities for brands looking to reach over 7.6 million households and more than 22 million people across the New York designated
market area.
Franchises
As of December 31, 2022, our systems operated in more than 1,400 communities pursuant to franchises, permits and similar authorizations issued by state and local
governmental authorities. Franchise agreements typically require the payment of franchise fees and contain regulatory provisions addressing, among other things, service
quality, cable service to schools and other public institutions, insurance and indemnity. Franchise authorities generally charge a franchise fee of not more than 5% of certain of
our cable service revenues that are derived from the operation of the system within such locality. We generally pass the franchise fee on to our customers.
Franchise agreements are usually for a term of five to fifteen years from the date of grant, however, approximately 490 of Altice USA’s communities are located in states
(Connecticut, Kansas, Missouri, Nevada, North Carolina and Texas) where by law franchise agreements do not have an expiration date. Franchise agreements are usually
terminable only if the cable operator fails to comply with material provisions and then only after the franchising authority complies with substantive and procedural protections
afforded by the franchise agreement and federal and state law. Prior to the scheduled expiration of most franchises, we generally initiate renewal proceedings with the granting
authorities. This process usually takes less than three years but can take a longer period of time. The Communications Act of 1934, as amended (the "Communications Act"),
which is the primary federal statute regulating interstate communications, provides for an orderly franchise renewal process in which granting authorities may not unreasonably
withhold renewals. See "Regulation—Cable Television—Franchising." In connection with the franchise renewal process, many governmental authorities require the cable
operator to make certain commitments, such as building out certain franchise areas, meeting customer service requirements and supporting and carrying public access channels.
Historically, we have been able to renew our franchises without incurring significant costs, although any particular franchise may not be renewed on commercially favorable
terms or otherwise. We expect to renew or continue to operate under all or substantially all of these franchises. For more information regarding risks related to our franchises,
see "Risk Factors—Risk Factors Relating to Regulatory and Legislative Matters—Our cable system franchises are subject to non-renewal or termination." The failure to renew a
franchise in one or more key markets could adversely affect our business. Proposals to streamline cable franchising recently have been adopted at both the federal and state
levels. For more information, see "Regulation—Cable Television—Franchising."


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Programming
We design our channel line-ups for each system according to demographics, programming contract requirements, market research, viewership, local programming preferences,
channel capacity, competition, price sensitivity and local regulation. We believe offering a wide variety of programming influences a customer's decision to subscribe to and
retain our video services. We obtain programming, including basic, expanded basic, digital, HD, 4K UHD, VOD and broadband content, from a number of suppliers, including
broadcast and cable networks.
We generally carry cable networks pursuant to written programming contracts, which continue for a fixed period of time, usually from three to five years, and are subject to
negotiated renewal. Cable network programming is usually made available to us for a license fee, which is generally paid based on the number of customers who subscribe to
the level of service that provides such programming. Such license fees may include "volume" discounts available for higher numbers of customers, as well as discounts for
channel placement or service penetration. For home shopping channels, we receive a percentage of the revenue attributable to our customers' purchases, as well as, in some
instances, incentives for channel placement.
We typically seek flexible distribution terms that would permit services to be made available in a variety of retail packages and on a variety of platforms and devices in order to
maximize consumer choice. Suppliers typically insist that their most popular and attractive services be distributed to a minimum number or percentage of customers, which
limits our ability to provide consumers full purchasing flexibility.
Our cable programming costs for broadcast stations and cable networks have increased in excess of customary inflationary and cost-of-living type increases. We expect
programming costs to continue to increase due to a variety of factors including annual increases imposed by stations and programmers and additional programming being
provided to customers, including HD, 4K UHD, digital and VOD programming. In particular, broadcast and sports programming costs have increased significantly over the past
several years. In addition, contracts to purchase sports programming sometimes provide for optional additional programming to be available on a surcharge basis during the term
of the contract. These increases have coincided with a significant increase in the quality of the programming, from high production value original cable series to enhanced
camera and statistical data technology in sports broadcasts, and more flexible rights to make the content available on various platforms and devices.
We have programming contracts that have expired and others that will expire in the near term. We will seek to renegotiate the terms of these agreements, but there can be no
assurance that these agreements will be renewed on favorable or comparable terms. To the extent that we are unable to reach an agreement with certain programmers on terms
that we believe are reasonable, we have been, and may in the future be, forced to remove such programming channels from our line-up, which may result in a loss of customers.
For more information, see "Risk Factors—Risk Factors Relating to Our Business—Programming and retransmission costs are increasing and we may not have the ability to pass
these increases on to our customers. Disputes with programmers and the inability to retain or obtain popular programming can adversely affect our relationship with customers
and lead to customer losses, which could materially adversely affect our business, financial condition and results of operations."
Sales and Marketing
Sales and marketing are managed through multiple channels that allow us to reach current and potential customers in a variety of ways, including through inbound call centers,
outbound telemarketing, retail stores, e-commerce, and door-to-door sales. We also use mass media, including television, digital, radio, print and outdoor advertising, to attract
potential customers and invite them to visit our website or call a service representative. Our sales and service teams use a variety of tools and technology to match customers'
needs with our best-in-class connectivity products, with a focus on building and enhancing customer relationships.
We invest heavily in target marketing, due to our regional strategy and local focus. Our strategic priority is on building new customer relationships and expanding their use of
our fixed, mobile, video and voice offerings, delivering innovative solutions matched to their needs. Most of our marketing is developed centrally then customized regionally,
tailoring to local audiences. We have a diverse customer base, and a key focus of ours is to effectively serve a broad range of segments, and to reflect our community’s diversity
within marketing materials and advertisements. We also give back to our communities through initiatives and sponsorships focused on digital equity, future innovators
(educational programs related to Science, Technology, Engineering and Math (STEM) and robotics) and SMBs.
Among other factors, we monitor customer perceptions, sales and marketing impact, and competition, to increase our responsiveness to customer needs and measure the
effectiveness of our efforts. Our footprint also has several large


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college markets where we market specialized products and services for students who live in multiple dwelling units ("MDUs"), such as dormitories and apartments. Beyond
serving consumers, we have separate dedicated sales, marketing and service team for our SMB, mid-market, and enterprise customers.
Customer Experience
We believe the customer experience is a cornerstone of our business. Our call center strategy is to demonstrate that we are reliable support experts, that are simple to interact
with and work to the best of our ability to resolve the issue. Accordingly, we make a concerted effort to continually improve each customer interaction and have made
significant investments in our people, processes and technology to enhance our customers' experience and to reduce the need for customers to contact us.
The insights from operational customer service metrics and our customer surveys help us focus our product, technology, process, and network improvement efforts. Listening to
and acting upon customer and agent feedback is a major pillar in our customer experience program and as such we review feedback as part of our on-going operations.
From a call center operations standpoint, we provide technical and account support service to our customers 24 hours a day, seven days a week, and we have systems that allow
our customer care centers to be accessed and managed remotely in the event that systems functionality is temporarily lost, which provides our customers access to customer
service with limited disruption. To ensure the highest quality support, we have call routing to specialized agents based on certain call types. We continue to work on simplifying
and improving our agent toolset to better serve our customer needs.
We also offer our customers the ability to interact with us and get support through digital channels, whether via our website, online chat, interactive voice support, mobile app,
or social media (Twitter and Facebook). Customers can use our customer portal website to manage and pay their bill online, obtain service and account information, and get
self-help troubleshooting procedures. Our goal is to offer a premium customer care experience through traditional and digital methods.
Network Management
Our cable systems are generally designed with an HFC architecture that has proven to be highly flexible in meeting the increasing needs of our customers. We deliver our
signals via laser-fed fiber optic cable from control centers known as headends and hubs to individual nodes. Each node is connected to the individual homes served by us. A
primary benefit of this design is that it pushes fiber optics closer to our customers' homes, which allows us to subdivide our systems into smaller service groups and make capital
investments only in service groups experiencing higher than average service growth.
As of December 31, 2022, approximately 95% of our basic video customers were served by systems with a capacity of at least 750 MHz and 242 homes per node. We have
upgraded our networks, both through the deployment of our fiber to the home network and through new DOCSIS technologies, and we are delivering speeds of up to 1 Gbps in
many areas of our footprint. More than 99% of our residential broadband Internet customers are connected to our national backbone with a presence in major carrier access
points in Ashburn, Chicago, Dallas, Denver, New York, New Jersey, Phoenix and San Jose. This presence allows us to avoid significant Internet transit costs by establishing
peering relationships with major Internet service and content providers enabling direct connectivity with them at these access points.
We also have a networking caching architecture that places highly viewed Internet traffic from the largest Internet-based content providers at the edge of the network closest to
the customer to reduce bandwidth requirements across our national backbone, thus reducing operating expense. This collective network architecture also provides us with the
capability to manage traffic across several Internet access points, thus helping to ensure Internet access redundancy and quality of service for our customers. Additionally, our
national backbone connects most of our systems, which allows for an efficient and economical deployment of services from our centralized platforms that include telephone,
VOD, network DVR, common video content, broadband Internet, hosted business solutions, provisioning, e-mail and other related services.
Our ongoing FTTH network build, with planned upgrades, passing over 2.1 million homes as of December 31, 2022, will enable us to deliver multi-gig broadband speeds to
meet the growing data needs of residential and business customers. We believe this FTTH network will be more resilient with reduced maintenance requirements, fewer service
outages and lower power usage, which we expect will drive further structural cost efficiencies.


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We have also focused on system reliability and disaster recovery as part of our national backbone and primary system strategy. For example, to help ensure a high level of
reliability of our services, we implemented redundant power capability, as well as fiber route and carrier diversity in our networks serving most of our customers. With respect
to disaster recovery, we invested in our telephone platform architecture for geo-redundancy to minimize downtime in the event of a disaster to any single facility.
In addition, we continue to expand and refine our bandwidth utilization in capacity constrained systems in order to meet demand for new and improved advanced services. A
key component to reclaim bandwidth was the digital delivery of video channels that were previously distributed in analog through the launch of digital simulcast, which
duplicates analog channels as digital channels. Additionally, the deployment of lower-cost digital customer premises equipment, such as HD digital transport adapters, enabled
the use of more efficient digital channels instead of analog channels, thus allowing the reclamation of expanded basic analog bandwidth in the targeted systems. This reclaimed
analog bandwidth is being repurposed for other advanced services such as additional HDTV services and faster Internet access speeds.
To support our mobile business, we have a nationwide mobile core network with five main interconnection points (Texas, California, Illinois, and two in New York), as well as
the necessary interconnection points for our network partners T-Mobile and AT&T Inc. ("AT&T"), Appalachian Wireless and US Cellular.
Information Technology
Our IT systems consist of billing, customer relationship management, business and operational support and sales force management systems. We continue to update and
simplify our IT infrastructure through further investments, focusing on cost efficiencies, improved system reliability, functionality and scalability and enhancing the ability of
our IT infrastructure to meet our ongoing business objectives. Additionally, through investment in our IT platforms and focus on process improvement, we have simplified and
harmonized our service offering bundles and improved our technical service delivery and customer service capabilities. We contract with managed service providers to deliver
certain core Business Support Systems and Operations Support Systems. These services are integrated into our overall IT ecosystems to ensure an efficient operation. Backup
services are provided through alternate systems and infrastructure.
Suppliers
Customer Premise and Network Equipment
We purchase set-top boxes and other customer premise equipment from a limited number of vendors because our cable systems use one or two proprietary technology
architectures. We buy HD, HD/DVRs and VOD equipment, routers, including the components of our home communications platform, and other network equipment from a
limited number of suppliers, including Altice Labs (Altice Europe's technology, services and innovation center), Sagemcom and Ubee. We also purchase outside plant material
and equipment, including fiber optics and copper components, to support the expansion and maintenance of our networks. See "Risk Factors—Risk Factors Relating to Our
Business—We depend on third-party vendors for certain equipment, hardware, licenses and services in the conduct of our business."
Broadband and Telephone Connectivity
We deliver broadband and telephony services through our HFC and fiber network. We use circuits that are either owned by us or rented from third parties to connect to the
Internet and the public switched telephone network. We pay fees for rented circuits based on the amount of capacity available to it and pay for Internet connectivity based on the
amount of IP-based traffic received from and sent over the other carrier's network.
Mobile Voice and Data Equipment
We purchase for resale mobile handsets from a number of original equipment manufacturers including Apple, Samsung, Motorola and TCL. Customers of our mobile service
are able to purchase these handsets with upfront or installment payments.
Intellectual Property
We rely on our patents, copyrights, trademarks and trade secrets, as well as licenses and other agreements with our vendors and other parties, to use our technologies, conduct
our operations and sell our products and services. We also rely on our access to the proprietary technology of Altice Europe, including through Altice Labs, and licenses to the
name “Altice” and derivatives from Next Alt. However, no single patent, copyright, trademark, trade secret or content

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license is material to our business. We believe we own or have the right to use all of the intellectual property that is necessary for the operation of our business as we currently
conduct it.
Competition
We operate in a highly competitive, consumer-driven industry and we compete against a variety of broadband, video, mobile, fixed wireless broadband and fixed-line telephony
providers and delivery systems, including broadband communications companies, wireless data and telephony providers, fiber-based service providers, satellite delivered video
signals, Internet-delivered video content and broadcast television signals available to residential and business customers in our service areas. We believe our leading market
position in our footprint, technologically advanced network infrastructure, including our FTTH build-out, our evolving video services, our mobile service, and our focus on
enhancing the customer experience favorably position us to compete in our industry. See also "Risk Factors—Risk Factors Relating to Our Business—We operate in a highly
competitive business environment which could materially adversely affect our business, financial condition, results of operations and liquidity."
Broadband Services Competition
Our broadband services face competition from broadband communications companies' digital subscriber line ("DSL"), FTTH/Fiber to the Premises ("FTTP") and wireless
broadband offerings, as well as from a variety of companies that offer other forms of online services, including satellite-based broadband services. AT&T, Frontier
Communications Corporation ("Frontier") and Verizon Communications Inc.'s ("Verizon") Fios are our primary fiber-based competitors. Current and future fixed and wireless
Internet services, such as 4G, LTE and 5G (and variants) wireless broadband services and WiFi networks, and devices such as wireless data cards, tablets and smartphones, and
mobile wireless routers that connect to such devices, may also compete with our broadband services both for in premises broadband service and mobile broadband. All major
wireless carriers offer unlimited data plans, which could, in some cases, become a substitute for the fixed broadband services we provide. The Federal Communications
Commission ("FCC") is likely to continue to make additional radio spectrum available for these wireless Internet access services, which in time could expand the quality and
reach of these services. Additionally, federal legislation has substantially increased the amount of subsidies to entities deploying broadband to areas deemed to be "unserved" or
"underserved" in the past year, which could result in increased competition for our broadband services.
We face intense competition from broadband communications companies with fiber-based networks. Verizon has constructed a FTTH network that passes a significant number
of households in our New York metropolitan service area; and AT&T has constructed an FTTP/Fiber to the Node ("FTTN") infrastructure in various markets in our south-
central United States service area. We estimate that Verizon is currently able to sell a fiber-based service, including broadband, video and telephony, to over two-thirds of the
households in our New York metropolitan service area and that AT&T and new fiber-based service providers are able to sell fiber products to over one-quarter of the
households in various markets in our south-central United States service area. Frontier offers DSL and FTTH broadband service and competes with us in most of our
Connecticut service area, as well as parts of our Texas and West Virginia service areas.
Video Services Competition
Our video services face competition from cable providers as well as direct broadcast satellite ("DBS") providers, such as DirecTV (which is co-owned by AT&T) and DISH
Network Corporation ("DISH"). DirecTV and DISH offer one-way satellite-delivered pre-packaged programming services that are received by relatively small and inexpensive
receiving dishes. We believe cable-delivered services, which include the ability to bundle additional services such as broadband, offer a competitive advantage to DBS service,
because cable headends can provide two-way communication to deliver a large volume of programming that customers can access and control independently.
Our video services also face competition from a number of other sources, including companies that deliver movies, television shows and other video programming, including
extensive on demand, live content, serials, exclusive and original content, over broadband Internet connections to televisions, computers, tablets and mobile devices, such as
Netflix, Hulu, Disney+, Apple TV+, YouTube TV, Amazon Prime, Sling TV, DirecTV Stream and others. In addition, our programming partners continue to launch direct to
consumer streaming products, delivering content to consumers that was formerly only available via video, such as Discovery+, Disney+, HBO Max and Paramount+.


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Telephony Services Competition
Our telephony service competes with wireline, wireless and VoIP phone service providers, such as Vonage, Skype, Facetime, WhatsApp and magicJack, as well as companies
that sell phone cards at a cost per minute for both national and international service. We also compete with other forms of communication, such as text messaging on cellular
phones, instant messaging, social networking services, video conferencing and email. The increased number of technologies capable of carrying telephony services and the
number of alternative communication options available to customers have intensified the competitive environment in which we operate our telephony services.
Mobile Wireless Competition
Our mobile wireless service, launched in September 2019, faces competition from a number of national incumbent network-based mobile service providers, such as AT&T, T-
Mobile and Verizon and smaller regional service providers, as well as a number of reseller or MVNO providers, such as Tracfone, Boost Mobile and Cricket Wireless, among
others. We believe that our approach to the mobile wireless service offering, including the construction and operation of our own "mobile core" and the ability to bundle and
promote the product to our existing customer base, gives us advantages over pure MVNO resellers, and differentiates us from incumbent network-based operators.
Improvements by incumbent and reseller mobile service providers on price, features, speeds, and service enhancements will continue to impact the competitiveness and
attractiveness of our mobile service, and we will need to continue to invest in our services, product and marketing to answer that competition. Our mobile wireless strategy
depends on the availability of wholesale access to radio access networks ("RAN") from one or more network-based providers with whom we are likely to compete. Our mobile
service is vulnerable to constraints on the availability of wholesale access or increases in price from the incumbents. Consolidation among wholesale RAN access providers
could impair our ability to sustain our mobile service. In April 2020, Sprint and T-Mobile merged, subject to certain conditions imposed by the United States Department of
Justice and the FCC. While the reduction of competition among mobile wireless network-based providers likely will negatively impact the price and availability of wholesale
RAN access to the Company generally, certain of the conditions imposed upon the merger parties by the U.S. Department of Justice and the FCC have the potential to
ameliorate those effects and to enhance the coverage, quality and cost structure for our mobile services while those conditions are in effect.
Business Services Competition
We operate in highly competitive business telecommunications market and compete primarily with local incumbent telephone companies, especially AT&T, Frontier, Lumen
Technologies, Inc. ("Lumen") and Verizon, as well as with a variety of other national and regional business services competitors. In recent years, local fiber providers and fixed
wireless broadband providers have become more competitive in the business telecommunications services market.
Advertising Services Competition
We provide advertising and advanced targeted digital advertising services on television and digital platforms, both directly and indirectly, within and outside our television
service area. We face intense competition for advertising-related revenue across many different platforms and from a wide range of local and national competitors. Advertising
competition has increased and will likely continue to increase as new formats seek to attract the same advertisers. We compete for advertising revenue against, among others,
local broadcast stations, national cable and broadcast networks, radio stations, print media, social network platforms (such as Facebook and Instagram), and online advertising
companies (such as Google), content providers (such as Disney) and connected TV providers.
Employees and Labor Relations
Human Capital
As of December 31, 2022, we had approximately 11,000 employees. Approximately 500 of our employees were represented by unions as of such date. Approximately 92% of
our employees are U.S. based. Our employees perform work in a variety of environments, including customers’ homes or businesses, in the field, and on site in retail stores,
centers or offices. In response to tight labor markets, inflation and other challenges we experienced along with many other U.S. organizations, we implemented retention
solutions for key talent and broadened our talent acquisition strategies.
Diversity and Inclusion
Altice USA is committed to diversity and inclusion with a focus on providing our employees and our customers with the best experience possible. Our approach is informed by
best practices in recruitment, retention, community


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engagement and culture building, which will help us build a company that is welcoming, respectful and with equal opportunities for all.
To support this vision, we sponsor a variety of enterprise-wide diversity and inclusion developmental programs, including sponsored employee affinity groups that foster
communities through shared interests and backgrounds. Through professional development sessions, networking events, panels and community events, our affinity groups are
helping to create a greater sense of belonging, improve understanding of differences, and inform businesses practices and policies.
Compensation and Benefits
We are committed to providing a competitive total incentive program that is conducive to attracting and retaining our talent. Our compensation program targets market
competitive pay and provides an opportunity for our full time non-union employees to earn performance-based incentive compensation. Our market competitive and inclusive
benefits program includes healthcare benefits, life and disability insurance, 401(k) plan with company matching contributions, paid time off, and other voluntary benefit
programs.
Regulation
General Company Regulation
Our cable and other services are subject to a variety of federal, state and local law and regulations, as well as, in instances where we operate outside of the U.S., the laws and
regulations of the countries and regions where we operate. The Communications Act, and the rules, regulations and policies of the FCC, as well as other federal, state and other
laws governing cable television, communications, consumer protection, privacy and related matters, affect significant aspects of the operations of our cable and other services.
The following paragraphs describe the existing legal and regulatory requirements we believe are most significant to our operations today. Our business can be dramatically
impacted by changes to the existing regulatory framework, whether triggered by legislative, administrative or judicial rulings.
Cable Television
Franchising.    The Communications Act requires cable operators to obtain a non-exclusive franchise from state or local franchising authorities to provide cable service.
Although the terms of franchise agreements differ from jurisdiction to jurisdiction, they typically require payment of franchise fees and contain regulatory provisions
addressing, among other things, use of the right of way, service quality, cable service to schools and other public institutions, insurance, indemnity and sales of assets or
changes in ownership. State and local franchising authority, however, must be exercised consistent with the Communications Act, which sets limits on franchising authorities'
powers, including limiting franchise fees to no more than 5% of gross revenues from the provision of cable service, prohibiting franchising authorities from requiring us to carry
specific programming services, and protecting the renewal expectation of franchisees by limiting the factors a franchising authority may consider and requiring a due process
hearing before denying renewal. When franchises are renewed, however, the franchise authority may, except where prohibited by applicable law, seek to impose new and more
onerous requirements as a condition of renewal. Similarly, if a franchising authority's consent is required for the purchase or sale of a cable system, the franchising authority
may attempt to impose more burdensome requirements as a condition for providing its consent. Cable franchises generally are granted for fixed terms and, in many cases,
include monetary penalties for noncompliance. They may also be terminable if the franchisee fails to comply with material provisions.
In recent years, the traditional local cable franchising regime has undergone significant change as a result of federal and state action. Several states have reduced or eliminated
the role of local or municipal government in franchising in favor of state- or system-wide franchises, and the trend has been toward consolidation of franchising authority at the
state level, in part to accommodate the interests of new broadband and cable entrants over the last decade. At the same time, the FCC has adopted rules that streamline entry for
new competitors (such as those affiliated with broadband communications companies) and reduce certain franchising burdens for these new entrants. In 2019, the FCC also
extended to existing cable providers relief from certain fees and other regulatory requirements imposed by franchising authorities, including subjecting certain fees for access to
the right-of-way and certain in-kind payments obligations to the statutory cap on franchise fees, as well as preempting states and localities from exercising their authority to
regulate cable operators’ non-cable services. The FCC’s order was challenged by several municipalities and substantially upheld by the U.S. Sixth Circuit Court of Appeals on
appeal, although the court curtailed the relief related to in-kind contributions.




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Pricing and Packaging. The Communications Act and the FCC's rules limit the scope of price regulation for cable television services. Among other limitations, franchising
authorities may regulate rates only for "basic" cable service. In 2015, the FCC adopted a rule establishing a presumption against rate regulation absent an affirmative showing
by the franchising authority that there is an absence of effective competition. Based on the 2015 FCC rule, none of our video customers are currently subject to basic rate
regulation.
There have been frequent calls to impose further rate regulation on the cable industry. It is possible that Congress or the FCC may adopt new constraints on the retail pricing or
packaging of cable programming. As we attempt to respond to a changing marketplace with competitive marketing and pricing practices, we may face regulations that impede
our ability to compete. In addition, a number of state and local regulatory authorities have imposed or seek to impose price- or price-related regulation that we believe is
inconsistent with FCC direction, and these efforts if successful, will diminish the benefits of deregulation and hamper our ability to compete with our largely unregulated
competitors. We brought a challenge in federal and state court against one such attempt to regulate our pricing by the New Jersey Board of Public Utilities, and successfully
obtained a ruling in state court enjoining that agency from enforcing its regulation. The agency appealed that ruling to the New Jersey Supreme Court and a ruling from the
Supreme Court is pending. While we also obtained a favorable federal district court ruling, the appeals court vacated that ruling and held that the matter should be decided in
state court.
Must-Carry/Retransmission Consent. Cable operators are required to carry, without compensation, programming transmitted by most local commercial and noncommercial
broadcast television stations that elect "must carry" status. Alternatively, local commercial broadcast television stations may elect "retransmission consent," giving up their
must-carry right and instead negotiating with cable systems the terms on which the cable systems may carry the station's programming content. Cable systems generally may
not carry a broadcast station that has elected retransmission consent without the station's consent. The terms of retransmission consent agreements frequently include the
payment of compensation to the station.
Broadcast stations must elect either "must carry" or retransmission consent every three years. A substantial number of local broadcast stations currently carried by our cable
systems have elected to negotiate for retransmission consent. In the most recent retransmission consent negotiations, popular television stations have demanded substantial
compensation increases, thereby increasing our operating costs.
Ownership Limitations. Federal regulation of the communications field traditionally included a host of ownership restrictions, which limited the size of certain media entities
and restricted their ability to enter into competing enterprises. Through a series of legislative, regulatory, and judicial actions, most of these restrictions have been either
eliminated or substantially relaxed. In 2017, the FCC relaxed some broadcast media ownership rules, and the broadcast industry subsequently experienced consolidation. The
FCC’s order was subsequently affirmed by the U.S. Supreme Court, but the FCC has the statutory obligation to review its broadcast ownership rules every four years and revise
them if it determines that the public interest so requires. Depending on the outcome of the FCC’s 2022 quadrennial review of media ownership rules, the broadcast industry
could consolidate further, which could impact the fees we pay broadcasters to license their signals.
Set-Top Boxes.    The Communications Act includes a provision that requires the FCC to take certain steps to support the development of a retail market for "navigation
devices," such as cable set-top boxes. Several years ago, the FCC began a proceeding to consider requiring cable operators to accommodate third-party navigation devices,
which have imposed substantial development and operating requirements on the industry. Though there is currently no active effort to advance these proposals, the FCC may in
the future consider implementing other measures to promote the competitive availability of retail set-top boxes or third-party navigation options that could impact our
customers' experience, our ability to capture user interactions to refine and enhance our services, and our ability to provide a consistent customer support environment.
PEG and Leased Access.         Franchising authorities may require that we support the delivery and support for public, educational, or governmental ("PEG") channels on our
cable systems. In addition to providing PEG channels, we must make a limited number of commercial leased access channels available to third parties (including parties with
potentially competitive video services) at regulated rates. The FCC adopted revised rules several years ago mandating a significant reduction in the rates that operators can
charge commercial leased access users. These rules were stayed, however, by a federal court, pending a cable industry appeal. This matter currently remains pending, and the
revised rules are not yet in effect. Although commercial leased access activity historically has been relatively limited, increased activity in this area could further burden the
channel capacity of our cable systems.




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Pole Attachments. The Company makes extensive use of utility poles and conduits owned by other utilities to attach and install the facilities that are integral to our network
and services. The Communications Act requires most utilities to provide cable systems with access to poles and conduits to attach such facilities at regulated rates. The FCC (or
a state, if it chooses to regulate) regulates utility company rates for the rental of pole and conduit space used by companies, including operators like us, to provide cable,
telecommunications services, and Internet access services. Many states in which we operate have elected to set their own pole attachment rules. Adverse changes to the pole
attachment rate structure, rates, classifications, and access could significantly increase our annual pole attachment costs. Expansion of our business into new areas may be
frustrated by delays, capacity constraints, "makeready" demands or the general inability to secure appropriate pole or conduit rights.
Program Access. The program access rules generally prohibit a cable operator from improperly influencing an affiliated satellite-delivered cable programming service to
discriminate unfairly against an unaffiliated distributor where the purpose or effect of such influence is to significantly hinder or prevent the competitor from providing satellite-
delivered cable programming. FCC rules also allow a competing distributor to bring a complaint against a cable-affiliated terrestrially-delivered programmer or its affiliated
cable operator for alleged violations of this rule, and seek reformed terms of carriage as a remedy.
Program Carriage. The FCC's program carriage rules prohibit us from requiring an unaffiliated programmer to grant us a financial interest or exclusive carriage rights as a
condition of its carriage on our cable systems and prohibit us from unfairly discriminating against unaffiliated programmers in the terms and conditions of carriage on the basis
of their nonaffiliation.
Exclusive Access to Multitenant Buildings. The FCC has prohibited cable operators from entering into or enforcing exclusive agreements with owners of multitenant buildings
under which the operator is the only multichannel video programming distributor ("MVPD") with access to the building. The FCC is currently considering whether to adopt
additional rules regarding access to multitenant environments by providers of broadband service.
CALM Act.     The FCC's rules require us to ensure that all commercials carried on our cable service comply with specified volume standards.
Privacy and Data Security. In the course of providing our services, we collect certain information about our customers and their use of our services. We also collect certain
information regarding potential customers and other individuals. Our collection, use, disclosure and other handling of information is subject to a variety of federal and state
privacy requirements, including those imposed specifically on cable operators and telecommunications service providers by the Communications Act. We are also subject to
data security obligations, as well as requirements to provide notice to individuals and governmental entities in the event of certain data security breaches, and such breaches,
depending on their scope and consequences, may lead to litigation and enforcement actions with the potential for substantial monetary forfeitures or to adversely affect our
brand.
As cable operators provide interactive and other advanced services, additional privacy and data security requirements may arise through legislation, regulation or judicial
decisions. For example, the Video Privacy Protection Act of 1988 has been extended to cover online interactive services through which customers can buy or rent movies. In
addition, Congress, the Federal Trade Commission ("FTC"), and other lawmakers and regulators are all considering whether to adopt additional measures that could impact the
collection, use, and disclosure of customer information in connection with the delivery of advertising and other services to consumers customized to their interests. See "Privacy
Regulations" below.
Federal Copyright Regulation. We are required to pay copyright royalty fees on a semi-annual basis to receive a statutory compulsory license to carry broadcast television
content. These fees are subject to periodic audit by the content owners. The amount of a cable operator's royalty fee payments are determined by a statutory formula that takes
into account various factors, including the amount of "gross receipts" received from customers for "basic" service, the number of "distant" broadcast signals carried and the
characteristics of those distant signals (e.g., network, independent or noncommercial). Certain elements of the royalty formula are subject to adjustment from time to time,
which can lead to increases in the amount of our semi-annual royalty payments. The U.S. Copyright Office, which administers the collection of royalty fees, has made
recommendations to Congress for changes in or elimination of the statutory compulsory licenses for cable television carriage of broadcast signals. Changes to copyright
regulations could adversely affect the ability of our cable systems to obtain such programming and could increase the cost of such programming. Similarly, we must obtain
music rights for locally originated programming and advertising from the major music performing rights organizations. These licensing fees have been the source of litigation in
the past, and we cannot predict with certainty whether license fee disputes may arise in the




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future. The legal framework for secondary copyright liability for Internet Service Providers ("ISPs"), including whether and to what extent an ISP may be liable for the alleged
infringement of its subscribers' internet services, continues to evolve and could result in significant liability for the Company.
Access for Persons with Disabilities. The FCC's rules require us to ensure that persons with disabilities can more fully access the programming we carry. We are required to
provide closed captions and pass through video description to customers on some networks we carry, and to provide an easy means of activating closed captioning and to ensure
the audio accessibility of emergency information and on-screen text menus and guides provided by our navigation devices.
Other Regulation. We are subject to various other regulations, including those related to political broadcasting; home wiring; the blackout of certain network and syndicated
programming; prohibitions on transmitting obscene programming; limitations on advertising in children's programming; and standards for emergency alerts, as well as
telemarketing and general consumer protection laws and equal employment opportunity obligations. For example, the Television Viewer Protection Act of 2019 imposes
obligations on cable and fixed broadband providers, including required disclosures at the point of sale and in electronic billing and prohibitions on certain equipment charges.
The FCC also imposes various technical standards on our operations. In the aftermath of extreme weather events, the FCC and certain states continue to examine whether new
requirements are necessary to improve the resiliency of communications networks. In 2022, the FCC adopted disaster response requirements for facilities-based wireless
providers but deferred imposing similar requirements on cable and other communications networks. The FCC requires cable operators to report network outages that exceed a
specified threshold. Some jurisdictions, such as California, have begun to impose new technical requirements on facilities-based wireline providers as part of their resiliency
proceedings. Other states have undertaken examinations of storm resiliency, recovery, and customer impacts, which could lead to additional regulation of the industry. Each of
these regulations restricts (or could restrict) our business practices to varying degrees, and will impose (or could impose) substantial compliance costs. The FCC can
aggressively enforce compliance with its regulations and consumer protection policies, including through the imposition of substantial monetary sanctions. It is possible that
Congress or the FCC will expand or modify its regulations of cable systems in the future, and we cannot predict at this time how that might impact our business.
Broadband
Regulatory Classification. Broadband Internet access services were traditionally classified by the FCC as "information services" for regulatory purposes, a type of service that
is subject to a lesser degree of regulation than "telecommunications services." In 2015, the FCC reversed this determination and classified broadband Internet access services as
"telecommunications services." This reclassification had subjected our broadband Internet access service to greater regulation, although the FCC did not apply all
telecommunications service obligations to broadband Internet access service. The 2015 Order (as defined below) could have had a material adverse impact on our business. In
December 2017, the FCC adopted an order that in large part reversed again the 2015 Order and reestablished the "information service" classification for broadband Internet
access service. The 2017 Order (as defined below) was affirmed in part on appeal in October 2019 insofar as it classified broadband Internet access services as information
services subject to lesser federal regulation. However, the 2017 Order was also vacated in part on appeal insofar as it preempted states from subjecting broadband Internet access
services to any requirements more stringent than the federal requirements. As a result, the precise extent to which state rules may impose such requirements, as well as other
regulatory obligations, on broadband Internet access service providers is not fully settled. Additionally, the FCC is expected to revisit the appropriate regulatory classification of
broadband in 2023.
Net Neutrality. Congress and some states are considering legislation that may codify “net neutrality” rules, which could include prohibitions on blocking, throttling and
prioritizing Internet traffic. A number of states, including California and New York, have adopted legislation and/or executive orders that apply “net neutrality” rules to ISPs.
The California legislation took effect in March 2021. New York has in place an executive order that requires entities contracting with state agencies to commit to and certify
compliance with net neutrality principles across the market.
Access for Persons with Disabilities. The FCC's rules require us to ensure that persons with disabilities have access to "advanced communications services", such as electronic
messaging and interoperable video conferencing. They also require that certain video programming delivered via Internet Protocol include closed captioning and require entities
distributing such programming to end users to pass through such captions and identify programming that should be captioned.




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Government Subsidies. The FCC and other federal agencies, as well as some states, direct subsidies to entities deploying broadband to areas deemed to be “unserved” or
“underserved.” Federal legislation and state programs have substantially increased the amount of such subsidies in recent years, and eligibility criteria for the use of such
subsidies do not always limit their use exclusively to areas lacking broadband access. We have sought this funding as have many other entities, including broadband services
competitors and new entrants into such services. We have also opposed subsidies directed to areas that we already serve. In 2022, we were authorized to receive subsidies from
the FCC as part of the Rural Digital Opportunity Fund ("RDOF"). RDOF awards include a number of regulatory requirements and construction milestones. If we fail to meet
these obligations, we could be subject to government penalties. There is no assurance that we will be successful in securing such funding, nor any guarantee of the amount of
funding we could receive. The FCC also administers a program that provides subsidies for broadband providers who provide discounted broadband service to low-income
households, which we participate in.
Other Regulation. Providers of broadband Internet access services must comply with the Communications Assistance for Law Enforcement Act ("CALEA"), which requires
providers to make their services and facilities accessible for law enforcement intercept requests. Various other federal and state laws apply to providers of services that are
accessible through broadband Internet access service, including copyright laws, telemarketing laws, prohibitions on obscenity, a ban on unsolicited commercial e-mail, and
privacy and data security laws. The online content we provide is also subject to some of these laws.
Other forms of regulation of broadband Internet access service currently being considered by the FCC, Congress or state legislatures include consumer protection requirements,
billing and notifications requirements, cybersecurity requirements, consumer service standards, requirements to contribute to universal service programs and requirements to
protect personally identifiable customer data from theft. Pending and future legislation in this area could adversely affect our operations as an ISP and our relationship with our
Internet customers. While neither the FCC nor states currently regulate the price for broadband services generally, the state of New York enacted legislation that would regulate
the price and terms for the broadband service offered to low-income households. This law was enjoined by a New York federal court, and the ruling is currently on appeal.
Additionally, from time to time the FCC and Congress have considered whether to subject broadband Internet access services to the federal Universal Service Fund ("USF")
contribution requirements. Any contribution requirements adopted for Internet access services would impose significant new costs on our broadband Internet service. At the
same time, the FCC is changing the manner in which Universal Service funds are distributed. By focusing on broadband and wireless deployment, rather than traditional
telephone service, the changes could assist some of our competitors in more effectively competing with our service offerings.
Telephony Services
We provide telephony services using VoIP technology ("interconnected VoIP") and traditional switched telephony via our CLEC subsidiaries.
The FCC has adopted several regulations for interconnected VoIP services, as have several states, especially as it relates to core customer and safety issues such as E911, local
number portability, disability access, outage reporting, universal service contributions, and regulatory reporting requirements. The FCC has not, however, formally classified
interconnected VoIP services as either information services or telecommunications services. In this vacuum, some states have asserted more expansive rights to regulate
interconnected VoIP services, while others have adopted laws that bar the state commission from regulating VoIP service.
Universal Service. Interconnected VoIP services must contribute to the USF used to subsidize communication services provided to low-income households, to customers in
rural and high cost areas, and to schools, libraries, and rural health care providers. The amount of universal service contribution required of interconnected VoIP service
providers is based on a percentage of revenues earned from interstate and international services provided to end users. We allocate our end user revenues and remit payments to
the universal service fund in accordance with FCC rules. The FCC has ruled that states may impose state universal service fees on interconnected VoIP providers.
Local Number Portability. The FCC requires interconnected VoIP service providers and their "numbering partners" to ensure that their customers have the ability to port their
telephone numbers when changing providers. We also contribute to federal funds to meet the shared costs of local number portability and the costs of North American
Numbering Plan Administration.
Other Regulation. Interconnected VoIP service providers are required to provide enhanced 911 emergency services to their customers; protect customer proprietary network
information from unauthorized disclosure to third parties;




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report to the FCC on service outages; comply with telemarketing regulations and other privacy and data security requirements; comply with disabilities access requirements and
service discontinuance obligations; comply with call signaling requirements; and comply with CALEA standards. In August 2015, the FCC adopted new rules to improve the
resiliency of the communications network. Under the new rules, providers of telephony services, including interconnected VoIP service providers, must make available twenty-
four hours of standby backup power for consumers to purchase at the point of sale. The rules also require that providers inform new and current customers about service
limitations during power outages and steps that consumers can take to address those risks. In addition, the FCC is currently considering whether to require VoIP providers to
maintain backup power for certain network equipment, and California has adopted rules requiring VoIP providers to maintain twenty-four hours of network backup power in
certain areas of the state facing elevated fire risks. The FCC also requires interconnect VoIP providers to report network outages that exceed a specified threshold.
We provide traditional telecommunications services in various states through our operating subsidiaries, and those services are largely governed under rules established for
CLECs under the Communications Act. The Communications Act entitles our CLEC subsidiaries to certain rights, but as telecommunications carriers, it also subjects them to
regulation by the FCC and the states. Their designation as telecommunications carriers results in other regulations that may affect them and the services they offer.
Interconnection and Intercarrier Compensation.           The Communications Act requires telecommunications carriers to interconnect directly or indirectly with other
telecommunications carriers and networks, including VoIP. Under the FCC's intercarrier compensation rules, we are entitled, in some cases, to compensation from carriers when
they use our network to terminate or originate calls and in other cases are required to compensate another carrier for using its network to originate or terminate traffic. The FCC
and state regulatory commissions, including those in the states in which we operate, have adopted limits on the amounts of compensation that may be charged for certain types
of traffic. In an October 2011 Order, the FCC determined that intercarrier compensation for all terminating traffic would be phased down over several years to a "bill-and-keep"
regime, with no compensation between carriers for most terminating traffic. In 2020, the FCC adopted further reforms to phase down the rates for the origination of "toll-free"
calls. The FCC also has a pending proceeding that could further reduce or eliminate compensation for remaining traffic.
Universal Service. Our CLEC subsidiaries are required to contribute to the USF. The amount of universal service contribution required of us is based on a percentage of
revenues earned from interstate and international services provided to end users. We allocate our end user revenues and remit payments to the universal service fund in
accordance with FCC rules.
Other Regulation. Our CLEC subsidiaries' telecommunications services are subject to other FCC requirements, including protecting the use and disclosure of customer
proprietary network information; meeting certain notice requirements in the event of service termination; compliance with disabilities access requirements; compliance with
CALEA standards; outage reporting; and the payment of fees to fund local number portability administration and the North American Numbering Plan. As noted above, the
FCC and states are examining whether new requirements are necessary to improve the resiliency of communications networks, including heightened backup power
requirements within the provider's network. Communications with our customers are also subject to FCC, FTC and state regulations on telemarketing and the sending of
unsolicited commercial e-mail and fax messages, as well as additional privacy and data security requirements.
State Regulation. Our CLEC subsidiaries' telecommunications services are subject to regulation by state commissions in each state where we provide services. In order to
provide our services, we must seek approval from the state regulatory commission or be registered to provide services in each state where we operate and may at times require
local approval to construct facilities. Regulatory obligations vary from state to state and include some or all of the following requirements: filing tariffs (rates, terms and
conditions); filing operational, financial, and customer service reports; seeking approval to transfer the assets or capital stock of the broadband communications company;
network resiliency and disaster recovery requirements; seeking approval to issue stocks, bonds and other forms of indebtedness of the broadband communications company;
reporting customer service and quality of service requirements; outage reporting; making contributions to state universal service support programs; paying regulatory and state
Telecommunications Relay Service and E911 fees; geographic build-out; and other matters relating to competition.
In September 2019, we launched a mobile service using our own core infrastructure and our infrastructure mobile virtual network operator ("iMVNO") agreements with Sprint
and other roaming partners, including AT&T. Our mobile wireless service is subject to most of the same FCC and consumer protection regulations as typical, network-




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based wireless carriers (such as E911 services, local number portability, privacy protection, and constraints on billing and advertising practices). The FCC or other regulatory
authorities may adopt new or different regulations that apply to our services or similarly situated providers, impose new taxes or fees, or modify the obligations of other
network-based carriers to provide wholesale RAN access to providers like Altice USA.
Other Services
We may provide other services and features over our cable system, such as games and interactive advertising, that may be subject to a range of federal, state and local laws,
such as privacy and consumer protection regulations. We also maintain various websites that provide information and content regarding our businesses. The operation of these
websites is also subject to a similar range of regulations.
Privacy Regulations
Our cable, Internet, voice, wireless and advertising services are subject to various federal, state and local laws and regulations, as well as, in instances where we operate outside
of the U.S., the laws and regulations of the countries and regions where we operate, regarding subscriber privacy, data security, data protection, and data use. Our provision of
Internet services subjects us to the limitations on use and disclosure of user communications and records contained in the Electronic Communications Privacy Act of 1986.
Broadband Internet access service is also subject to various privacy laws applicable to electronic communications. We are subject to various state regulations and enforcement
oversight related to our policies and practices covering the collection, use, and disclosure of personal information. The California Consumer Privacy Act ("CCPA"), a
comprehensive privacy act aimed at increasing disclosure requirements, privacy protections, and the rights of consumers to identify and delete stored private data, subject to
some limited business exceptions, has been in effect since January 1, 2020. Amendments to the CCPA under the California Privacy Rights Act of 2020 took effect on January 1,
2023, and provide certain additional disclosure requirements, privacy protections, and rights of consumers. Virginia adopted the Consumer Data Protection Act in 2021 which
took effect on January 1, 2023. Colorado also adopted a comprehensive privacy act in 2021, as did Utah and Connecticut in 2022, that also impose disclosure requirements,
privacy protections, and the rights of consumers to opt out of certain data sharing. Those laws will also take effect in 2023. We expect further scrutiny of privacy practices at all
levels of government in the areas where we operate, and implementing systems to comply with new rules could impact our business opportunities and impose operating costs on
the business.
Our i24NEWS operation has employees and offices in the European Union ("EU") that are subject to the General Data Protection Regulation ("GDPR"). Further, our a4
advertising business conducts limited business with customers that advertise in the EU. As such, we have certain compliance obligations with EU and member state (and UK)
laws and regulations, including compliance obligations under the GDPR and UK GDPR, and bear potential enforcement risks and fines if we fail to comply, even as the
application of those regulations to some of our operations are unclear or are unknown.
Environmental Regulations
Our business operations are subject to environmental laws and regulations, including regulations governing the use, storage, disposal of, and exposure to hazardous materials,
the release of pollutants into the environment and the remediation of contamination. These requirements may also be more stringent in some areas where we receive federal
broadband subsidies. In part as a result of the increasing public awareness concerning the importance of environmental regulations, these regulations have become more
stringent over time. Amended or new regulations could impact our operations and costs.
Available Information and Website
We make available free of charge, through our investor relations section at our website, http://www.alticeusa.com, our Annual Report on Form 10-K, Quarterly Reports on
Form 10-Q and our Current Reports on Form 8-K and all amendments to those reports as soon as reasonably practicable after such material is electronically filed with or
furnished to the U.S. Securities and Exchange Commission ("SEC"). Website references in this report are provided as a convenience and do not constitute, and should not be
viewed as, incorporation by reference of the information contained on, or available through, the websites. Therefore, such information should not be considered part of this
report.




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Item 1A.       Risk Factors
Summary of Risk Factors
Our business is subject to a number of risks that may impact our business and prospects. The following summary identifies certain risk factors that may prevent us from
achieving our business objectives or may adversely affect our business, financial condition and results of operations. These and other risks are discussed in detail in the section
that follows.
Risk Factors Relating to Our Business
    •    We operate in a highly competitive business environment.
    •    We face significant risks as a result of rapid changes in technology, consumer expectations and behavior.
    •    Programming and retransmission costs are increasing and disputes with programmers and the inability to retain or obtain popular programming can adversely affect our
         relationship with customers.
    •    We may not be able to successfully implement our growth strategy.
    •    The financial markets are subject to volatility and disruptions, which may adversely affect our business.
    •    We are highly leveraged and have substantial indebtedness and may incur additional indebtedness.
    •    We have in past periods incurred substantial losses from operations, and we may do so in the future.
    •    A lowering or withdrawal of the ratings assigned to our subsidiaries' debt securities and credit facilities by ratings agencies may increase our future borrowing costs and
         reduce our access to capital.
    •    Our subsidiaries' ability to meet obligations under their indebtedness may be restricted by limitations on our other subsidiaries' ability to send funds.
    •    We are subject to significant restrictive covenants under the agreements governing our indebtedness.
    •    We will need to raise significant amounts of funding over the next several years to fund capital expenditures, repay existing obligations and meet other obligations; we
         may also engage in extraordinary transactions that involve the incurrence of large amounts of indebtedness.
    •    Changes or uncertainty in respect of LIBOR discontinuation may affect our sources of funding.
    •    We depend on third-party vendors for certain equipment, hardware, licenses and services in the conduct of our business.
    •    Our business, financial condition and results of operations may be adversely affected by the ongoing COVID-19 pandemic.
    •    Labor shortages and supply chain disruptions could prevent us from meeting customer demand and negatively affect our financial results.
    •    Disruptions to our networks, infrastructure and facilities could impair our operating activities and negatively impact our reputation and financial results.
    •    If we experience a significant cybersecurity incident or fail to detect and appropriately respond to a significant cybersecurity incident, our results of operations and
         reputation could suffer.
    •    The terms of existing or new collective bargaining agreements can increase our expenses. Labor disruptions could adversely affect our business, financial condition and
         results of operations.
    •    A significant amount of our book value consists of intangible assets that may not generate cash in the event of a voluntary or involuntary sale.
    •    We may engage in acquisitions, dispositions and other strategic transactions and the integration of such acquisitions, the sales of assets and other strategic transactions
         could materially adversely affect our business, financial condition and results of operations.
    •    Significant unanticipated increases in the use of bandwidth-intensive Internet-based services could increase our costs.
    •    Our business depends on intellectual property rights and on not infringing on others' intellectual property rights.
    •    We may be liable for the material that content providers distribute over our networks.
    •    If we are unable to retain key employees, our ability to manage our business could be adversely affected.

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    •   Impairment of the Altice brand or Mr. Drahi's reputation could adversely affect current and future customers' perception of Altice USA.
    •   Macroeconomic developments may adversely affect our business.
    •   Online piracy could result in reduced revenues and increased expenditures.
    •   Our mobile wireless service will be subject to startup risk, competition, and risks associated with the price and availability of wholesale access to RAN.
Risk Factors Relating to Regulatory and Legislative Matters
    • Our business is subject to extensive governmental legislation and regulation.
    • Our cable system franchises are subject to non-renewal or termination.
    • Our cable system franchises are non-exclusive.
    • Local franchising authorities have the ability to impose additional regulatory constraints on our business.
    • Further regulation of the cable industry could restrict our marketing options or impair our ability to raise rates.
    • We may be materially adversely affected by regulatory changes related to pole attachments.
    • Changes in channel carriage regulations could impose significant additional costs on us.
    • Increasing regulation of our Internet-based products and services could adversely affect our ability to provide new products and services.
    • Offering telephone services may subject us to additional regulatory burdens, causing us to incur additional costs.
    • Our mobile service exposes us to regulatory risk.
    • We may be materially adversely affected by regulatory, legal and economic changes relating to our physical plant.
Risk Factors Relating to Ownership of Our Class A Common Stock and Class B Common Stock
    • An active, liquid trading market for our Class B common stock has not developed and we cannot assure you that an active, liquid trading market will develop in the
       future.
    • Our stockholders' percentage ownership in us may be diluted by future issuances of capital stock.
    • We have no current plans to pay cash dividends on our Class A common stock or Class B common stock for the foreseeable future.
    • Future sales, or the perception of future sales, by us or our existing stockholders in the public market could cause the market price of our Class A common stock to
       decline.
    • The tri-class structure of Altice USA common stock has the effect of concentrating voting control with Next Alt.
    • Next Alt controls us and its interests may conflict with ours or our stockholders in the future.
    • Anti-takeover provisions in our organizational documents could prevent a change of control transaction.
    • Holders of a single class of Altice USA common stock may not have any remedies if an action by our directors has an adverse effect on only that class of Altice USA
       common stock.
    • We are a "controlled company" within the meaning of the rules of the NYSE.
    • If securities or industry analysts do not publish research or reports about our business, if they adversely change their recommendations regarding our Class A common
       stock, or if our operating results do not meet their expectations, the market price of our Class A common stock could decline.
    • We have been subject to securities class action litigation in the past and could be subject to securities class action litigation in the future.
    • Our amended and restated bylaws provide that the Court of Chancery of the State of Delaware is the exclusive forum for substantially all disputes between us and our
       stockholders.

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Risk Factors Relating to Our Business
We operate in a highly competitive business environment which could materially adversely affect our business, financial condition, results of operations and liquidity.
We operate in a highly competitive, consumer-driven industry and we compete against a variety of broadband, video and telephony providers and delivery systems, including
broadband communications companies, wireless data and telephony providers, fiber-based service providers, satellite-delivered video providers, Internet-delivered video
content and broadcast television signals available to residential and business customers in our service areas. Some of our competitors include AT&T, DirecTV, DISH, Frontier,
Lumen and Verizon. In addition, our video services compete with all other sources of leisure, news, information and entertainment, including movies, sporting or other live
events, radio broadcasts, home-video services, console games, print media and the Internet.
In some instances, our competitors have fewer regulatory burdens, easier access to financing, greater resources, greater operating capabilities and efficiencies of scale, stronger
brand-name recognition, longstanding relationships with regulatory authorities and customers, more customers, more flexibility to offer promotional packages at prices lower
than ours and greater access to programming or other services. This competition creates pressure on our pricing and has adversely affected, and may continue to affect, our
ability to add and retain customers, which in turn adversely affects our business, financial condition and results of operations. The effects of competition may also adversely
affect our liquidity and ability to service our debt. For example, we face intense competition from Verizon, which has constructed FTTH network infrastructure that passes a
significant number of households in our New York metropolitan service area. We estimate that Verizon is currently able to sell fiber-based services, including broadband, video
and telephony, to over two-thirds of the households in our New York metropolitan service area and may expand these and other service offerings to more customers in the
future. We also face increasing competition from AT&T and new fiber-based service providers in various markets in our south-central United States service area, who we
estimate are currently able to sell fiber products to over one-quarter of these households. While the extent of our competitors’ build-out and sales activity in service areas is
difficult to assess because it is based on visual inspections and other limited estimating techniques and therefore serves only as an approximation, the fiber build out by
competitors in our service areas is significant.
Our competitive risks are heightened by the rapid technological change inherent in our business, evolving consumer preferences and the need to acquire, develop and adopt new
technology to differentiate our products and services from those of our competitors, and to meet consumer demand. We may need to anticipate far in advance which technology
we should use for the development of new products and services or the enhancement of existing products and services. The failure to accurately anticipate such changes may
adversely affect our ability to attract and retain customers, which in turn could adversely affect our business, financial condition and results of operations. Consolidation and
cooperation in our industry may allow our competitors to acquire service capabilities or offer products that are not available to us or offer similar products and services at prices
lower than ours.
In addition, certain of our competitors own directly or are affiliated with companies that own programming content or have exclusive arrangements with content providers that
may enable them to obtain lower programming costs or offer exclusive programming that may be attractive to prospective customers.
Another source of competition for our video services is the delivery of video content over the Internet directly to customers, some of which is offered without charging a fee for
access to the content. This competition comes from a number of different sources, including companies that deliver movies, television shows and other video programming,
including extensive on demand, live content, serials, exclusive and original content, over broadband Internet connections to televisions, computers, tablets and mobile devices,
such as Netflix, Hulu, Disney+, Apple TV+, YouTube TV, Amazon Prime, Sling TV, DirecTV Stream and others. It is possible that additional competitors will enter the market
and begin providing video content over the Internet directly to customers. Increasingly, content owners, such as HBO, CBS, Disney and ESPN, are selling their programming
directly to consumers over the Internet without requiring a video subscription. The availability of these services has and will continue to adversely affect customer demand for
our video services, including premium and on-demand services. Further, due to consumer electronics innovations, consumers can watch such Internet-delivered content on
television sets and mobile devices, such as smartphones and tablets. Internet access services are also offered by providers of wireless services, including traditional cellular
phone carriers and others focused solely on wireless data services.
Our video services also face competition from broadcast television stations, entities that make digital video recorded movies and programs available for home rental or sale,
satellite master antenna television ("SMATV") systems, which generally serve large MDUs under an agreement with the landlord and service providers and open video


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system operators. Private cable systems can offer improved reception of local television stations and many of the same satellite-delivered program services that are offered by
cable systems. SMATV systems currently benefit from operating advantages not available to franchised cable systems, including fewer regulatory burdens. Cable television has
also long competed with broadcast television, which consists of television signals that the viewer is able to receive without charge using an "off-air" antenna. The extent of such
competition is dependent upon the quality and quantity of broadcast signals available through "off-air" reception, compared to the services provided by the local cable system.
The use of radio spectrum now provides traditional broadcasters with the ability to deliver HD television pictures and multiple digital-quality program streams. There can be no
assurance that existing, proposed or as yet undeveloped technologies will not become dominant in the future and render our video service offering less profitable or even
obsolete.
Our broadband service faces competition from wired and wireless providers. Most broadband communications companies, which already have wired networks, an existing
customer base and other operational functions in place (such as billing and service personnel), offer DSL, cable or FTTH/FTTP services. We believe these services compete
with our broadband service and are often offered at prices comparable to or lower than our Internet services and, despite sometimes being offered at speeds lower than the
speeds we offer, are capable of serving as substitutes for some consumers. In addition, to the extent that these providers’ networks are more ubiquitously deployed, such as
traditional telephone networks, they may be in a better position to offer Internet services to businesses passed by their networks on a more economic or timely basis than we
can, even if the services they offer are arguably inferior. They may also increasingly have the ability to combine video services, mobile services and telephone and Internet
services offered to their customers, either directly or through co-marketing agreements with other service providers. Additionally, federal legislation has substantially increased
the amount of subsidies to entities deploying broadband to areas deemed to be "unserved" or "underserved" in the past year, which could result in increased competition for our
broadband services.
Mobile broadband providers increasingly provide Fixed Wireless Broadband" ("FWB") services that can substitute for our fixed broadband service. These 5G FWB services
from T-Mobile and Verizon, for example, in addition to services such as 4G, LTE and other 5G (and variants) wireless broadband services and WiFi networks, and devices such
as wireless data cards, tablets and smartphones, and mobile wireless routers that connect to such devices, also compete with our broadband services both for in premises
broadband service and mobile broadband. All major wireless carriers have started to offer unlimited data plans, which could, in some cases, become a substitute for the fixed
broadband services we provide. The FCC is likely to continue to make additional radio spectrum available for these wireless Internet access services, which in time could
expand the quality and reach of these services.
Our telephony services, including the mobile wireless voice and data service that we launched in 2019, compete directly with established broadband communications companies
and other carriers, including wireless providers, as increasing numbers of homes are replacing their traditional telephone service with wireless telephone service. We also
compete against VoIP providers like Vonage, Skype, Facetime, WhatsApp and magicJack that do not own networks but can provide service to any person with a broadband
connection, in some cases free of charge. Our telephony services also face competition from substitute services such as SMS, chat, Apple Messaging, WhatsApp and similar
communications services.
In addition, we compete against ILECs, other CLECs and long-distance voice-service companies for large commercial and enterprise customers. While we compete with the
ILECs, we also enter into interconnection agreements with ILECs so that our customers can make and receive calls to and from customers served by the ILECs and other
telecommunications providers. Federal and state law and regulations require ILECs to enter into such agreements and provide facilities and services necessary for connection, at
prices subject to regulation. The specific price, terms and conditions of each agreement, however, depend on the outcome of negotiations between us and each ILEC.
Interconnection agreements are also subject to approval by the state regulatory commissions, which may arbitrate negotiation impasses. We have entered into interconnection
agreements with Verizon for New York, New Jersey and portions of Connecticut, and with Frontier for portions of Connecticut, which have been approved by the respective
state commissions. We have also entered into interconnection agreements with other ILECs in New York and New Jersey and in each of the other states where we offer VoIP
and telecommunications services. These agreements, like all interconnection agreements, are for limited terms and upon expiration are subject to renegotiation, potential
arbitration and approval under the laws in effect at that time.
Our advertising business faces competition from traditional and non-traditional media outlets, such as television and radio stations, traditional print media and the Internet,
including Facebook, Google and others.


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We face significant risks as a result of rapid changes in technology, consumer expectations and behavior.
The broadband communications industry has undergone significant technological development over time and these changes continue to affect our business, financial condition
and results of operations. Such changes have had, and will continue to have, a profound impact on consumer expectations and behavior. Our video business faces technological
change risks as a result of the continuing development of new and changing methods for delivery of programming content such as Internet-based delivery of movies, shows and
other content which can be viewed on televisions, wireless devices and other developing mobile devices. Consumers' video consumption patterns are also evolving, for example,
with more content being downloaded for time-shifted consumption. A proliferation of delivery systems for video content can adversely affect our ability to attract and retain
customers and the demand for our services and it can also decrease advertising demand on our delivery systems. Our broadband business faces technological challenges from
rapidly evolving wireless Internet solutions. Our telephony service offerings face technological developments in the proliferation of telephony delivery systems including those
based on Internet and wireless delivery. If we do not develop or acquire and successfully implement new technologies, we will limit our ability to compete effectively for
customers, content and advertising.
Many of our video customers take delivery of their services through our set-top box, although customers are increasingly able to enjoy these services through other devices, for
example, Apple TV, which eliminates or reduces the need to use our devices. We may be required to make material capital and other investments to anticipate and to keep up
with technological change. These challenges could adversely affect our business, financial condition and results of operations.
In the fourth quarter of 2017, we entered into a multi-year strategic agreement with Sprint pursuant to which we currently utilize Sprint's network to provide mobile voice and
data services to our customers throughout the nation. In 2021, following the merger between T-Mobile and Sprint, we migrated our customers to the T-Mobile network. We
believe this additional product offering will enable us to deliver greater value and more benefits to our customers, by offering mobile voice and data services, in addition to our
broadband, video and telephony services. Some of our competitors already offer, or have announced plans to offer, their own offerings that bundle two or more of their
broadband, video, telephony and mobile voice and data services. If our customers do not view our service offerings as competitive with those offered by our competitors, we
could experience increased customer churn. We cannot provide any assurance that we will realize, in full or in part, the anticipated benefits we expect from the introduction of
our mobile voice and data services, or that they will be introduced to, or adopted by, customers to the extent or in the timeframe we anticipate. In addition, we may be required
to make material capital and other investments to develop this business and to anticipate and keep up with technological change. These challenges could adversely affect our
business, financial condition and results of operations.
Programming and retransmission costs are increasing and we may not have the ability to pass these increases on to our customers. Disputes with programmers and the
inability to retain or obtain popular programming can adversely affect our relationship with customers and lead to customer losses, which could materially adversely affect
our business, financial condition and results of operations.
Programming costs are one of our largest categories of expenses. In recent years, the cost of programming in the cable and satellite video industries has increased significantly
and is expected to continue to increase, particularly with respect to costs for sports programming and broadcast networks. We may not be able to pass programming cost
increases on to our customers due to the increasingly competitive environment. If we are unable to pass these increased programming costs on to our customers, our results of
operations would be adversely affected. Moreover, programming costs are related directly to the number of customers to whom the programming is provided. Our smaller
customer base relative to our competitors may limit our ability to negotiate lower per-customer programming costs, which could result in reduced operating margins relative to
our competitors with a larger customer base.
The expiration dates of our various programming contracts are staggered, which results in the expiration of a portion of our programming contracts throughout each year. We
attempt to control our programming costs and, therefore, the cost of our video services to our customers, by negotiating favorable terms for the renewal of our affiliation
agreements with programmers. On certain occasions in the past, such negotiations have led to disputes with programmers that have resulted in temporary periods during which
we did not carry or decided to stop carrying a particular broadcast network or programming service or services. For example, in 2017, we were unable to reach an agreement
with Starz on acceptable economic terms, and effective January 1, 2018, all Starz services were removed from our lineups, and we launched alternative networks offered by
other programmers under new long-term contracts. On February 13, 2018, we and Starz reached a new carriage agreement and we restored the Starz services previously offered
by Optimum and Suddenlink. Negotiating impasses are common. To the extent we are unable to


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reach agreement with certain programmers on terms we believe are reasonable, we may be forced to, or determine for strategic or business reasons to, remove certain
programming channels from our line-up and may decide to replace such programming channels with other programming channels, which may not be available on acceptable
terms or be as attractive to customers. Such disputes, or the removal or replacement of programming, may inconvenience some of our customers and can lead to customer
dissatisfaction and, in certain cases, the loss of customers, which could have a material adverse effect on our business, financial condition, results of operations and liquidity.
There can be no assurance that our existing programming contracts will be renewed on favorable or comparable terms, or at all, or that the rights we negotiate will be adequate
for us to execute our business strategy.
We may also be subject to increasing financial and other demands by broadcast stations. Federal law allows commercial television broadcast stations to make an election
between "must-carry" rights and an alternative "retransmission consent" regime. Local stations that elect "must-carry" are entitled to mandatory carriage on our systems, but at
no fee. When a station opts for retransmission consent, cable operators negotiate for the right to carry the station's signal, which typically requires payment of a per-customer
fee. Our retransmission agreements with stations expire from time to time. Upon expiration of these agreements, we may carry some stations under short-term arrangements
while we attempt to negotiate new long-term retransmission agreements. In connection with any negotiation of new retransmission agreements, we may become subject to
increased or additional costs, which we may not be able to pass on to our customers. To the extent that we cannot pass on such increased or additional costs to customers or
offset such increased or additional costs through the sale of additional services, our business, financial condition, results of operations and liquidity could be materially
adversely affected. In addition, in the event contract negotiations with stations are unsuccessful, we could be required, or determine for strategic or business reasons, to cease
carrying such stations' signals, possibly for an indefinite period. Any loss of stations could make our video service less attractive to our customers, which could result in a loss
of customers, which could have a material adverse effect on our business, financial condition, results of operations and liquidity. There can be no assurance that any expiring
retransmission agreements will be renewed on favorable or comparable terms, or at all.
We may not be able to successfully implement our growth strategy.
Our future growth, profitability and results of operations depend upon our ability to successfully implement our business strategy, which, in turn, is dependent upon a number of
factors, including our ability to continue to:
              • simplify and optimize our organization;
              • reinvest in infrastructure and content;
              • invest in sales, marketing and innovation;
              • enhance the customer experience;
              • drive revenue and cash flow growth; and
              • opportunistically grow through value-accretive acquisitions.
There can be no assurance that we can successfully achieve any or all of the above initiatives in the manner or time period that we expect. Furthermore, achieving these
objectives will require investments which may result in short-term costs without generating any current revenues and therefore may be dilutive to our earnings. We cannot
provide any assurance that we will realize, in full or in part, the anticipated benefits we expect our strategy will achieve. The failure to realize those benefits could have a
material adverse effect on our business, financial condition and results of operations. In addition, if we are unable to continue improving our operational performance and
customer experience we may face a decrease in new customers and an increase in customer churn, which could have a material adverse effect on our business, financial
condition and results of operations. For example, there can be no assurance that we will be able to successfully implement our plan to build a FTTH network within the
anticipated timeline or at all or within the cost parameters we currently expect. Similarly, we may not be successful in growing our mobile voice and data services on our
anticipated timeline or realize, in full or in part, the anticipated benefits we expect from the introduction thereof, and we may face technological, financial, legal, regulatory or
other challenges in pursuing these or other initiatives.
The financial markets are subject to volatility and disruptions, which have in the past, and may in the future, adversely affect our business, including by affecting the cost
of new capital and our ability to fund acquisitions or other strategic transactions.
From time to time the capital markets experience volatility and disruption. Volatility in the capital markets may be impacted by a number of factors. Some of the main factors
which contributed to capital markets volatility in recent months include, but are not limited to, inflationary pressures, the outlook for interest rates, the military conflict


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between Russia and Ukraine and the impacts of COVID-19. There can be no assurance that market conditions will not continue to be volatile or worsen in the future.
Historical market disruptions have typically been accompanied by a broader economic downturn, which has historically led to lower demand for our products, such as video
services, as well as lower levels of television advertising, and increased incidence of customers' inability to pay for the services we provide. A recurrence of these conditions
may further adversely impact our business, financial condition and results of operations.
We rely on the capital markets, particularly for offerings of debt securities and borrowings under syndicated facilities, to meet our financial commitments and liquidity needs if
we are unable to generate sufficient cash from operations to fund such anticipated commitments and needs and to fund acquisitions or other strategic transactions. Adverse
changes in credit markets, including rising interest rates, could increase our cost of borrowing or make it more difficult for us to obtain financing for our operations or to
refinance existing indebtedness. Disruptions or volatility in the capital markets could also adversely affect our ability to refinance on satisfactory terms, or at all, our scheduled
debt maturities and could adversely affect our ability to draw on our revolving credit facilities.
Persistent disruptions in the capital markets as well as the broader global financial market could increase our interest expense, adversely affecting our business, financial
position, results of operations and liquidity.
Our access to funds under our revolving credit facilities is dependent on the ability of the financial institutions that are parties to those facilities to meet their funding
commitments. Those financial institutions may not be able to meet their funding commitments if they experience shortages of capital and liquidity or if they experience
excessive volumes of borrowing requests within a short period of time. Moreover, the obligations of the financial institutions under our revolving credit facilities are several and
not joint and, as a result, a funding default by one or more institutions does not need to be made up by the others.
Longer term, volatility and disruptions in the capital markets and the broader global financial market as a result of uncertainty, changing or increased regulation of financial
institutions, reduced alternatives or failures of significant financial institutions could adversely affect our access to the liquidity needed for our businesses. Such disruptions
could require us to take measures to conserve cash or impede or delay potential acquisitions, strategic transactions and refinancing transactions until the markets stabilize or
until alternative credit arrangements or other funding for our business needs can be arranged.
We are highly leveraged and have substantial indebtedness, which reduces our capability to withstand adverse developments or business conditions. If we incur additional
indebtedness, such indebtedness could further exacerbate the risks associated with our substantial indebtedness.
Our subsidiaries have incurred substantial amounts of indebtedness in connection with acquisitions and to finance the Cequel Acquisition, the Cablevision Acquisition, our
operations, upgrades to our cable plant and acquisitions of other cable systems, sources of programming and other businesses. We have also incurred substantial indebtedness in
order to offer new or upgraded services to our current and potential customers. At December 31, 2022, the carrying value of our total aggregate indebtedness, including
collateralized indebtedness, finance leases, notes payable and supply chain financing was approximately $26.6 billion. Because we are highly leveraged, our payments on our
indebtedness are significant in relation to our revenues and cash flow, which exposes us to significant risk in the event of downturns in our businesses (whether through
competitive pressures or otherwise), our industry or the economy generally, since our cash flows would decrease, but our required payments under our indebtedness would not.
Any decrease in our revenues or an increase in operating costs (and corresponding reduction in our cash flows) would therefore adversely affect our ability to make interest or
principal payments on our indebtedness as they come due.
Economic downturns may also impact our ability to comply with the covenants and restrictions in our indentures, credit facilities and other agreements governing our
indebtedness and may impact our ability to pay or refinance our indebtedness as it comes due. If we do not repay or refinance our debt obligations when they become due and
do not otherwise comply with the covenants and restrictions in our indentures, credit facilities and other agreements governing our indebtedness, we would be in default under
those agreements and the underlying debt could be declared immediately due and payable. In addition, any default under any of our indentures, credit facilities or other
agreements governing our indebtedness could lead to an acceleration of debt under any other debt instruments or agreements that contain cross-acceleration or cross-default
provisions. If the indebtedness incurred under our indentures, credit facilities and other agreements governing our indebtedness were accelerated, we would not have sufficient
cash to repay amounts due thereunder. To avoid a default, we could be required to defer capital expenditures, sell assets, seek strategic investments from third parties or
otherwise reduce or eliminate discretionary uses of cash. However, if such measures were to become necessary, there can be no assurance that we would be able


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to sell sufficient assets or raise strategic investment capital sufficient to meet our scheduled debt maturities as they come due. In addition, any significant reduction in necessary
capital expenditures could adversely affect our ability to retain our existing customer base and obtain new customers, which would adversely affect our business, financial
position and results of operations.
Our overall leverage and the terms of our financing arrangements could also:
              •    make it more difficult for us to satisfy obligations under our outstanding indebtedness;
              •    limit our ability to obtain additional debt or equity financing in the future, including for working capital, capital expenditures or acquisitions, and increase the
                   costs of such financing;
              •    limit our ability to refinance our indebtedness on terms acceptable to us or at all;
              •    limit our ability to adapt to changing market conditions;
              •    restrict us from making strategic acquisitions or cause us to make non-strategic divestitures;
              •    require us to dedicate a significant portion of our cash flow from operations to paying the principal of and interest on our indebtedness, thereby limiting the
                   availability of our cash flow to fund future capital expenditures, working capital, research and development, and other corporate purposes;
              •    increase our vulnerability to or limit our flexibility in planning for, or reacting to, changes in our business and the broadband communications industry
                   generally as well as general economic conditions, including the risk of increased interest rates;
              •    place us at a competitive disadvantage compared with competitors that have a less significant debt burden; and
              •    adversely affect public perception of us and our brands.
In addition, a substantial amount of our indebtedness bears interest at variable rates. If market interest rates increase, our variable-rate debt will have higher debt service
requirements, which could adversely affect our cash flows and financial condition. For more information, see "Item 7A. Quantitative and Qualitative Disclosures About Market
Risk—Interest Rate Risk." Although we have historically entered into, and may in the future enter into, hedging arrangements to limit our exposure to an increase in interest
rates or to other risks, such arrangements may not offer complete protection from these risks. In addition, the nature of these hedges could prevent us from realizing benefits we
would have received had the hedge not been put in place, such as if interest rates fall.
The terms of our existing indebtedness restrict, but do not prohibit, us from incurring additional indebtedness. We may increase our consolidated indebtedness for various
business reasons, which might include, among others, financing acquisitions or other strategic transactions, funding prepayment premiums, if any, on the debt we refinance,
funding distributions to our shareholders or general corporate purposes. If we incur additional indebtedness, such indebtedness will be added to our current debt levels and the
above-described risks we currently face could be magnified.
We have in past periods incurred substantial losses from operations, and we may do so in the future, which may reduce our ability to raise needed capital.
We have in the past incurred substantial losses from operations and we may do so in the future. Significant losses from operations could limit our ability to raise any needed
financing, or to do so on favorable terms, as such losses could be taken into account by potential investors, lenders and the organizations that issue investment ratings on our
indebtedness.
A lowering or withdrawal of the ratings assigned to our subsidiaries' debt securities and credit facilities by ratings agencies may increase our future borrowing costs and
reduce our access to capital.
Credit rating agencies continually revise their ratings for companies they follow. The condition of the financial and credit markets and prevailing interest rates have fluctuated in
the past and are likely to fluctuate in the future. In addition, developments in our business and operations or the amount of indebtedness could lead to a ratings downgrade on our
or our subsidiaries' indebtedness. The debt ratings for our subsidiaries' debt securities and credit facilities are currently below the "investment grade" category, which results in
higher borrowing costs and more restrictive covenants in our indentures and credit facilities, as well as a reduced pool of potential investors of that debt as some investors will
not purchase debt securities or become lenders under credit facilities that are not rated in an investment grade rating category. In addition, there can be no assurance that any
rating assigned will remain for any given period of time or that a rating will not be lowered or withdrawn entirely by a rating agency, if in that rating agency's judgment, future
circumstances relating to the basis of the rating, such as adverse changes, so warrant. Our


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credit rating (including the credit rating assigned to our subsidiaries’ debt securities and credit facilities) has in the past been and may continue to be impacted by a number of
factors, including the effects of the U.S. economy experiencing an uneven recovery following a protracted slowdown, factors affecting the broadband communications and
video service industry, our operating performance and our financing activities. Any such fluctuation in the rating of us or our subsidiaries may impact our ability to access debt
markets in the future or increase our cost of future debt which could have a material adverse effect on our business, financial condition and results of operations, which in return
may adversely affect the market price of shares of our Class A common stock.
Our subsidiaries' ability to meet obligations under their indebtedness may be restricted by limitations on our other subsidiaries' ability to send funds.
Our primary debt obligations have been incurred by our subsidiaries, mainly CSC Holdings, LLC ("CSC Holdings"). A portion of the indebtedness incurred by CSC Holdings
is not guaranteed by any of its subsidiaries. CSC Holdings is primarily a holding company whose ability to pay interest and principal on such indebtedness is wholly or partially
dependent upon the operations of its subsidiaries and the distributions or other payments of cash, in the form of distributions, loans or advances, those other subsidiaries deliver
to our indebted subsidiaries. Our subsidiaries are separate and distinct legal entities and, unless any such subsidiaries has guaranteed the underlying indebtedness, have no
obligation, contingent or otherwise, to pay any amounts due on our indebted subsidiaries' indebtedness or to make any funds available to our indebted subsidiaries to do so.
These subsidiaries may not generate enough cash to make such funds available to our indebted subsidiaries and in certain circumstances legal and contractual restrictions may
also limit their ability to do so.
Also, our subsidiaries' creditors, including trade creditors, in the event of a liquidation or reorganization of any subsidiary, would be entitled to a claim on the assets of such
subsidiaries, including any assets transferred to those subsidiaries, prior to any of our claims as a stockholder and those creditors are likely to be paid in full before any
distribution is made to us. To the extent that we are a creditor of a subsidiary, our claims could be subordinated to any security interest in the assets of that subsidiary and/or any
indebtedness of that subsidiary senior to that held by us.
We are subject to significant restrictive covenants under the agreements governing our indebtedness.
The indentures, credit facilities and agreements governing the indebtedness of our subsidiaries contain various negative covenants that restrict our subsidiaries' (and their
respective subsidiaries') ability to, among other things:
              •    incur additional indebtedness and guarantee indebtedness;
              •    pay dividends or make other distributions, or repurchase or redeem capital stock;
              •    prepay, redeem or repurchase subordinated debt or equity;
              •    issue certain preferred stock;
              •    make loans and investments;
              •    sell assets;
              •    incur liens;
              •    enter into transactions with affiliates;
              •    create or permit any encumbrances or restrictions on the ability of their respective subsidiaries to pay dividends or make other distributions, make loans or
                   advances or transfer assets, in each case to such subsidiary, or its other restricted subsidiaries; and
              •    consolidate, merge or sell all or substantially all of their assets.
We are also subject to certain affirmative covenants under our subsidiary's revolving credit facility, which, among other things, require our operating subsidiaries to maintain a
specified financial ratio if there are any outstanding loans thereunder. Our ability to meet these financial ratios may be affected by events beyond our control and, as a result,
there can be no assurance that we will be able to meet these ratios.
Violation of these covenants could result in a default that would permit the relevant creditors to require the immediate repayment of the borrowings thereunder, which could
result in a default under other debt instruments and agreements that contain cross-default provisions and, in the case of our revolving credit facility, permit the relevant lenders
to restrict the relevant borrower's ability to borrow undrawn funds under such revolving credit facility. A default under any of the agreements governing our indebtedness could
materially adversely affect our financial condition and results of operations.


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As a result, we may be:
              •    limited in how we conduct our business;
              •    unable to raise additional debt or equity financing to operate during general economic or business downturns; or
              •    unable to compete effectively or to take advantage of new business opportunities.
These restrictions could have a material adverse effect on our ability to grow in accordance with our strategy and on the value of our debt and equity securities.
We will need to raise significant amounts of funding over the next several years to fund capital expenditures, repay existing obligations and meet other obligations and the
failure to do so successfully could adversely affect our business. We may also engage in extraordinary transactions that involve the incurrence of large amounts of
indebtedness.
Our business is capital intensive. Operating and maintaining our cable systems requires significant amounts of cash payments to third parties. Capital expenditures were
$1,914.3 million, $1,231.7 million and $1,074.0 million in 2022, 2021 and 2020, respectively, and primarily include payments for customer premise equipment, network
infrastructure, support and other costs.
We are building a FTTH network, and we continue to upgrade our existing HFC network.Additionally, in the fourth quarter of 2017, we entered into a multi-year strategic
agreement pursuant to which we currently utilize Sprint's (and, following the merger between T-Mobile and Sprint, T-Mobile's) network to provide mobile voice and data
services to our customers throughout the nation. We may not be able to execute these initiatives within the anticipated timelines, or at all, and we may incur greater than
anticipated costs and capital expenditures, fail to realize anticipated benefits, experience business disruptions or encounter other challenges to executing these initiatives which
could have a material adverse effect on our business, financial condition and results of operations.
We expect these capital expenditures to continue to be significant as we further enhance our service offerings. We may have substantial future capital commitments in the form
of long-term contracts that require substantial payments over a period of time. In the longer term, our ability to fund our operations, make planned capital expenditures, make
scheduled payments on our indebtedness and repay our indebtedness depends on our future operating performance and cash flows and our ability to access the capital markets,
which, in turn, are subject to prevailing economic conditions and to financial, business and other factors, some of which are beyond our control. Competition, market disruptions
or deterioration in economic conditions could lead to lower demand for our products, as well as lower levels of advertising, and increased incidence of customers' inability to
pay for the services we provide. These events would adversely impact our results of operations, cash flows and financial position. As such, we may not be able to generate
sufficient cash internally to fund anticipated capital expenditures, make ongoing interest payments and repay our indebtedness at maturity. Accordingly, we may have to do one
or more of the following:
              •    refinance existing obligations to extend maturities;
              •    raise additional capital, through bank loans, debt or equity issuances or a combination thereof;
              •    cancel or scale back current and future spending programs; or
              •    sell assets or interests in one or more of our businesses.
However, we may not be able to refinance existing obligations or raise any required additional capital on terms acceptable to us or at all. Borrowing costs related to future
capital raising activities may be significantly higher than our current borrowing costs and we may not be able to raise additional capital on favorable terms, or at all, if financial
markets experience volatility. If we are unable to pursue our current and future spending programs, we may be forced to cancel or scale back those programs. Our choice of
which spending programs to cancel or reduce may be limited. Failure to successfully pursue our capital expenditure and other spending plans could materially and adversely
affect our ability to compete effectively. It is possible that in the future we may also engage in extraordinary transactions and such transactions could result in the incurrence of
substantial additional indebtedness.
Changes or uncertainty in respect of LIBOR discontinuation may affect our sources of funding.
The interest rates applicable to our term loans due July 2025, our term loans due January 2026, our term loans due April 2027, and our term loans due November 2027 are
linked to LIBOR, which has recently been the subject of international reform proposals. Certain LIBOR settings were discontinued at the end of 2021 with the remaining
settings expected to be discontinued by mid-2023. In the United States, the Alternative Reference Rates Committee


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has proposed the Term Secured Overnight Financing Rate ("Term SOFR") as an alternative to LIBOR for use in contracts that are currently indexed to U.S. dollar LIBOR and
has proposed a phased market transition plan to Term SOFR. Term SOFR significantly differs from LIBOR and may not yield the same or similar economic results as LIBOR
which could have a material adverse effect on the liquidity of, and the amount payable under, our sources of funding.
If we are unable to transition our remaining LIBOR-linked term loans to Term SOFR prior to the discontinuation of LIBOR for all settings, we may be unable to meet our
obligations under such LIBOR-linked term loans. While certain of our sources of funding contain LIBOR alternative provisions, the use of alternative reference rates or other
reforms could cause the interest rates on our borrowings to be materially different than expected. These developments may cause us to renegotiate some of these agreements and
may have an adverse effect on our financial condition and results of operations.
We depend on third-party vendors for certain equipment, hardware, licenses and services in the conduct of our business. If we do not have access to such items on
reasonable terms and on a timely basis, our ability to offer our products and services could be impaired, and our business, results of operations and financial condition
could be adversely affected.
We use third-party suppliers, service providers and licensors to supply some of the equipment, hardware, services, software and operational support necessary to provide some
of our products and services. Some of these vendors are our sole source of supply or have, either through contract or as a result of intellectual property rights, a position of some
exclusivity. Some of these vendors do not have a long operating history or may not be able to continue to supply the products services we desire. In addition, because of the pace
at which technological innovations occur in our industry, we may not be able to obtain access to the latest technology on reasonable terms. The termination or disruption in these
relationships as a result of contractual disagreements, operational or financial failures on the part of our vendors, or other adverse events that prevent vendors from providing the
equipment or services we need, with the level of quality we require, in a timely manner, and at reasonable prices, could result in significant costs to us and have a negative effect
on our ability to provide our products and services. It is also possible that, under some circumstances, we could be forced to switch to different key vendors. Because of the cost
and time lag that can be associated with transitioning from one vendor to another, our business could be substantially disrupted if we were required to or chose to do so,
especially if the replacement became necessary on short notice. As a result, our business, results of operations and financial condition could be materially adversely affected.
Our business, financial condition and results of operations may be adversely affected by the ongoing COVID-19 pandemic
The COVID-19 pandemic, and measures to prevent its spread, have had a significant impact on our business and could have a material adverse impact on our business,
financial condition and results of operations in the future. The severity and timing of any impact will depend on a number of factors, including the level and rapidity of infection,
duration of containment measures, changes in consumer spending patterns, measures imposed or taken by governmental authorities in response to the pandemic, macroeconomic
conditions in our markets, and negative effects on the financial condition of our customers.
Under difficult economic conditions, demand for our products and services could decline and some customers may be unable or unwilling to pay for our products and services.
Additionally, in order to prioritize the demands of the business, we may delay or reprioritize certain capital investments or new initiatives, products or services, which may
adversely affect our business in the future.
Governmental and non-governmental initiatives to reduce the transmission of COVID-19 and variants, such as vaccine mandates, the imposition of restrictions on work and
public gatherings and the promotion of social distancing, along with new government service, collection, pricing or rebate mandates, have impacted and could impact our
operations and financial results in the future. Our suppliers and vendors also may be affected by such measures in their ability to provide products and services to us and these
measures could also make it more difficult for us to serve our customers.
If these events occur and were to continue, our revenue, operating margins and cash flows may be materially reduced.
In addition, the impact that COVID-19 will have on our business, financial condition and results of operations could exacerbate the risks identified in this section.


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Labor shortages and supply chain disruptions could prevent us from meeting customer demand and negatively affect our financial results.
We and some of our third-party suppliers, service providers and licensors have experienced a shortage of qualified labor at our and their facilities in certain geographies,
particularly within the United States. A prolonged shortage of qualified labor could decrease our third-party vendors’ ability to meet our demands and efficiently operate their
facilities. Prolonged labor shortages could also lead to decreased productivity and increased labor costs from higher overtime, the need to hire temporary help to meet demand
and higher wages rates in order to attract and retain employees. Any of these developments could materially increase our sourcing costs and have a material adverse effect on
our results of operations.
Shipping delays exist worldwide, as there is much greater demand for shipping and reduced capacity due in part to the COVID-19 pandemic and related travel and health
restrictions. Additionally, certain raw material prices increased in 2021, remained at historically high levels in 2022 and are expected to remain that way in 2023 due to
inflationary cost pressures and global transportation complexities. We have experienced supply chain disruptions related to third-party vendors negatively impacted by
availability of qualified labor, restrictions on employees’ ability to work, facility closures, disruptions to ports and other shipping infrastructure, border closures, other travel or
health-related restrictions and increased raw material costs. These disruptions are impacting our supply chain for technology, construction materials, products, including our
consumer premises equipment, and supplies, such as fiber optic cables, and could negatively impact our financial results and our ability to execute our growth strategy and
provide products and services to our customers, should they persist.
Disruptions to our networks, infrastructure and facilities could impair our operating activities and negatively impact our reputation and financial results.
Our network, infrastructure and facilities are critical to our operating activities.
Events such as natural disasters, power outages, accidents, maintenance failures, telecommunications failures, degradation of plant assets, cyber attacks, terrorist attacks and
similar events pose risks of potentially significant service disruptions or possible shutdowns. While we have developed and maintain systems designed to prevent service
disruptions and shutdowns, and we have developed system redundancy and disaster recovery plans designed to mitigate such network and system-related disruptions and to
expeditiously recover from such events, these measures may be ineffective or inadequate and may not be sufficient for all eventualities.
Any of these events, if experienced by or directed at us or technologies upon which we depend, could have adverse consequences on our network, infrastructure or facilities, as
well as our customers and business, including degradation of service, service disruption, excessive call volume to call centers, and damage to our or our customers’ equipment
and data. Large expenditures may be necessary to repair or replace damaged property, networks and system infrastructure following one of the identified or similar events or to
protect property, networks and infrastructure from other events in the future. Moreover, the amount and scope of insurance that we maintain against losses resulting from any
such events may not be sufficient to cover our losses or otherwise adequately compensate us for any disruptions to our business that may result. A significant shutdown or
service disruption could result in damage to our reputation and credibility, customer dissatisfaction and ultimately a loss of customers or revenue. Any significant loss of
customers or revenue, or significant increase in costs of serving those customers, could adversely affect our growth, financial condition and results of operations. Further, any of
such events could lead to claims against us and could result in regulatory penalties, particularly if we encounter difficulties in restoring service to our customers on a timely basis
or if the related losses are found to be the result of our practices or failures.
The combined effects of extreme weather and climate change may compound this risk. Portions of our geographic service areas have experienced one or more severe weather
and storm events over the past several years. In 2020, for example, portions of our southern footprint were impacted by multiple storms, including hurricanes Delta and Laura,
that caused significant damage to our network, infrastructure and facilities in those areas. Severe weather events and other natural disasters, including, storms, floods, tornadoes,
rising sea levels, solar events, electromagnetic events, or other natural disasters, could result in severe business disruptions, property damage, prolonged service disruption,
significant decreases in revenues and earnings, or significant additional costs, reputational and regulatory consequences.
If we experience a significant cybersecurity incident or fail to detect and appropriately respond to a significant cybersecurity incident, our results of operations and
reputation could suffer.
The nature of our business involves the receipt and storage of information about our customers and employees. We have procedures in place to detect and respond to data
security incidents. However, because the techniques used to


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obtain unauthorized access, disable or degrade service, or sabotage systems change frequently and may be difficult to detect for long periods of time, we may be unable to
anticipate these techniques or implement adequate preventive measures. In addition, hardware, software or applications we develop or procure from third parties may contain
defects in design or manufacture or other problems that could unexpectedly compromise information security.
We are regularly the target of attempted cyber intrusions, including by means of hacking, phishing, denial of service attacks and dissemination of computer viruses, ransomware
and other malicious software. Unauthorized parties may also attempt to gain access to our systems or facilities and to our proprietary business information. While we commit
substantial resources to continuously monitor and further develop our network and infrastructure to detect, protect and address the risk of unauthorized access, misuse, computer
viruses and other events, our security programs and measures do not prevent all intrusions. Cyber intrusions require a significant amount of time and money to assess and
remedy, and our incident response efforts may not be effective in all cases. If our efforts to protect the security of information about our customers and employees are
unsuccessful, a significant data security breach may result in costly government enforcement actions, private litigation and negative publicity resulting in reputation or brand
damage with customers, and our financial condition and results of operations could suffer. For example, in November 2019, a phishing attack against employee email accounts
resulted in the exposure of certain employees' email credentials and, as a result, the exposure of information in those accounts including personal information of current and
former employees as well as some customers. We took measures to secure against these attacks and responded by notifying affected persons, relevant state and federal agencies
and law enforcement agencies. While the November 2019 attack has been contained both from an exposure and cost perspective, similar attacks could impose costs, liability
and reputational harm that could adversely affect our operations and financial results. While we maintain insurance for cyber incidents, due to policy terms, limits and
exclusions, it may not apply in all cases, and may not be adequate to cover all liabilities.
A portion of our workforce is represented by labor unions under established collective bargaining agreements or negotiating for a first contract. The terms of existing or
new collective bargaining agreements can increase our expenses. Labor disruptions could adversely affect our business, financial condition and results of operations.
As of December 31, 2022, approximately 500 of the Company’s employees were represented by either the Communications Workers of America ("CWA") or the International
Brotherhood of Electrical Workers ("IBEW"). The Company has existing collective bargaining agreements with the CWA and IBEW that cover approximately 500 employees
in New York, New Jersey and West Virginia and expire at various times between February 24, 2023 through April 25, 2024.
The collective bargaining agreements with the CWA and IBEW covering these groups of employees or any other agreements with other unions may increase the Company’s
expenses or affect our ability to implement operational changes. Increased unionization of our workforce and any labor disputes we experience could create disruption or have
an adverse effect on our business, financial condition and results of operations.
A significant amount of our book value consists of intangible assets that may not generate cash in the event of a voluntary or involuntary sale.
At December 31, 2022, we reported approximately $33.7 billion of consolidated total assets, of which approximately $23.1 billion were intangible.Intangible assets primarily
included franchises from city and county governments to operate cable systems, goodwill, customer relationships and trade names. While we believe the carrying values of our
intangible assets are recoverable, we may not receive any cash in the event of a voluntary or involuntary sale of these intangible assets, particularly if we were not continuing as
an operating business. We urge our stockholders to read carefully the notes to our consolidated financial statements contained herein, which provide more detailed information
about these intangible assets.
We may engage in acquisitions, dispositions and other strategic transactions and the integration of such acquisitions, the sales of assets and other strategic transactions
could materially adversely affect our business, financial condition and results of operations.
Our business has grown significantly as a result of acquisitions, which entail numerous risks including:
              •   distraction of our management team in identifying potential acquisition targets, conducting due diligence and negotiating acquisition agreements;
              •   difficulties in integrating the operations, personnel, products, technologies and systems of acquired businesses;

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              •    difficulties in enhancing our customer support resources to adequately service our existing customers and the customers of acquired businesses;
              •    the potential loss of key employees or customers of the acquired businesses;
              •    unanticipated liabilities or contingencies of acquired businesses;
              •    unbudgeted costs which we may incur in connection with pursuing potential acquisitions which are not consummated;
              •    failure to achieve projected cost savings or cash flow from acquired businesses, which are based on projections that are inherently uncertain;
              •    fluctuations in our operating results caused by incurring considerable expenses to acquire and integrate businesses before receiving the anticipated revenues
                   expected to result from the acquisitions; and
              •    difficulties in obtaining regulatory approvals required to consummate acquisitions, or costs associated with obtaining such approvals in the form of additional
                   expenses or ongoing conditions on the operation of the business.
We also participate in competitive bidding processes, some of which may involve significant cable systems. We also may sell all or portions of the businesses we own,
including cable systems or business units. If we engage in acquisitions, dispositions or other strategic transactions in the future, we may incur additional debt, contingent
liabilities and amortization expenses, which could materially adversely affect our business, financial condition and results of operations. We could also issue substantial
additional equity which could dilute existing stockholders.
If our acquisitions do not result in the anticipated operating efficiencies, are not effectively integrated, or result in costs which exceed our expectations, or if our dispositions fail
to generate adequate consideration, result in contingent liabilities, adversely affect our ability to generate revenue or are disruptive to our other businesses, our business,
financial condition and results of operations could be materially adversely affected.
Significant unanticipated increases in the use of bandwidth-intensive Internet-based services could increase our costs.
The rising popularity of bandwidth-intensive Internet-based services poses risks for our broadband and wireless services. Examples of such services include peer-to-peer file
sharing services, gaming services and the delivery of video via streaming technology and by download. If heavy usage of bandwidth-intensive broadband and wireless services
grows beyond our current expectations or capacity, we may need to incur more expenses than currently anticipated to expand the bandwidth capacity of our systems or our
customers could have a suboptimal experience when using our broadband or wireless services, which could adversely affect our business, reputation, financial condition and
results of operations. In order to provide quality services at attractive prices, we need the continued flexibility to develop and refine business models that respond to changing
consumer uses and demands and to manage bandwidth usage efficiently. Our ability to undertake such actions could be restricted by regulatory and legislative efforts to impose
so-called "net neutrality" requirements on broadband communication providers like us that provide broadband services. For more information, see "Regulation—Broadband."
Our business depends on intellectual property rights and on not infringing on the intellectual property rights of others.
We rely on our patents, copyrights, trademarks and trade secrets, as well as licenses and other agreements with our vendors and other parties, to use our technologies, conduct
our operations and sell our products and services. Our intellectual property rights may be challenged and invalidated by third parties and may not be strong enough to provide
meaningful commercial competitive advantage. Third parties have in the past, and may in the future, assert claims or initiate litigation related to exclusive patent, copyright,
trademark and other intellectual property rights to technologies and related standards that are relevant to us. These assertions have increased over time as a result of our growth
and the general increase in the pace of patent claims assertions, particularly in the United States. Because of the existence of a large number of patents in the networking field,
the secrecy of some pending patents and the rapid rate of issuance of new patents, we believe it is not possible to determine in advance whether a product or any of its
components infringes or will infringe on the patent rights of others. Asserted claims and/or initiated litigation can include claims against us or our manufacturers, suppliers or
customers, alleging infringement of their proprietary rights with respect to our existing or future products and/or services or components of those products and/or services.
Regardless of the merit of these claims, they can be time-consuming, result in costly litigation and diversion of technical and management personnel, or require us to modify our
business, develop a non-infringing technology, be


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enjoined from use of certain intellectual property, use alternate technology or enter into license and royalty agreements. There can be no assurance that licenses will be
available on acceptable terms and conditions, if at all, or that our indemnification by our suppliers will be adequate to cover our costs if a claim were brought directly against us
or our customers. Furthermore, because of the potential for high court awards that are not necessarily predictable, it is not unusual to find even arguably unmeritorious claims
settled for significant amounts. If any infringement or other intellectual property claim made against us by any third-party is successful, if we are required to indemnify a
customer with respect to a claim against the customer, or if we fail to modify our business, develop non-infringing technology, use alternate technology or license the
proprietary rights on commercially reasonable terms and conditions, our business, financial condition and results of operations could be materially adversely affected.
We may be liable for the material that content providers distribute over our networks.
The law in most cases limits the liability of private network operators for information carried on, stored on or disseminated through their networks. However, these limitations
on liability are subject to certain exceptions and the contours of those exceptions are not fully settled. Among other things, the limitation of copyright liability for network
operators with respect to materials transmitted over their networks is conditioned upon the network operators’ terminating the accounts of repeat infringers in certain
circumstances, and the law is unsettled as to the circumstances in which such termination is required to maintain the operator’s limitation of liability. As such, we could be
exposed to legal claims relating to content disseminated on our networks and/or asserting that we are not eligible for statutory limitations on liability for network operators with
respect to such content. Claims could involve matters such as defamation, invasion of privacy or copyright infringement. For example, in December 2022 a complaint was filed
in the U.S. District Court for the Eastern District of Texas alleging that certain of the Company's Internet subscribers infringed the plaintiffs' copyrighted works. There can be no
assurance as to the outcome of such litigation. If we need to take costly measures to reduce our exposure to these risks or are required to settle or pay damages in relation to,
such claims, our business, reputation, financial condition and results of operations could be materially adversely affected.
If we are unable to retain key employees, our ability to manage our business could be adversely affected.
Our operational results have depended, and our future results will depend, upon the retention and continued performance of our management team. The competitive
environment for management talent in the broadband communications industry could adversely impact our ability to retain and hire new key employees for management
positions. The loss of the services of key members of management and the inability or delay in hiring new key employees could adversely affect our ability to manage our
business and our future operational and financial results.
Impairment of the Altice brand or Mr. Drahi's reputation could adversely affect current and future customers' perception of Altice USA.
Our ability to attract and retain customers depends, in part, upon the external perceptions of Altice USA, which in turn may be affected by the Altice brand and Mr. Drahi's
reputation and the quality of Altice products outside the U.S. and corporate and management integrity. The broadband communications and video services industry is by its
nature more prone to reputational risks than other industries. This has been compounded in recent years by the free flow of unverified information on the Internet and on social
media. Impairment of, including any loss of goodwill or reputational advantages, the Altice brand or Mr. Drahi's reputation in markets in which we do not operate could
adversely affect current and future customers', regulators', investors' and others' perception of Altice USA.
Macroeconomic developments may adversely affect our business.
Our performance is subject to global economic conditions and the related impact on consumer spending levels. Continued uncertainty about global economic conditions poses a
risk as consumers and businesses may postpone spending in response to tighter credit, unemployment, negative financial news, and/or declines in income or asset values, which
could have a material negative effect on demand for our products and services. As our business depends on consumer discretionary spending, our results of operations are
sensitive to changes in macroeconomic conditions. Our customers may have less money for discretionary purchases as a result of inflation, job losses, foreclosures,
bankruptcies, increased fuel and energy costs, higher interest rates, higher taxes, reduced access to credit, and lower home values. These and other economic factors could
adversely affect demand for our products, which in turn could adversely affect our financial condition and results of operations.


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Online piracy of entertainment and media content could result in reduced revenues and increased expenditures which could materially harm our business, financial
condition and results of operations.
Online entertainment and media content piracy is extensive in many parts of the world and is made easier by technological advances. This trend facilitates the creation,
transmission and sharing of high quality unauthorized copies of entertainment and media content. The proliferation of unauthorized copies of this content will likely continue,
and if it does, could have an adverse effect on our business, financial condition and results of operations because these products could reduce the demand for and revenue we
receive from our products. Additionally, in order to contain this problem, we may have to implement elaborate and costly security and antipiracy measures, which could result
in significant expenses and losses of revenue. There can be no assurance that even the highest levels of security and anti-piracy measures will prevent piracy.
Our mobile wireless service will be subject to startup risk, competition, and risks associated with the price and availability of wholesale access to RAN.
In 2019, we launched a mobile wireless voice and data service. We are offering this service using wholesale RAN agreements we have entered into withSprint (now T-Mobile)
and other RAN providers, as well as with our existing WiFi hotspot infrastructure in subscriber homes and at outdoor WiFi hotspots. We believe that our approach to the
mobile wireless service offering, including the construction and operation of our own “mobile core” and the ability to bundle and promote the product to our existing customer
base, will give us advantages over resellers and incumbent network-based operators alike. We nevertheless face competition from well-established incumbents like AT&T, T-
Mobile and Verizon. These incumbents have scale advantages over Altice USA and own their spectrum and RAN, affording them significant control over the quality and reach
of their own wireless networks, the service quality, speed of improvement and investment, cost, and the handling of subscriber congestion, which our service cannot replicate
because it relies in part on incumbent networks that we do not fully control.
Our mobile wireless strategy depends on the availability of wholesale RAN access from one or more network-based providers with whom we are likely to compete. Our mobile
service is vulnerable to constraints on the availability of wholesale access or increases in price from the incumbents. We are also dependent on our ability to extend our
agreement with Sprint (now T-Mobile) or another wholesale RAN access provider after the initial term of our agreement with Sprint (now T-Mobile) expires.
Consolidation among wholesale RAN access providers could impair our ability to sustain our mobile service. In 2018, Sprint and T-Mobile announced an intent to merge. The
merger was approved by the U.S. Justice Department in July 2019, the FCC in November 2019 (which conditioned its approval on fulfillment of certain commitments,
including certain conditions intended to benefit the Company) and a federal court in the Southern District of New York in February 2020. While the reduction of competition
among mobile wireless network-based providers likely will negatively impact the price and availability of wholesale RAN access to the Company generally, certain of the
conditions imposed upon the merger parties by the U.S. Justice Department and the FCC have the potential to ameliorate those effects and to enhance the coverage, quality and
cost structure for our mobile services while those conditions are in effect. We rely on the merger parties and the U.S. Justice Department's and FCC’s oversight of those
conditions for enforcement. If we fail to obtain timely or fully the benefit of the conditions, or if enforcement is inadequate, the price, reach, quality and competitiveness of our
mobile offering likely will be adversely affected.
Risk Factors Relating to Regulatory and Legislative Matters
Our business is subject to extensive governmental legislation and regulation, which could adversely affect our business, increase our operational and administrative
expenses and limit our revenues.
Regulation of the cable, telephone, mobile, and broadband industries imposes operational and administrative expenses and limits their revenues. The Company operates in all of
these industries and is therefore subject to, among other things:
              •   rules governing the provisioning and marketing of cable equipment and compatibility with new digital technologies;
              •   rules governing the manner in which we advertise, market or price our products and services in the marketplace, and how we position those products and
                  services against competing products and services;
              •   rules and regulations relating to data protection and customer and employee privacy;
              •   rules establishing limited rate regulation of video service;

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              •   rules governing the copyright royalties that must be paid for retransmitting broadcast signals;
              •   rules governing when a cable system must carry a particular broadcast station and when it must first obtain retransmission consent to carry a broadcast station;
              •   rules governing the provision of channel capacity to unaffiliated commercial leased access programmers;
              •   rules limiting the ability to enter into exclusive agreements with MDUs and control inside wiring;
              •   rules for cable franchise renewals and transfers;
              •   other requirements covering a variety of operational areas such as equal employment opportunity, emergency alert systems, disability access, technical
                  standards and customer service and consumer protection requirements;
              •   rules, regulations and regulatory policies relating to the provision of broadband service, including "net neutrality" requirements;
              •   rules, regulations and regulatory policies relating to the provision of telephony services; and
              •   rules, regulations and regulatory policies relating to licensed mobile network operators, wholesale access to mobile networks by resellers or MVNOs, and
                  regulation of the prices, terms, or service provided by mobile operators.
Many aspects of these regulations are currently the subject of judicial proceedings and administrative or legislative proposals. There are also efforts to amend or expand the
federal, state and local regulation of some of our cable systems, which may compound the regulatory risks we already face, and proposals that might make it easier for our
employees to unionize. The Permanent Internet Tax Freedom Act prohibits many taxes on Internet access service and the Federal Communications Commission has issued
orders affirming that states and localities may not exercise their franchising authority to regulate our non-cable services, but certain states and localities are considering new
taxes and fees on our provision of cable, broadband, and telecommunications taxes that could increase operating expenses. Certain states are also considering adopting energy
efficiency regulations governing the operation of equipment that we use, which could constrain innovation. Congress periodically considers whether to rewrite the entire
Communications Act, or to adopt more focused changes to that Act, to account for changes in the communications marketplace. Congress has in the past considered, and
continues to consider, additional regulations on cable providers and ISPs to address specific consumer or customer issues. In response to recent data breaches and increasing
concerns regarding the protection of consumers' personal information, Congress, states, and regulatory agencies are considering the adoption of new privacy and data security
laws and regulations that could result in additional privacy, as well as network and information security, requirements for our business. These new laws, as well as existing legal
and regulatory obligations, could require significant expenditures.
Additionally, there have been statements by federal government officials indicating that some laws and regulations applicable to our industry may be repealed or modified in a
way that could be favorable to us and our competitors. There can be no assurance that any such repeal or modification will be beneficial to us or will not be more beneficial to
our current and future competitors.
Our cable system franchises are subject to non-renewal or termination. The failure to renew a franchise in one or more key markets could adversely affect our business.
Our cable systems generally operate pursuant to franchises, permits and similar authorizations issued by a state or local governmental authority controlling the public rights-of-
way. Some franchises establish comprehensive facilities and service requirements, as well as specific customer service standards and monetary penalties for non-compliance. In
many cases, franchises are terminable if the franchisee fails to comply with significant provisions set forth in the franchise agreement governing system operations. Franchises
are generally granted for fixed terms and must be periodically renewed. Franchising authorities may resist granting a renewal if either past performance or the prospective
operating proposal is considered inadequate. Franchise authorities often demand concessions or other commitments as a condition to renewal. In some instances, local
franchises have not been renewed at expiration, and we have operated and are operating under either temporary operating agreements or without a franchise while negotiating
renewal terms with the local franchising authorities.
As of December 31, 2022, two of our largest franchises, namely the Town of Brookhaven, New York, comprising an aggregate of approximately 106,000 video customers, and
the New York City franchise, comprising approximately 350,000 video customers were expired. We are currently lawfully operating in these franchise areas under temporary
authority recognized by the State of New York. Lightpath holds a franchise from New York City that expired on


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December 20, 2008 and the renewal process is pending. We believe New York City is treating the expiration date of this franchise as extended until a formal determination on
renewal is made, but there can be no assurance that we will be successful in renewing this franchise on anticipated terms or at all. We expect to renew or continue to operate
under all or substantially all of our franchises.
The traditional cable franchising regime has undergone significant change as a result of various federal and state actions. Some state franchising laws do not allow incumbent
operators like us to immediately opt into favorable statewide franchising as quickly as new entrants, and often require us to retain certain franchise obligations that are more
burdensome than those applied to new entrants.
There can be no assurance that we will be able to comply with all significant provisions of our franchise agreements and certain of our franchisors have from time to time
alleged that we have not complied with these agreements. Additionally, although historically we have renewed our franchises without incurring significant costs, there can be
no assurance that we will be able to renew, or to renew on terms as favorable, our franchises in the future. A termination of or a sustained failure to renew a franchise in one or
more key markets could adversely affect our business in the affected geographic area.
Our cable system franchises are non-exclusive. Accordingly, local and state franchising authorities can grant additional franchises and create competition in market areas
where none existed previously, resulting in overbuilds, which could adversely affect our results of operations.
Cable systems are operated under non-exclusive franchises historically granted by local authorities. More than one cable system may legally be built in the same area, which is
referred to as an overbuild. It is possible that a franchising authority might grant a second franchise to another cable operator and that such franchise might contain terms and
conditions more favorable than those afforded to us. Although entry into the cable industry involves significant cost barriers and risks, well-financed businesses from outside the
cable industry, such as online service providers, or public utilities that already possess fiber optic and other transmission lines in the areas they serve, may over time become
competitors. In addition, there are a few cities that have constructed their own cable systems, in a manner similar to city-provided utility services, and private cable companies
not affiliated with established local exchange carriers have also demonstrated an interest in constructing overbuilds. We believe that for any potential competitor to be
successful, such competitor's overbuild would need to be able to serve the homes and businesses in the overbuilt area with equal or better service quality, on a more cost-
effective basis than we can.
In some cases, local government entities and municipal utilities may legally compete with us without securing a local franchise or on more favorable franchise terms. In recent
years, federal legislative and regulatory proposals have sought to facilitate the ability of municipalities to construct and deploy broadband facilities that could compete with our
cable systems, and in the past two years, state and local governments have received substantial federal broadband subsidies that can be used to construct and operate such
networks. In addition, certain telephone companies and competitive broadband providers have obtained or are seeking authority to operate in communities through a local
franchise or other form of right-of-way authority. As a result, competing operators may build systems in areas in which we hold franchises. The FCC has adopted rules that
streamline entry for new competitors (including those affiliated with telephone companies) and reduce franchising burdens for these new entrants. The FCC subsequently
extended more modest relief to incumbent cable operators like the Company, affirming that the Communications Act bars states and localities from exercising their cable
franchising authority to regulate cable operators’ non-cable services, and subjecting certain fees for access to the right-of-way and certain in-kind payments obligations to the
statutory cap on franchise fees. The FCC’s order was challenged by several municipalities and substantially upheld by the U.S. Sixth Circuit Court of Appeals on appeal,
although the court curtailed the relief related to in-kind contributions.
As part of various government initiatives including the American Rescue Plan Act and the Infrastructure Investment and Jobs Act, federal and state governments have made
available subsidies to entities deploying broadband to areas deemed to be "unserved" or "underserved," and have in some cases funded overbuilds. The Company and many
other entities, including broadband services competitors and new entrants into such services, have applied for and/or received these funds. We have generally opposed such
subsidies when directed to areas that we serve and have deployed broadband capable networks. Despite those efforts, we could be placed at a competitive disadvantage if
recipients use these funds to subsidize services that compete with our broadband services.


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Local franchising authorities have the ability to impose additional regulatory constraints on our business, which could reduce our revenues or increase our expenses.
In addition to the franchise agreement, local franchising authorities in some jurisdictions have adopted cable regulatory ordinances that further regulate the operation of cable
systems. This additional regulation increases the cost of operating our business. For example, some local franchising authorities impose minimum customer service standards on
our operations. There are no assurances that the local franchising authorities will not impose new and more restrictive requirements.
Further regulation of the cable industry could restrict our marketing options or impair our ability to raise rates to cover our increasing costs.
The cable industry has operated under a federal rate regulation regime for more than three decades. Currently, rate regulation by franchising authorities is strictly limited to the
basic service tier and associated equipment and installation activities. A franchising authority that wishes to regulate basic cable service offered by a particular cable system
must certify and demonstrate that the cable system is not subject to "effective competition" as defined by federal law. Our franchise authorities have not certified to exercise this
limited rate regulation authority. If any of our local franchising authorities obtain certification to regulate rates, they would have the power to reduce rates and order refunds on
the rates charged for basic service and equipment, which could reduce our revenues. The FCC and Congress also continue to be concerned that cable rate increases are
exceeding inflation. It is possible that either the FCC or Congress will adopt more extensive rate regulation for our video services or regulate our other services, such as
broadband and telephony services, which could impede our ability to raise rates, or require rate reductions. To the extent we are unable to raise our rates in response to
increasing costs, or are required to reduce our rates, our business, financial condition, results of operations and liquidity will be materially adversely affected. There has been
legislative and regulatory interest in requiring cable operators to offer historically bundled programming services on an à la carte basis. It is possible that new marketing
restrictions could be adopted in the future. These restrictions could affect how we provide, and limit, customer equipment used in connection with our services and how we
provide access to video programming beyond conventional cable delivery. A number of state and local regulatory authorities have imposed or seek to impose price- or price-
related regulation that we believe is inconsistent with FCC direction, and these efforts, if successful, will diminish the benefits of deregulation and hamper our ability to compete
with our largely unregulated competitors. We have brought a challenge in federal and state court against one such attempt to regulate our pricing by the New Jersey Board of
Public Utilities, and successfully obtained a ruling in state court enjoining that agency from enforcing its regulation. The agency appealed that ruling to the New Jersey Supreme
Court and a ruling from the Supreme Court is pending. While we also obtained a favorable federal district court ruling, the appeals court vacated that ruling and held that the
matter should be decided in state court.
In addition, in the past, there has been interest at the FCC and in Congress in proposals that would allow customers to receive cable service without having to rent a set-top box
from their cable operator. These proposals could, if adopted, adversely affect our relationship with our customers and programmers and our operations. It is also possible that
regulations will be adopted affecting the negotiations between MVPDs (like us) and programmers. While these regulations might provide us with additional rights and
protections in our programming negotiations, they might also limit our flexibility in ways that adversely affect our operations.
We may be materially adversely affected by regulatory changes related to pole attachments.
Pole attachments are cable wires that are attached to utility poles. Cable system pole attachments to utility poles historically have been regulated at the federal or state level,
generally resulting in favorable pole attachment rates and rights for attachments used to provide cable service. Adverse changes in the current pole attachment approach could
result in a substantial increase in our pole attachment costs. Moreover, expansion of our business into new areas may be frustrated by delays, capacity constraints, "makeready"
demands or the general inability to secure appropriate pole or conduit rights
Changes in channel carriage regulations could impose significant additional costs on us.
Cable operators also face significant regulation affecting the carriage of broadcast and other programming channels. We can be required to devote substantial capacity to the
carriage of programming that we might not otherwise carry voluntarily, including certain local broadcast signals; local public, educational and governmental access
programming; and unaffiliated, commercial leased access programming (channel capacity designated for use by programmers unaffiliated with the cable operator). Regulatory
changes in this area could disrupt existing programming commitments, interfere with our preferred use of limited channel capacity and limit our ability to offer


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services that would maximize our revenue potential. It is possible that other legal restraints will be adopted limiting our discretion over programming decisions.
Increasing regulation of our Internet-based products and services could adversely affect our ability to provide new products and services.
On February 26, 2015, the FCC adopted a new "net neutrality" or Open Internet order (the "2015 Order") that: (1) reclassified broadband Internet access service from an
information service to a Title II common carrier service, (2) applied certain existing Title II provisions and associated regulations; (3) forbore from applying a range of other
existing Title II provisions and associated regulations, but to varying degrees indicated that this forbearance may be only temporary and (4) issued new rules expanding
disclosure requirements and prohibiting blocking, throttling, paid prioritization and unreasonable interference with the ability of end users and edge providers to reach each
other. The 2015 Order also subjected broadband providers' Internet traffic exchange rates and practices to potential FCC oversight and created a mechanism for third parties to
file complaints regarding these matters. The 2015 Order could have had a material adverse impact on our business by limiting our ability to efficiently manage our cable
systems and respond to operational and competitive challenges. In December 2017, the FCC adopted an order (the "2017 Order") that in large part reverses the 2015 Order and
reestablishes the “information service” classification for broadband services. The 2017 Order was affirmed in part on appeal in October 2019 insofar as it classified broadband
Internet access services as information services subject to lesser federal regulation. However, the 2017 Order was also vacated in part on appeal insofar as it preempted states
from subjecting broadband Internet access services to any requirements more stringent than the federal requirements. As a result, the precise extent to which state rules may
impose such requirements on broadband Internet access service providers, as well as other regulations that differ from federal requirements, is not fully settled. Additionally,
Congress and some states are considering legislation that may codify "net neutrality" rules, which could include prohibitions on blocking, throttling and prioritizing Internet
traffic. A number of states, including California, have adopted legislation and/or executive orders that apply “net neutrality” rules to ISPs. The California legislation took effect
in March 2021. Additionally, the FCC is expected to revisit the appropriate regulatory classification of broadband in 2023. While neither the FCC nor states currently regulate
the price for broadband services generally, the state of New York enacted legislation that would regulate the price and terms for the broadband service offered to low-income
households. This law was enjoined by a New York federal court, and the ruling is currently on appeal.
Offering telephone services may subject us to additional regulatory burdens, causing us to incur additional costs.
We offer telephone services over our broadband network and continue to develop and deploy interconnected VoIP services. The FCC has ruled that competitive telephone
companies that support VoIP services, such as those that we offer to our customers, are entitled to interconnect with incumbent providers of traditional telecommunications
services, which ensures that our VoIP services can operate in the market. However, the scope of these interconnection rights is being reviewed in a current FCC proceeding,
which may affect our ability to compete in the provision of telephony services or result in additional costs. It remains unclear precisely to what extent federal and state regulators
will subject VoIP services to traditional telephone service regulation. Expanding our offering of these services may require us to obtain certain authorizations, including federal
and state licenses. We may not be able to obtain such authorizations in a timely manner, or conditions could be imposed upon such licenses or authorizations that may not be
favorable to us. The FCC has already extended certain traditional telecommunications requirements, such as E911 capabilities, USF contribution, CALEA, measures to protect
Customer Proprietary Network Information, customer privacy, disability access, number porting, battery back-up, network outage reporting, rural call completion reporting and
other regulatory requirements to many VoIP providers such as us. If additional telecommunications regulations are applied to our VoIP service, it could cause us to incur
additional costs and may otherwise materially adversely impact our operations. In 2011, the FCC released an order significantly changing the rules governing intercarrier
compensation for the origination and termination of telephone traffic between interconnected carriers. In 2020, the FCC adopted further reforms to intercarrier compensation for
the origination of certain calls. These rules have resulted in a substantial decrease in interstate compensation payments over a multi-year period, and additional reforms could
further reduce interstate compensation payments.
Our mobile service exposes us to regulatory risk.
In September 2019, we launched our mobile service using our own core infrastructure and our iMVNO agreements with Sprint (now T-Mobile) and other roaming partners,
including AT&T. Our iMVNO service is subject to many of the same FCC regulations as traditional mobile service as well as some state and local regulations. The FCC or
other regulatory authorities may adopt new or different regulations for iMVNOs or mobile carriers, or impose new fees, that could adversely affect our service or the business
opportunity generally.


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We may be materially adversely affected by regulatory, legal and economic changes relating to our physical plant.
Our systems depend on physical facilities, including transmission equipment and miles of fiber and coaxial cable. Significant portions of those physical facilities occupy public
rights-of-way and are subject to local ordinances and governmental regulations. Other portions occupy private property under express or implied easements, and many miles of
the cable are attached to utility poles governed by pole attachment agreements. No assurances can be given that we will be able to maintain and use our facilities in their current
locations and at their current costs. Changes in governmental regulations or changes in these relationships could have a material adverse effect on our business and our results of
operations.
Risk Factors Relating to Ownership of Our Class A Common Stock and Class B Common Stock
An active, liquid trading market for our Class B common stock has not developed and we cannot assure you that an active, liquid trading market will develop in the future.
Holders of shares of our Class B common stock may need to convert them into shares of our Class A common stock to realize their full potential value, which over time
could further concentrate voting power with remaining holders of our Class B common stock.
Our Class B common stock is not listed on the New York Stock Exchange ("NYSE") or any other stock exchange and we do not currently intend to list our Class B common
stock on the NYSE or any other stock exchange. There is currently no active, liquid trading market for the Class B common stock and we cannot assure you that an active
trading market will develop or be sustained at any time in the future. If an active market is not developed or sustained, the price and liquidity of the Class B common stock may
be adversely affected. Because the Class B common stock is unlisted, holders of shares of Class B common stock may need to convert them into shares of our Class A common
stock, which is listed on the NYSE, in order to realize their full potential value. Sellers of a significant number of shares of Class B common stock may be more likely to
convert them into shares of Class A common stock and sell them on the NYSE. This could over time reduce the number of shares of Class B common stock outstanding and
potentially further concentrate voting power with remaining holders of Class B common stock.
Our stockholders' percentage ownership in us may be diluted by future issuances of capital stock, which could reduce their influence over matters on which stockholders
vote.
Pursuant to our amended and restated certificate of incorporation, our Board of Directors has the authority, without action or vote of our stockholders, to issue all or any part of
our authorized but unissued shares of Class A common stock, including shares issuable upon the exercise of options, Class B common stock, Class C common stock or shares
of our authorized but unissued preferred stock. We may issue such capital stock to meet a number of our business needs, including funding any potential acquisitions or other
strategic transactions. Future issuances of Class A common stock, Class B common stock or voting preferred stock could reduce our stockholders' influence over matters on
which our stockholders vote and, in the case of issuances of preferred stock, would likely result in their interest in us being subject to the prior rights of holders of that preferred
stock.
Because we have no current plans to pay cash dividends on our Class A common stock or Class B common stock for the foreseeable future, our stockholders may not
receive any return on investment unless they sell their Class A common stock or Class B common stock.
We intend to retain future earnings, if any, for future operations, expansion and debt repayment and have no current plans to pay any cash dividends for the foreseeable future.
The declaration, amount and payment of any future dividends on shares of Class A common stock and shares of Class B common stock will be at the sole discretion of our
Board of Directors. Our Board of Directors may take into account general and economic conditions, our financial condition and results of operations, our available cash and
current and anticipated cash needs, capital requirements, contractual, legal, tax and regulatory restrictions and implications on the payment of dividends by us to our
stockholders or by our subsidiaries to us and such other factors as our Board of Directors may deem relevant. In addition, our ability to pay dividends is limited by covenants
contained in the agreements governing our existing indebtedness and may be limited by covenants contained in any future indebtedness we or our subsidiaries incur. As a result,
our stockholders may not receive any return on an investment in our Class A common stock or Class B common stock unless our stockholders sell our Class A common stock
or Class B common stock.
Future sales, or the perception of future sales, by us or our existing stockholders in the public market could cause the market price of our Class A common stock to decline.
The sale of substantial amounts of shares of our Class A common stock (including shares of Class A common stock issuable upon conversion of shares of our Class B common
stock), or the perception that such sales could occur,


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could cause the prevailing market price of shares of our Class A common stock to decline. These sales, or the possibility that these sales may occur, also might make it more
difficult for us to sell equity securities in the future at a time and at a price that we deem appropriate.
As of December 31, 2022, we had a total of 271.8 million shares of Class A common stock outstanding and 184.3 million shares of Class B common stock outstanding.
Any shares held by our affiliates, as that term is defined under Rule 144 ("Rule 144") of the Securities Act of 1933, as amended (the "Securities Act"), including Next Alt and
its affiliates, may be sold only in compliance with certain limitations.
Pursuant to a stockholders and registration rights agreement between the Company and Next Alt, Altice Europe and certain former shareholders, the Altice parties thereto have
the right, subject to certain conditions, to require us to register the sale of their shares of our Class A common stock, or shares of Class A common stock issuable upon
conversion of shares of our Class B common stock, under the Securities Act. Registration of any of these outstanding shares of capital stock would result in such shares
becoming freely tradable without compliance with Rule 144 upon effectiveness of the registration statement, except for shares received by individuals who are our affiliates.
If these stockholders exercise their registration rights and sell shares of common stock, or if the market perceives that they intend to sell such shares, the market price of our
Class A common stock could drop significantly. These factors could also make it more difficult for us to raise additional funds through future offerings of our Class A common
stock or Class B common stock or other securities. In the future, we may also issue our securities in connection with investments or acquisitions. The number of shares of our
Class A common stock, Class B common stock or Class C common stock issued in connection with an investment or acquisition could constitute a material portion of then-
outstanding shares of our Class A common stock and Class B common stock. Any issuance of additional securities in connection with investments or acquisitions may result in
additional dilution to our stockholders.
In addition, if Next Alt’s lenders foreclose on the shares of Class A and Class B common stock it has pledged in connection with certain transactions, such lenders may have the
right to acquire and sell such shares, which could cause the market price of our Class A common stock to drop significantly.
The tri-class structure of Altice USA common stock has the effect of concentrating voting control with Next Alt. This will limit or preclude our stockholders' ability to
influence corporate matters, including the election of directors, amendments of our organizational documents and any merger, consolidation, sale of all or substantially all
of our assets or other major corporate transaction requiring stockholder approval. Shares of Class B common stock will not automatically convert to shares of Class A
common stock upon transfer to a third-party.
Each share of Class B common stock is entitled to twenty-five votes per share and each share of Class A common stock is entitled to one vote per share. If we issue any shares
of Class C common stock, they will be non-voting.
Because of the twenty-five-to-one voting ratio between our Class B common stock and Class A common stock, a majority of the combined voting power of our capital stock is
controlled by Next Alt. This allows Next Alt to control all matters submitted to our stockholders for approval until such date as Next Alt ceases to own, or to have the right to
vote, shares of our capital stock representing a majority of the outstanding votes. This concentrated control will limit or preclude our stockholders' ability to influence corporate
matters for the foreseeable future, including the election of directors, amendments of our organizational documents and any merger, consolidation, sale of all or substantially all
of our assets or other major corporate transaction requiring stockholder approval. The disparate voting rights of Altice USA common stock may also prevent or discourage
unsolicited acquisition proposals or offers for our capital stock that our stockholders may feel are in their best interest as one of our stockholders.
Shares of our Class B common stock are convertible into shares of our Class A common stock at the option of the holder at any time. Our amended and restated certificate of
incorporation does not provide for the automatic conversion of shares of Class B common stock upon transfer under any circumstances. The holders of Class B common stock
thus will be free to transfer them without converting them into shares of Class A common stock.
Next Alt controls us and its interests may conflict with ours or our stockholders in the future.
As of February 17, 2022, Next Alt and other entities controlled by Patrick Drahi own or have the right to vote approximately 49% of our issued and outstanding Class A and
Class B common stock, which represents approximately 95% of the voting power of our outstanding capital stock. So long as Next Alt continues to control a majority of the
voting power of our capital stock, Next Alt and, through his control of Next Alt, Mr. Drahi, will be able to significantly influence the composition of our Board of Directors and
thereby influence our policies and


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operations, including the appointment of management, future issuances of Altice USA common stock or other securities, the payment of dividends, if any, on Altice USA
common stock, the incurrence or modification of debt by us, amendments to our amended and restated certificate of incorporation and amended and restated bylaws and the
entering into extraordinary transactions, and their interests may not in all cases be aligned with our stockholders' interests. In addition, Next Alt may have an interest in
pursuing acquisitions, divestitures and other transactions that, in its judgment, could enhance its investment or improve its financial condition, even though such transactions
might involve risks to our stockholders. For example, Next Alt could cause us to make acquisitions that increase our indebtedness or cause us to sell revenue-generating assets.
In addition, Next Alt is able to determine the outcome of all matters requiring stockholder approval and is able to cause or prevent a change of control of the Company or a
change in the composition of our Board of Directors and could preclude any unsolicited acquisition of the Company. The concentration of ownership could deprive our
stockholders of an opportunity to receive a premium for their shares of our Class A common stock or Class B common stock as part of a sale of the Company and ultimately
might affect the market price of our Class A common stock.
If conflicts arise between us and Next Alt, these conflicts could be resolved in a manner that is unfavorable to us and as a result, our business, financial condition and results of
operations could be materially adversely affected. In addition, if Next Alt ceases to control us, our business, financial condition and results of operations could be adversely
affected.
Anti-takeover provisions in our organizational documents could delay or prevent a change of control transaction.
Certain provisions of our amended and restated certificate of incorporation and amended and restated bylaws may have an anti-takeover effect and may delay, defer or prevent a
merger, acquisition, tender offer, takeover attempt or other change of control transaction that a stockholder might consider in its best interest, including those attempts that
might result in a premium over the market price for the shares held by our stockholders.
These provisions provide for, among other things:
             • a tri-class common stock structure, as a result of which Next Alt generally will be able to control the outcome of all matters requiring stockholder approval,
                  including the election of directors and significant corporate transactions, such as a merger or other sale of our company or its assets;
             • the ability of our Board of Directors to, without further action by our stockholders, fix the rights, preferences, privileges and restrictions of up to an aggregate
                  of 100,000,000 shares of preferred stock in one or more series and authorize their issuance; and
             • the ability of stockholders holding a majority of the voting power of our capital stock to call a special meeting of stockholders.
These anti-takeover provisions could make it more difficult for a third-party to acquire us, even if the third-party's offer may be considered beneficial by many of our
stockholders. As a result, our stockholders may be limited in their ability to obtain a premium for their shares of our Class A common stock. In addition, so long as Next Alt
controls a majority of our combined voting power it will be able to prevent a change of control of the Company.
Holders of a single class of Altice USA common stock may not have any remedies if an action by our directors has an adverse effect on only that class of Altice USA
common stock.
Under Delaware law, the board of directors has a duty to act with due care and in the best interests of all of our stockholders, including the holders of all classes of Altice USA
common stock. Principles of Delaware law established in cases involving differing treatment of multiple classes of stock provide that a board of directors owes an equal duty to
all common stockholders regardless of class and does not have separate or additional duties to any group of stockholders. As a result, in some circumstances, our Board of
Directors may be required to make a decision that could be viewed as adverse to the holders of one class of Altice USA common stock. Under the principles of Delaware law
and the business judgment rule, holders may not be able to successfully challenge decisions that they believe have a disparate impact upon the holders of one class of our stock
if our Board of Directors is disinterested and independent with respect to the action taken, is adequately informed with respect to the action taken and acts in good faith and in
the honest belief that the board is acting in the best interest of all of our stockholders.


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We are a "controlled company" within the meaning of the rules of the NYSE. As a result, we qualify for, and rely on, exemptions from certain corporate governance
requirements that would otherwise provide protection to stockholders of other companies.
Next Alt controls a majority of the voting power of our capital stock. As a result, we are a "controlled company" within the meaning of the corporate governance standards of the
NYSE. Under these rules, a company of which more than 50% of the voting power is held by an individual, group or another company is a "controlled company" and may elect
not to comply with certain corporate governance requirements, including:
              •    the requirement that a majority of our Board of Directors consists of "independent directors" as defined under the rules of the NYSE; and
              •    the requirement that we have a governance and nominating committee.
Consistent with these exemptions, we will continue not to have a majority of independent directors on our Board of Directors or a nominating and governance committee.
Accordingly, our stockholders will not have the same protections afforded to stockholders of companies that are subject to all of the corporate governance requirements of the
NYSE.
If securities or industry analysts do not publish research or reports about our business, if they adversely change their recommendations regarding our Class A common
stock, or if our operating results do not meet their expectations, the market price of our Class A common stock could decline.
The trading market for our Class A common stock will be influenced by the research and reports that industry or securities analysts publish about us or our business. We do not
have any control over these analysts. If one or more of these analysts cease coverage of our company or fail to publish reports on us regularly, we could lose visibility in the
financial markets, which in turn could cause our stock price or trading volume to decline. Moreover, if one or more of the analysts who cover our company downgrades our
Class A common stock, or if our operating results do not meet their expectations, the market price of our Class A common stock could decline.
We have been subject to securities class action litigation in the past and could be subject to securities class action litigation in the future.
We were the subject to securities class action litigation related to our 2017 initial public offering (“IPO Litigation”) which was settled and approved by the court in February
2022, and we may be subject to additional securities class action litigation in the future. In the past, securities class action litigation has often been instituted against companies
whose securities have experienced periods of volatility in market price. Securities litigation brought against us following volatility in the price of our Class A common stock,
regardless of the merit or ultimate results of such litigation, could result in substantial costs, which would hurt our financial condition and results of operations and divert
management's attention and resources from our business. While the IPO Litigation is resolved, there can be no assurance that other securities class action litigation, if instituted
in the future, will not materially and adversely affect our financial condition and results of operations.
Our amended and restated bylaws provide that the Court of Chancery of the State of Delaware is the exclusive forum for substantially all disputes between us and our
stockholders, which could limit our stockholders' ability to obtain a favorable judicial forum for disputes with us or our directors, officers or other stockholders.
Our amended and restated bylaws provide that the Court of Chancery of the State of Delaware (or, if the Court of Chancery does not have jurisdiction, another state or federal
court located in the State of Delaware) is the exclusive forum for: (i) any derivative action or proceeding brought in our name or on our behalf; (ii) any action asserting a breach
of fiduciary duty; (iii) any action asserting a claim against us arising under the General Corporation Law of the State of Delaware; (iv) any action regarding our amended and
restated certificate of incorporation or our amended and restated bylaws; or (v) any action asserting a claim against us that is governed by the internal affairs doctrine. Our
amended and restated bylaws permit our Board of Directors to approve the selection of an alternative forum. Unless waived, this exclusive forum provision may limit a
stockholder's ability to bring a claim in a judicial forum that it finds favorable for disputes with us or our directors, officers or other stockholders, which may discourage such
lawsuits against us and our directors, officers and other stockholders. Alternatively, if a court were to find this provision in our amended and restated bylaws to be inapplicable
or unenforceable in an action, we may incur additional costs associated with resolving such action in other jurisdictions, which could adversely affect our business, financial
condition and results of operations.


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Item 1B.          Unresolved Staff Comments
None.

Item 2.      Properties
Our headquarters are located in Long Island City, New York, where we currently lease office space pursuant to a lease agreement which will expire in 2032. We also own a
building located in Bethpage, New York, where we maintain administrative offices. In addition, we own or lease real estate throughout our operating areas where certain of our
call centers, corporate facilities, business offices, earth stations, transponders, microwave towers, warehouses, headend equipment, hub sites, access studios, and microwave
receiving antennae are located.
Our principal physical assets consist of cable operating plant and equipment, including signal receiving, encoding and decoding devices, headend facilities, fiber optic transport
networks, coaxial and distribution systems and equipment at or near customers' homes or places of business for each of the systems. The signal receiving apparatus typically
includes a tower, antenna, ancillary electronic equipment and earth stations for reception of satellite signals. Headend facilities are located near the receiving devices. Our
distribution system consists primarily of coaxial and fiber optic cables and related electronic equipment. Customer premise equipment consists of set-top devices, cable
modems, Internet routers, wireless devices and media terminal adapters for telephone. Our cable plant and related equipment generally are attached to utility poles under pole
rental agreements with local public utilities; although in some areas the distribution cable is buried in underground ducts or directly in trenches. The physical components of the
cable systems require maintenance and periodic upgrading to improve system performance and capacity. In addition, we operate a network operations center that monitors our
network 24 hours a day, seven days a week, helping to ensure a high quality of service and reliability for both our residential and commercial customers. We own most of our
service vehicles.
We believe our properties, both owned and leased, are in good condition and are suitable and adequate for our operations.

Item 3.      Legal Proceedings
Refer to Note 17 to our consolidated financial statements included in this Annual Report on Form 10-K for a discussion of our legal proceedings.

Item 4.      Mine Safety Disclosures
Not applicable.




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                                                                                  PART II
Item 5.      Market for the Registrant's Common Equity, Related Stockholder Matters and Issuer Purchases of Equity
                Securities
Altice USA Class A common stock is listed for trading on the NYSE under the symbol "ATUS." Altice USA Class B common stock is not listed for trading on any stock
exchange.
As of February 17, 2023, there were five holders of record of Altice USA Class A common stock and two holders of record of ATUS Class B common stock.
Stockholder Dividends and Distributions
The Company may pay dividends on its capital stock only from net profits and surplus as determined under Delaware law. If dividends are paid on the Altice USA common
stock, holders of the Altice USA Class A common stock and Altice USA Class B common stock are entitled to receive dividends, and other distributions in cash, stock or
property, equally on a per share basis, except that, subject to certain exceptions, stock dividends with respect to Altice USA Class A common stock may be paid only with
shares of Altice USA Class A common stock and stock dividends with respect to Altice USA Class B common stock may be paid only with shares of Altice USA Class B
common stock.
The Company's indentures restrict the amount of dividends and distributions in respect of any equity interest that can be made.
Equity Compensation Plan Information
The Equity Compensation Plan information under which the Company's equity securities are authorized for issuance required under Item 5 is hereby incorporated by reference
from the Company's definitive proxy statement for its Annual Meeting of Stockholders or, if such definitive proxy statement is not filed with the Securities and Exchange
Commission prior to 120 days after the close of its fiscal year, an amendment to this Annual Report on Form 10-K filed under cover of Form 10-K/A.
Unregistered Sales of Equity Securities and Use of Proceeds
(c)   Purchases of Equity Securities by the Issuer
We had no transactions under the Company's share repurchase program for the quarter ended December 31, 2022. SeeNote 1 to our consolidated financial statements for a
discussion of our share repurchase program.




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Altice USA Stock Performance Graph
The graph below compares the performance of our Class A common stock with the performance of the S&P 500 Index and a Peer Group Index by measuring the changes in our
Class A common stock prices from December 31, 2017 through December 31, 2022. Because no published index of comparable media companies currently reports values on a
dividends-reinvested basis, the Company has created a Peer Group Index for purposes of this graph in accordance with the requirements of the SEC. The Peer Group Index is
made up of companies that deliver broadband, video and telephony services as a significant element of their business, although not all of the companies included in the Peer
Group Index participate in all of the lines of business in which we are engaged and some of the companies included in the Peer Group Index also engage in lines of business in
which we do not participate. Additionally, the market capitalizations of many of the companies included in the Peer Group are quite different from ours. The common stocks of
the following companies have been included in the 2022 Peer Group Index: AT&T, Charter, Comcast, DISH, Frontier, Lumen, T-Mobile, and Verizon. The composition of the
2022 peer group was changed from the prior year to include Frontier as it emerged from bankruptcy in April 2021. The graph assumes $100 was invested on December 31,
2017 in our Class A common stock and in each of the following indices and reflects reinvestment of dividends and market capitalization weighting.




                                              Dec 31, 2017           Dec. 31, 2018            Dec. 31, 2019           Dec. 31, 2020           Dec. 31, 2021          Dec. 31, 2022
  ALTICE USA CLASS A                      $             100.00   $               86.74    $              143.55   $              198.84   $              84.96   $              24.15
  S&P 500 Index                           $             100.00   $               93.76    $              120.84   $              140.49   $             178.27   $             169.45
  2022 Peer Group Index                   $             100.00   $               90.71    $              120.40   $              125.01   $             118.46   $             100.72
  2021 Peer Group Index                   $             100.00   $               90.71    $              120.40   $              125.01   $             118.46   $              98.97




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Item 7.      Management's Discussion and Analysis of Financial Condition and Results of Operations
All dollar amounts, except per customer and per share data, included in the following discussion, are presented in thousands.
This Annual Report contains statements that constitute forward-looking information within the meaning of the Private Securities Litigation Reform Act of 1995, Section 27A of
the Securities Act and Section 21E of the Securities Act of 1934, as amended. In this Form 10-K there are statements concerning our future operating results and future
financial performance. Words such as "expects", "anticipates", "believes", "estimates", "may", "will", "should", "could", "potential", "continue", "intends", "plans" and similar
words and terms used in the discussion of future operating results, future financial performance and future events identify forward-looking statements. Investors are cautioned
that such forward-looking statements are not guarantees of future performance, results or events and involve risks and uncertainties and that actual results or developments may
differ materially from the forward-looking statements as a result of various factors.
We operate in a highly competitive, consumer and technology driven and rapidly changing business that is affected by government regulation and economic, strategic,
technological, political and social conditions. Various factors could adversely affect our operations, business or financial results in the future and cause our actual results to
differ materially from those contained in the forward-looking statements. In addition, important factors that could cause our actual results to differ materially from those in our
forward-looking statements include:
         •    competition for broadband, video and telephony customers from existing competitors (such as broadband communications companies, direct broadcast satellite
              ("DBS") providers, wireless data and telephony providers, and Internet-based providers) and new fiber-based competitors entering our footprint;
         •    changes in consumer preferences, laws and regulations or technology that may cause us to change our operational strategies;
         •    increased difficulty negotiating programming agreements on favorable terms, if at all, resulting in increased costs to us and/or the loss of popular programming;
         •    increasing programming costs and delivery expenses related to our products and services;
         •    our ability to achieve anticipated customer and revenue growth, to successfully introduce new products and services and to implement our growth strategy;
         •    our ability to complete our capital investment plans on time and on budget, including our plan to build a parallel FTTH network;
         •    our ability to develop mobile voice and data services and our ability to attract customers to these services;
         •    the effects of economic conditions or other factors which may negatively affect our customers’ demand for our current and future products and services;
         •    the effects of industry conditions;
         •    demand for digital and linear advertising products and services;
         •    our substantial indebtedness and debt service obligations;
         •    adverse changes in the credit market;
         •    changes as a result of any tax reforms that may affect our business;
         •    financial community and rating agency perceptions of our business, operations, financial condition and the industries in which we operate;
         •    the restrictions contained in our financing agreements;
         •    our ability to generate sufficient cash flow to meet our debt service obligations;
         •    fluctuations in interest rates which may cause our interest expense to vary from quarter to quarter;
         •    technical failures, equipment defects, physical or electronic break-ins to our services, computer viruses and similar problems;
         •    cybersecurity incidents as a result of hacking, phishing, denial of service attacks, dissemination of computer viruses, ransomware and other malicious software,
              misappropriation of data, and other malicious attempts;

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         •   disruptions to our networks, infrastructure and facilities as a result of natural disasters, power outages, accidents, maintenance failures, telecommunications failures,
             degradation of plant assets, terrorist attacks and similar events;
         • labor shortages and supply chain disruptions;
         • the impact from the COVID-19 pandemic;
         • our ability to obtain necessary hardware, software, communications equipment and services and other items from our vendors at reasonable costs;
         • our ability to effectively integrate acquisitions and to maximize expected operating efficiencies from our acquisitions or as a result of the transactions, if any;
         • significant unanticipated increases in the use of bandwidth-intensive Internet-based services;
         • the outcome of litigation, government investigations and other proceedings; and
         • other risks and uncertainties inherent in our cable and broadband communications businesses and our other businesses, including those listed under the caption
             "Risk Factors" and "Management's Discussion and Analysis of Financial Condition and Results of Operations" contained herein.
These factors are not necessarily all of the important factors that could cause our actual results to differ materially from those expressed in any of our forward-looking
statements. Other unknown or unpredictable factors could cause our actual results to differ materially from those expressed in any of our forward-looking statements.
Given these uncertainties, you are cautioned not to place undue reliance on such forward-looking statements. The forward-looking statements are made only as of the date of
this Annual Report. Except to the extent required by law, we do not undertake, and specifically decline any obligation, to update any forward-looking statements or to publicly
announce the results of any revisions to any of such statements to reflect future events or developments. Comparisons of results for current and any prior periods are not
intended to express any future trends or indications of future performance, unless expressed as such, and should only be viewed as historical data.
You should read this Annual Report with the understanding that our actual future results, levels of activity, performance and events and circumstances may be materially
different from what we expect. We qualify all forward-looking statements by these cautionary statements.
Certain numerical figures included in this Annual Report have been subject to rounding adjustments. Accordingly, such numerical figures shown as totals in various tables may
not be arithmetic aggregations of the figures that precede them.
Organization of Information
Management’s Discussion and Analysis provides a narrative on the Company’s financial performance and condition that should be read in conjunction with the accompanying
financial statements and accompanying notes thereto. It includes the following sections:
    •    Our Business
    •    Key Factors Impacting Operating Results and Financial Condition
    •    Consolidated Results of Operations
    •    Non-GAAP Financial Measures
    •    Reconciliation of CSC Holdings Results of Operations to Altice USA's Results of Operations
    •    Liquidity and Capital Resources
    •    Critical Accounting Policies and Estimates
In this Item 7, we discuss the results of operations for the years ended December 31, 2022 and 2021 and comparisons of the 2022 results to the 2021 results. Discussions of the
results of operations for the year ended December 31, 2020 and comparisons of the 2021 results to the 2020 results can be found in “Management’s Discussion and Analysis of
Financial Condition and Results of Operations” in Part II, Item 7 of the Company’s Annual Report on Form 10-K for the year ended December 31, 2021 as filed on February 16,
2022.


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Our Business
We principally provide broadband communications and video services in the United States and market our services primarily under the Optimum brand. We deliver broadband,
video, and telephony services to approximately 4.9 million residential and business customers. Our footprint extends across 21 states (primarily in the New York metropolitan
area and various markets in the south-central United States) through a fiber-rich hybrid-fiber coaxial ("HFC") broadband network and a fiber-to-the-home ("FTTH") network
with approximately 9.5 million total passings as of December 31, 2022. Additionally, we offer news programming and advertising services and a full service mobile offering to
consumers across our footprint.
Key Factors Impacting Operating Results and Financial Condition
Our future performance is dependent, to a large extent, on the impact of direct competition, general economic conditions (including capital and credit market conditions), our
ability to manage our businesses effectively, and our relative strength and leverage in the marketplace, both with suppliers and customers. For more information, see "Risk
Factors" and "Business-Competition" included herein.
In March 2020, the United States declared a national emergency concerning the outbreak of COVID-19. The COVID-19 pandemic and the various governmental actions taken
in response thereto significantly impacted our business, including how our customers use our products and services and how our employees provide services to our customers.
Although we cannot predict how our business and future results will be impacted if the pandemic continues or if governmental authorities take action to slow or prevent an
increase in the spread of COVID-19, we have and will work to adapt the environment in which we operate and continue to provide our products and services to our customers.
See "Risk Factors—Our business, financial condition and results of operations may be adversely affected by the recent COVID-19 pandemic."
We derive revenue principally through monthly charges to residential customers of our broadband, video, and telephony services. We also derive revenue from DVR, VOD,
pay-per-view, installation and home shopping commissions. Our residential broadband, video, and telephony services accounted for approximately 41%, 34%, and 3%,
respectively, of our consolidated revenue for the year ended December 31, 2022. We also derive revenue from the sale of a wide and growing variety of products and services to
both large enterprise and SMB customers, including broadband, telephony, networking and video services. For the year ended December 31, 2022, 15% of our consolidated
revenue was derived from these business services. In addition, we derive revenues from the sale of advertising time available on the programming carried on our cable television
systems, digital advertising, branded content, affiliation fees for news programming, and data analytics, which accounted for approximately 5% of our consolidated revenue for
the year ended December 31, 2022. Our mobile and other revenue for the year ended December 31, 2022 accounted for approximately 1% of our consolidated revenue.
Revenue is impacted by rate increases, promotional offerings, changes in the number of customers that subscribe to our services, including additional services sold to our
existing customers, programming package changes by our video customers, speed tier changes by our broadband customers, and acquisitions and construction of cable systems
that result in the addition of new customers. Additionally, the allocation of revenue between the residential offerings is impacted by changes in the standalone selling price of
each performance obligation within our promotional bundled offers.
Our ability to increase the number of customers to our services is significantly related to our penetration rates.
We operate in a highly competitive consumer-driven industry and we compete against a variety of broadband, video, mobile, fixed wireless broadband and fixed-line telephony
providers and delivery systems, including broadband communications companies, wireless data and telephony providers, fiber-based service providers, satellite delivered video
signals, Internet-delivered video content and broadcast television signals available to residential and business customers in our service areas. Our competitors include AT&T,
DirecTV, DISH, Frontier, Lumen Technologies, Inc., T-Mobile US, and Verizon. Consumers' selection of an alternate source of service, whether due to economic constraints,
technological advances, or preference, negatively impacts the demand for our services. For more information on our competitive landscape, see "Risk Factors" and "Business-
Competition" included herein.
Our programming costs, which are the most significant component of our operating expenses, are impacted by increases in contractual rates, new channel launches, and by
changes in the number of customers receiving certain programming services. We expect contractual rates to increase in the future. See "Results of Operations" below for more
information regarding the key factors impacting our revenues and operating expenses.


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Historically, we have made substantial investments in our network and the development of new and innovative products and other service offerings for our customers as a way
of differentiating ourselves from our competitors and we expect to do so in the future. Our ongoing FTTH network build, with planned upgrades, will enable us to deliver multi-
gig broadband speeds to FTTH customers in order to meet the growing data needs of residential and business customers. In addition, we have launched a full service mobile
offering to consumers across our footprint. We may incur greater than anticipated capital expenditures in connection with these initiatives, fail to realize anticipated benefits,
experience delays and business disruptions or encounter other challenges to executing them as planned. See "Liquidity and Capital Resources-Capital Expenditures" for
additional information regarding our capital expenditures.
Certain Transactions
The following transactions had an impact in the periods covered by this Management's Discussion and Analysis of Financial Condition and Results of Operations:
In June 2021, Lightpath completed an acquisition for a net purchase price of approximately $28,260 and the operating results of the acquired business were consolidated as of
the acquisition date.
In April 2021, the Company completed its acquisition of the cable assets of Morris Broadband, LLC ("Morris Broadband") in North Carolina for approximately $312,184 and
the operating results of the acquired business were consolidated as of the acquisition date.
Non-GAAP Financial Measures
We define Adjusted EBITDA, which is a non-GAAP financial measure, as net income (loss) excluding income taxes, non-operating income or expenses, loss on extinguishment
of debt and write-off of deferred financing costs, gain (loss) on interest rate swap contracts, gain (loss) on derivative contracts, gain (loss) on investments and sale of affiliate
interests, interest expense, net, depreciation and amortization, share-based compensation, restructuring expense and other operating items (such as significant legal settlements,
contractual payments for terminated employees, and impairments). See reconciliation of net income to Adjusted EBITDA below.
Adjusted EBITDA eliminates the significant non-cash depreciation and amortization expense that results from the capital-intensive nature of our business and from intangible
assets recognized from acquisitions, as well as certain non-cash and other operating items that affect the period-to-period comparability of our operating performance. In
addition, Adjusted EBITDA is unaffected by our capital and tax structures and by our investment activities.
We believe Adjusted EBITDA is an appropriate measure for evaluating the operating performance of the Company. Adjusted EBITDA and similar measures with similar titles
are common performance measures used by investors, analysts and peers to compare performance in our industry. Internally, we use revenue and Adjusted EBITDA measures
as important indicators of our business performance and evaluate management’s effectiveness with specific reference to these indicators. We believe Adjusted EBITDA
provides management and investors a useful measure for period-to-period comparisons of our core business and operating results by excluding items that are not comparable
across reporting periods or that do not otherwise relate to the Company’s ongoing operating results. Adjusted EBITDA should be viewed as a supplement to and not a substitute
for operating income (loss), net income (loss), and other measures of performance presented in accordance with GAAP. Since Adjusted EBITDA is not a measure of
performance calculated in accordance with GAAP, this measure may not be comparable to similar measures with similar titles used by other companies.
We also use Operating Free Cash Flow (defined as Adjusted EBITDA less cash capital expenditures), and Free Cash Flow (defined as net cash flows from operating activities
less cash capital expenditures) as indicators of the Company’s financial performance. We believe these measures are two of several benchmarks used by investors, analysts and
peers for comparison of performance in our industry, although they may not be directly comparable to similar measures reported by other companies.
We revised our definition of Adjusted EBITDA in the fourth quarter of 2022 to exclude the impact of significant legal settlements. This revision did not impact amounts
reported in prior periods.


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Results of Operations
                                                                                             Altice USA
                                                                                      Years Ended December 31,
                                                                                                                             Favorable
                                                                                      2022               2021              (Unfavorable)
Revenue:
 Residential:
    Broadband                                                                     $     3,930,667   $      3,925,089   $             5,578
    Video                                                                               3,281,306          3,526,205              (244,899)
    Telephony                                                                             332,406            404,813               (72,407)
 Business services and wholesale                                                        1,473,837          1,586,044              (112,207)
 News and advertising                                                                     520,293            550,667               (30,374)
 Mobile                                                                                    97,679             84,194                13,485
 Other                                                                                     11,471             13,837                (2,366)
Total revenue                                                                           9,647,659         10,090,849              (443,190)
Operating expenses:
  Programming and other direct costs                                                    3,205,638          3,382,129               176,491
  Other operating expenses                                                              2,735,469          2,379,765              (355,704)
  Restructuring expense and other operating items                                         130,285             17,176              (113,109)
  Depreciation and amortization (including impairments)                                 1,773,673          1,787,152                13,479
Operating income                                                                        1,802,594          2,524,627              (722,033)
Other income (expense):
  Interest expense, net                                                                (1,331,636)        (1,266,591)              (65,045)
  Loss on investments, net                                                               (659,792)           (88,898)             (570,894)
  Gain on derivative contracts, net                                                       425,815             85,911               339,904
  Gain on interest rate swap contracts                                                    271,788             92,735               179,053
  Loss on extinguishment of debt and write-off of deferred financing costs                   (575)           (51,712)               51,137
  Other income, net                                                                         8,535              9,835                (1,300)
Income before income taxes                                                                516,729          1,305,907              (789,178)
Income tax expense                                                                       (295,840)          (294,975)                 (865)
Net income                                                                                220,889          1,010,932              (790,043)
Net income attributable to noncontrolling interests                                       (26,326)           (20,621)               (5,705)
Net income attributable to Altice USA, Inc. stockholders                          $       194,563 $          990,311 $            (795,748)



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The following is a reconciliation of net income to Adjusted EBITDA and Operating Free Cash Flow:
                                                                                                                                                   Altice USA
                                                                                                                                            Years Ended December 31,
                                                                                                                                            2022               2021
Net income                                                                                                                        $             220,889 $        1,010,932
Income tax expense                                                                                                                              295,840            294,975
Other income, net                                                                                                                                (8,535)            (9,835)
Gain on interest rate swap contracts                                                                                                           (271,788)           (92,735)
Gain on derivative contracts, net                                                                                                              (425,815)           (85,911)
Loss on investments, net                                                                                                                        659,792             88,898
Loss on extinguishment of debt and write-off of deferred financing costs                                                                            575             51,712
Interest expense, net                                                                                                                         1,331,636          1,266,591
Depreciation and amortization                                                                                                                 1,773,673          1,787,152
Restructuring expense and other operating items                                                                                                 130,285             17,176
Share-based compensation                                                                                                                        159,985             98,296
Adjusted EBITDA                                                                                                                               3,866,537          4,427,251
Capital expenditures (cash)                                                                                                                   1,914,282          1,231,715
Operating Free Cash Flow                                                                                                          $           1,952,255 $        3,195,536

The following is a reconciliation of net cash flow from operating activities to Free Cash Flow:
                                                                                                                                                   Altice USA
                                                                                                                                            Years Ended December 31,
                                                                                                                                            2022               2021
Net cash flows from operating activities                                                                                          $           2,366,901 $        2,854,078
Less: Capital expenditures (cash)                                                                                                             1,914,282          1,231,715
Free Cash Flow                                                                                                                    $             452,619 $        1,622,363


The following table sets forth certain customer metrics, excluding our mobile customers, for the Company (unaudited):
                                                                                                                December 31,
                                                                                                                                                         Increase
                                                                                                     2022                      2021                     (Decrease)

Total passings (a)                                                                                          9,463.8                   9,263.3                    200.5
Total customer relationships (b)                                                                            4,879.7                   5,014.7                   (135.0)
 Residential                                                                                                4,498.5                   4,632.8                   (134.3)
 SMB                                                                                                          381.2                     381.9                     (0.7)
Residential customers:
 Broadband                                                                                                  4,282.9                   4,386.2                   (103.3)
 Video                                                                                                      2,439.0                   2,732.3                   (293.3)
 Telephony                                                                                                  1,764.1                   2,005.2                   (241.1)
Penetration of total passings (c)                                                                              51.6 %                    54.1 %                   (2.5) %
ARPU(d)                                                                                      $               134.76   $                137.79     $              (3.03)

FTTH total passings (e)                                                                                     2,158.7                   1,171.0                    987.8
FTTH customer relationships (f)                                                                               171.7                      69.7                    102.1
 FTTH Residential                                                                                             170.0                      69.3                    100.7
 FTTH SMB                                                                                                       1.7                       0.3                      1.4
Penetration of FTTH total passings (g)                                                                          8.0 %                     5.9 %                    2.0 %


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(a)   Represents the estimated number of single residence homes, apartments and condominium units passed by our HFC and FTTH network in areas serviceable without further extending
      the transmission lines. In addition, it includes commercial establishments that have connected to our HFC and FTTH network. Broadband services were not available to approximately
      30 thousand passings and telephony services were not available to approximately 500 thousand passings.
(b)   Represents number of households/businesses that receive at least one of the Company's fixed-line services. Customers represent each customer account (set up and segregated by
      customer name and address), weighted equally and counted as one customer, regardless of size, revenue generated, or number of boxes, units, or outlets on our HFC and FTTH
      network. Free accounts are included in the customer counts along with all active accounts, but they are limited to a prescribed group. Most of these accounts are also not entirely free,
      as they typically generate revenue through pay-per-view or other pay services and certain equipment fees. Free status is not granted to regular customers as a promotion. In counting
      bulk residential customers, such as an apartment building, we count each subscribing family unit within the building as one customer, but do not count the master account for the entire
      building as a customer. We count a bulk commercial customer, such as a hotel, as one customer, and do not count individual room units at that hotel. Amounts as of December 31,
      2021 include 37.3 thousand customer relationships (35.1 thousand residential and 2.2 thousand SMB) that were acquired from Morris Broadband in April 2021.
(c)   Represents the number of total customer relationships divided by total passings.
(d)   Calculated by dividing the average monthly revenue for the respective quarter (fourth quarter for annual periods) derived from the sale of broadband, video and telephony services to
      residential customers by the average number of total residential customers for the same period.
(e)   Represents the estimated number of single residence homes, apartments and condominium units passed by the FTTH network in areas serviceable without further extending the
      transmission lines. In addition, it includes commercial establishments that have connected to our FTTH network.
(f)   Represents number of households/businesses that receive at least one of the Company's fixed-line services on our FTTH network. FTTH customers represent each customer account
      (set up and segregated by customer name and address), weighted equally and counted as one customer, regardless of size, revenue generated, or number of boxes, units, or outlets on
      our FTTH network. Free accounts are included in the customer counts along with all active accounts, but they are limited to a prescribed group. Most of these accounts are also not
      entirely free, as they typically generate revenue through pay-per view or other pay services and certain equipment fees. Free status is not granted to regular customers as a promotion.
      In counting bulk residential customers, such as an apartment building, we count each subscribing family unit within the building as one customer, but do not count the master account
      for the entire building as a customer. We count a bulk commercial customer, such as a hotel, as one customer, and do not count individual room units at that hotel.
(g)   Represents the number of total FTTH customer relationships divided by FTTH total passings.



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Comparison of Results for the Year Ended December 31, 2022 to Results for the Year Ended December 31, 2021
Broadband Revenue
Broadband revenue for the years ended December 31, 2022 and 2021 was $3,930,667 and $3,925,089, respectively. Broadband revenue is derived principally through monthly
charges to residential subscribers of our broadband services. Revenue is impacted by rate increases, promotional offerings, changes in the number of customers, and changes in
speed tiers. Additionally, the allocation of revenue between the residential offerings is impacted by changes in the standalone selling price of each performance obligation within
our promotional bundled offers.
Broadband revenue increased $5,578 for the year ended December 31, 2022 compared to the year ended December 31, 2021. The increase for the year ended December 31,
2022 was due primarily to higher average recurring broadband revenue per broadband customer, primarily driven by certain rate increases, service level changes and a decrease
in certain promotional offerings, partially offset by a decrease in broadband customers.
Video Revenue
Video revenue for the years ended December 31, 2022 and 2021 was $3,281,306 and $3,526,205, respectively. Video revenue is derived principally through monthly charges to
residential customers of our video services. Revenue is impacted by rate increases, promotional offerings, changes in the number of customers, additional services sold to our
existing customers, and changes in programming packages. Additionally, the allocation of revenue between the residential offerings is impacted by changes in the standalone
selling price of each performance obligation within our promotional bundled offers.
Video revenue decreased $244,899 (7%) for the year ended December 31, 2022 compared to the year ended December 31, 2021. The decrease was due primarily to a decline in
video customers, partially offset by higher average recurring video revenue per video customer, primarily driven by certain rate increases.
Telephony Revenue
Telephony revenue for the years ended December 31, 2022 and 2021 was $332,406 and $404,813, respectively. Telephony revenue is derived principally through monthly
charges to residential customers of our telephony services. Revenue is impacted by changes in rates for services, promotional offerings, changes in the number of customers, and
additional services sold to our existing customers. Additionally, the allocation of revenue between the residential offerings is impacted by changes in the standalone selling price
of each performance obligation within our promotional bundled offers.
Telephony revenue decreased $72,407 (18%) for the year ended December 31, 2022 compared to the year ended December 31, 2021. The decrease was due to a decline in
telephony customers and lower average recurring revenue per telephony customer.
Business Services and Wholesale Revenue
Business services and wholesale revenue for the years ended December 31, 2022 and 2021 was $1,473,837 and $1,586,044, respectively. Business services and wholesale
revenue is derived primarily from the sale of fiber-based telecommunications services to the business market, and the sale of broadband, video and telephony services to SMB
customers.
Business services and wholesale revenue decreased $112,207 (7%) for the year ended December 31, 2022 compared to the year ended December 31, 2021. Approximately
$121,553 of the decrease for the year ended December 31, 2022 was due to an early termination of a backhaul contract in 2021 which resulted in the recognition of deferred
revenue and termination fees over the amended term in the prior year. Partially offsetting the decrease was an increase in SMB revenue, due primarily to higher average
recurring broadband revenue per SMB customer, primarily driven by certain rate increases and service level changes, partially offset by lower SMB video and telephony
revenue.
News and Advertising Revenue
News and advertising revenue for the years ended December 31, 2022 and 2021 was $520,293 and $550,667, respectively. News and advertising revenue is primarily derived
from the sale of (i) advertising inventory available on the programming carried on our cable television systems (linear revenue), (ii) digital advertising, (iii) branded content, and
(iv) data analytics. News and advertising revenue also includes affiliation fees for news programming.


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News and advertising revenue decreased $30,374 (6%) for the year ended December 31, 2022 compared to the year ended December 31, 2021. The decrease was primarily due
to a decrease in advertising revenue from non-political linear and non-political digital advertising, partially offset by an increase in political advertising spending.
Mobile Revenue
Mobile revenue for the years ended December 31, 2022 and 2021 was $97,679 and $84,194, respectively, and relates to sales of devices and mobile services. As of December
31, 2022, we had approximately 240,000 mobile lines as compared to approximately 186,000 lines as of December 31, 2021.
Other Revenue
Other revenue for the years ended December 31, 2022 and 2021 was $11,471 and $13,837, respectively. Other revenue includes revenue from other miscellaneous revenue
streams.
Programming and Other Direct Costs
Programming and other direct costs for the years ended December 31, 2022 and 2021 amounted to $3,205,638 and $3,382,129, respectively. Programming and other direct costs
include cable programming costs, which are costs paid to programmers (net of amortization of any incentives received from programmers for carriage) for cable content
(including costs of VOD and pay-per-view) and are generally paid on a per-customer basis. These costs are impacted by increases in contractual rates, new channel launches,
and by changes in the number of customers receiving certain programming services. These costs also include interconnection, call completion, circuit and transport fees paid to
other telecommunication companies for the transport and termination of voice and data services, which typically vary based on rate changes and the level of usage by our
customers. These costs also include franchise fees which are payable to the state governments and local municipalities where we operate and are primarily based on a
percentage of certain categories of revenue derived from the provision of video service over our cable systems, which vary by state and municipality. These costs change in
relation to changes in such categories of revenues or rate changes. Additionally, these costs include the costs of mobile devices sold to our customers and direct costs of
providing mobile services.
The decrease of $176,491 (5%) for the year ended December 31, 2022, as compared to the prior year was primarily attributable to the following:
Decrease in programming costs primarily due to lower video customers, partially offset by net contractual rate increases                                   $           (117,213)
Decrease in taxes and surcharges                                                                                                                                        (24,875)
Decrease in digital media and linear advertising spots for resale costs                                                                                                 (16,776)
Decrease in franchise fee costs due to lower video revenue                                                                                                              (13,535)
Other net decreases                                                                                                                                                      (4,092)
                                                                                                                                                           $           (176,491)

Programming costs
Programming costs aggregated $2,627,416 and $2,744,629 for the years ended December 31, 2022 and 2021, respectively. Our programming costs in 2023 will continue to be
impacted by changes in programming rates, which we expect to increase, and by changes in the number of video customers.
Other Operating Expenses
Other operating expenses for the years ended December 31, 2022 and 2021 amounted to $2,735,469 and $2,379,765, respectively. Other operating expenses include staff costs
and employee benefits including salaries of company employees and related taxes, benefits and other employee related expenses, as well as third-party labor costs. Other
operating expenses also include network management and field service costs, which represent costs associated with the maintenance of our broadband network, including costs
of certain customer connections and other costs associated with providing and maintaining services to our customers.
Customer installation and network repair and maintenance costs may fluctuate as a result of changes in the level of activities and the utilization of contractors as compared to
employees. Also, customer installation costs fluctuate as the portion of our expenses that we are able to capitalize changes. Costs associated with the initial deployment of new
customer premise equipment necessary to provide broadband, video and telephony services are capitalized (asset-based). The redeployment of customer premise equipment is
expensed as incurred.


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Other operating expenses also include costs related to our call center operations that handle customer inquiries and billing and collection activities, and sales and marketing
costs, which include advertising production and placement costs associated with acquiring and retaining customers. These costs vary period to period and certain of these costs,
such as sales and marketing, may increase with intense competition. Additionally, other operating expenses include various other administrative costs.
The increase in other operating expenses of $355,704 (15%) for the year ended December 31, 2022 as compared to the prior year was attributable to the following:
Net increase in labor costs and benefits, partially offset by an increase in capitalizable activity                                                            $             157,899
Increase in share-based compensation costs                                                                                                                                    61,689
Increase in repairs and maintenance costs, net of capitalizable activity, including costs to rebrand our Suddenlink services to Optimum                                       54,241
Increase in marketing costs, primarily due to costs to rebrand our Suddenlink services to Optimum                                                                             25,020
Increase in bad debt                                                                                                                                                          19,349
Other net increases, net of capitalizable activity                                                                                                                            37,506
                                                                                                                                                               $             355,704


Restructuring Expense and Other Operating Items
Restructuring expense and other operating items for the year ended December 31, 2022 amounted to $130,285, as compared to $17,176 for the year ended December 31, 2021
and comprised of the following:
                                                                                                                                                Years Ended December 31,
                                                                                                                                              2022                    2021
Contractual payments for terminated employees                                                                                             $           4,002 $                  6,227
Facility realignment costs                                                                                                                            5,652                    2,551
Impairment of right-of-use operating lease assets                                                                                                     3,821                    6,701
Transaction costs related to certain transactions not related to the Company's operations                                                             4,310                    1,697
Litigation settlement (a)                                                                                                                           112,500                       —
                                                                                                                                          $         130,285 $                 17,176


(a)      Represents the settlement amount of the Sprint litigation discussed in Note 17 to our consolidated financial statements.
We may incur additional contractual payments for terminated employee related costs and facility realignment costs in the future as we continue to analyze our organizational
structure.
Depreciation and Amortization (including impairments)
Depreciation and amortization (including impairments) for the years ended December 31, 2022 and 2021 amounted to $1,773,673 and $1,787,152, respectively.
The decrease in depreciation and amortization of $13,479 (1%) for the year ended December 31, 2022 as compared to 2021 was due to lower amortization expense on intangible
assets, partially offset by higher depreciation expense resulting from increased asset additions in 2022.
Adjusted EBITDA
Adjusted EBITDA amounted to $3,866,537 and $4,427,251 for the years ended December 31, 2022 and 2021, respectively.
Adjusted EBITDA is a non-GAAP measure that is defined as net income (loss) excluding income taxes, non-operating income or expenses, loss on extinguishment of debt and
write-off of deferred financing costs, gain (loss) on interest rate swap contracts, gain (loss) on derivative contracts, gain (loss) on investments and sale of affiliate interests,
interest expense, net, depreciation and amortization (including impairments), share-based compensation, restructuring expense and other operating items (such as significant
legal settlements, contractual payments for terminated employees, and impairments). See reconciliation of net income (loss) to adjusted EBITDA above.


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The decrease in adjusted EBITDA for the year ended December 31, 2022 as compared to the prior year was due to the decrease in revenue and an increase in operating expenses
during 2022 (excluding depreciation and amortization, restructuring and other operating items and share-based compensation), as discussed above.
Operating Free Cash Flow
Operating free cash flow was $1,952,255 and $3,195,536 for the years ended December 31, 2022 and 2021, respectively. The decrease in operating free cash flow for 2022 as
compared to 2021 is due to an increase in cash capital expenditures and a decrease in adjusted EBITDA.
Free Cash Flow
Free cash flow was $452,619 and $1,622,363 for the years ended December 31, 2022 and 2021, respectively. The decrease in free cash flow in 2022 as compared to 2021 is
primarily due to an increase in cash capital expenditures and a decrease in cash from operating activities.
Interest expense, net
Interest expense, net was $1,331,636 and $1,266,591 for the years ended December 31, 2022 and 2021, respectively. The increase of $65,045 (5%) for the year ended December
31, 2022 as compared to the year ended December 31, 2021 was attributable to the following:
Increase primarily due to an increase in interest rates, partially offset by a decrease in average debt balances                                        $              97,008
Capitalized interest related to FTTH network construction                                                                                                             (15,431)
Higher interest income                                                                                                                                                 (3,259)
Other net decreases, primarily lower amortization of deferred financing costs and original issue discounts                                                            (13,273)
                                                                                                                                                        $              65,045

Loss on Investments, net
Loss on investments, net for the years ended December 31, 2022 and 2021 of $659,792 and $88,898 consists primarily of the decrease in the fair value of the Comcast common
stock owned by the Company. The effects of these losses are partially offset by the gains on the related equity derivative contracts, net described below.
Gain on Derivative Contracts, net
Gain on derivative contracts, net amounted to $425,815 and $85,911 for the years ended December 31, 2022 and 2021, respectively, and includes realized and unrealized gains
due to the change in fair value of equity derivative contracts relating to the Comcast common stock owned by the Company. The effects of these gains are offset by losses on
investment securities pledged as collateral, which are included in loss on investments, net discussed above.
Gain on Interest Rate Swap Contracts
Gain on interest rate swap contracts amounted to $271,788 and $92,735 for the years ended December 31, 2022 and 2021, respectively. These amounts represent the change in
the fair value of interest rate swap contracts. These swap contracts are not designated as hedges for accounting purposes.
Loss on Extinguishment of Debt and Write-off of Deferred Financing Costs
Loss on extinguishment of debt and write-off of deferred financing costs amounted to $575 and $51,712 for the years ended December 31, 2022 and 2021, respectively.


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The following table provides a summary of the loss on extinguishment of debt and the write-off of deferred financing costs recorded by the Company:
                                                                                                                                           Years ended December 31,
                                                                                                                                        2022                     2021
Repayment of CSC Holdings 5.500% Senior Guaranteed Notes due 2026                                                             $                    — $                      51,712
Refinancing of Term Loan B and Incremental Term Loan B-3                                                                                          575                           —
                                                                                                                              $                   575 $                     51,712

Other Income, Net
Other income, net amounted to $8,535 and $9,835 for the years ended December 31, 2022 and 2021, respectively. These amounts include the non-service benefit (cost)
components of the Company's pension plans of ($1,908) and $3,860, for the years ended December 31, 2022 and 2021, respectively, and dividends received on Comcast
common stock owned by the Company.
Income Tax Expense
The Company recorded income tax expense of $295,840 for the year ended December 31, 2022, resulting in an effective tax rate of 57% which is higher than the U.S. federal
statutory tax rate of 21%. The primary difference between the effective tax rate and the statutory tax rate is due to nondeductible officer’s and share-based compensation
expense, state income taxes, net of the federal benefit, a revaluation of state deferred taxes primarily due to certain changes to the state tax rates used to measure the Company’s
deferred tax liabilities, and certain other non-deductible expenses.
During the fourth quarter of 2022, the New York State Division of Tax Appeals published a decision for Charter Communications, Inc. versus New York State whereby it
concluded that each corporation in a combined reporting group would have to separately qualify as a qualified emerging technology company (“QETC”) to use the preferential
QETC tax rate. As the Company had been historically using the QETC rate at the combined reporting group level, it recorded a cumulative income tax expense of $157,300 that
included both a revaluation of state deferred taxes and an increase to the Company's uncertain tax positions reserve for tax years 2017 through 2022 based on this published
decision.
The Company recorded income tax expense of $294,975 for the year ended December 31, 2021, resulting in an effective tax rate of 23% which is higher than the U.S. federal
statutory tax rate of 21%. The primary difference between the effective tax rate and the statutory tax rate is due to nondeductible officer’s and share-based compensation
expense, state income taxes, net of the federal benefit, a revaluation of state deferred taxes primarily due to certain changes to the state tax rates used to measure the Company’s
deferred tax liabilities, a tax benefit associated with internal restructuring and opportunity zone related investments, and certain other non-deductible expenses.


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CSC HOLDINGS, LLC
The consolidated statements of operations of CSC Holdings are essentially identical to the consolidated statements of operations of Altice USA, except for the following:
                                                                                                                                              CSC Holdings
                                                                                                                                        Years ended December 31,
                                                                                                                                 2022                              2021
                                                                                                                                             (in thousands)
Net income attributable to Altice USA stockholders                                                                    $                    194,563 $                       990,311
 Less: items included in Altice USA's consolidated statements of operations:
  Income tax expense (benefit)                                                                                                               3,688                          (2,135)
Net income attributable to CSC Holdings' sole member                                                                  $                    198,251    $                    988,176

The following is a reconciliation of CSC Holdings' net income to Adjusted EBITDA and Operating Free Cash Flow:
                                                                                                                                              CSC Holdings
                                                                                                                                        Years ended December 31,
                                                                                                                                 2022                              2021
Net income                                                                                                            $                    224,577    $                   1,008,797
Income tax expense                                                                                                                         292,152                          297,110
Other income, net                                                                                                                           (8,535)                          (9,835)
Gain on interest rate swap contracts, net                                                                                                 (271,788)                         (92,735)
Gain on derivative contracts, net                                                                                                         (425,815)                         (85,911)
Loss on investments, net                                                                                                                   659,792                           88,898
Loss on extinguishment of debt and write-off of deferred financing costs                                                                       575                           51,712
Interest expense, net                                                                                                                    1,331,636                        1,266,591
Depreciation and amortization                                                                                                            1,773,673                        1,787,152
Restructuring expense and other operating items                                                                                            130,285                           17,176
Share-based compensation                                                                                                                   159,985                           98,296
Adjusted EBITDA                                                                                                       $                  3,866,537                        4,427,251
Capital expenditures (cash)                                                                                                               1,914,282                       1,231,715
Operating Free Cash Flow                                                                                              $                  1,952,255    $                   3,195,536

Refer to Altice USA's Management's Discussion and Analysis of Financial Condition and Results of Operations herein.
The following is a reconciliation of net cash flow from operating activities to Free Cash Flow:
                                                                                                                                              CSC Holdings
                                                                                                                                        Years ended December 31,
                                                                                                                                 2022                              2021
Net cash flows from operating activities                                                                             $                   2,366,901    $                   2,823,934
Capital expenditures (cash)                                                                                                              1,914,282                        1,231,715
Free Cash Flow                                                                                                       $                    452,619     $                   1,592,219



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LIQUIDITY AND CAPITAL RESOURCES
Altice USA has no operations independent of its subsidiaries. Funding for our subsidiaries has generally been provided by cash flow from their respective operations, cash on
hand and borrowings under the CSC Holdings revolving credit facility and the proceeds from the issuance of securities and borrowings under syndicated term loans in the
capital markets. Our decision as to the use of cash generated from operating activities, cash on hand, borrowings under the revolving credit facility or accessing the capital
markets has been based upon an ongoing review of the funding needs of the business, the optimal allocation of cash resources, the timing of cash flow generation and the cost of
borrowing under the revolving credit facility, debt securities and syndicated term loans. We target a year-end leverage ratio of 4.5x to 5.0x for CSC Holdings over time. We
calculate our CSC Holdings net leverage ratio as net debt to L2QA EBITDA (Adjusted EBITDA for the two most recent consecutive fiscal quarters multiplied by 2.0).
We expect to utilize free cash flow and availability under the CSC Holdings revolving credit facility, as well as future refinancing transactions, to further extend the maturities
of, or reduce the principal on, our debt obligations. The timing and terms of any refinancing transactions will be subject to, among other factors, market conditions.
Additionally, we may, from time to time, depending on market conditions and other factors, use cash on hand and the proceeds from other borrowings to repay the outstanding
debt securities through open market purchases, privately negotiated purchases, tender offers, or redemptions.
We believe existing cash balances, operating cash flows and availability under the CSC Holdings revolving credit facility will provide adequate funds to support our current
operating plan, make planned capital expenditures and fulfill our debt service requirements for the next twelve months. However, our ability to fund our operations, make
planned capital expenditures, make scheduled payments on our indebtedness and repay our indebtedness depends on our future operating performance and cash flows and our
ability to access the capital markets, which, in turn, are subject to prevailing economic conditions and to financial, business and other factors, some of which are beyond our
control. Competition, market disruptions or a deterioration in economic conditions could lead to lower demand for our products, as well as lower levels of advertising, and
increased incidence of customers' inability to pay for the services we provide. These events would adversely impact our results of operations, cash flows and financial position.
Although we currently believe amounts available under the CSC Holdings revolving credit facility will be available when, and if, needed, we can provide no assurance that
access to such funds will not be impacted by adverse conditions in the financial markets or other conditions. The obligations of the financial institutions under the revolving
credit facility are several and not joint and, as a result, a funding default by one or more institutions does not need to be made up by the others.
In the longer term, we may not be able to generate sufficient cash from operations to fund anticipated capital expenditures, meet all existing future contractual payment
obligations and repay our debt at maturity. As a result, we could be dependent upon our continued access to the capital and credit markets to issue additional debt or equity or
refinance existing debt obligations. We intend to raise significant amounts of funding over the next several years to fund capital expenditures, repay existing obligations and
meet other obligations, and the failure to do so successfully could adversely affect our business. If we are unable to do so, we will need to take other actions including deferring
capital expenditures, selling assets, seeking strategic investments from third parties or reducing or eliminating stock repurchases and discretionary uses of cash.


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Debt Outstanding
The following table summarizes the carrying value of our outstanding debt, net of unamortized deferred financing costs, discounts and premiums (excluding accrued interest) as
of December 31, 2022, as well as interest expense for the year ended December 31, 2022.
                                                                                                           CSC Holdings                                     Other Unrestricted       Altice USA/CSC
                                                                                                          Restricted Group             Lightpath                 Entities                Holdings
Debt outstanding:
 Credit facility debt                                                                                 $          8,488,017     $             575,478    $                  —     $            9,063,495
 Senior guaranteed notes                                                                                         7,638,443                        —                        —                  7,638,443
 Senior secured notes                                                                                                   —                    443,046                       —                    443,046
 Senior notes                                                                                                    6,916,148                   408,090                       —                  7,324,238
 Subtotal                                                                                                       23,042,608                 1,426,614                       —                 24,469,222
 Finance lease obligations                                                                                         244,595                        —                        —                    244,595
 Notes payable and supply chain financing                                                                          127,635                        —                        —                    127,635
  Subtotal                                                                                                      23,414,838                 1,426,614                       —                 24,841,452
 Collateralized indebtedness relating to stock monetizations (a)                                                        —                         —                 1,746,281                 1,746,281
   Total debt                                                                                         $         23,414,838     $           1,426,614    $           1,746,281    $           26,587,733
Interest expense:
  Credit facility debt, senior notes, finance leases, notes payable and supply chain financing        $            1,180,422   $               76,357   $                  —     $            1,256,779
 Collateralized indebtedness relating to stock monetizations (a)                                                          —                        —                   78,276                    78,276
      Total interest expense                                                                          $            1,180,422   $               76,357   $              78,276    $            1,335,055


(a)         This indebtedness was collateralized by shares of Comcast common stock. In January 2023 we settled this debt by delivering the Comcast shares we held and the related equity
            derivative contracts resulting in the receipt of cash of approximately $50,500.
See Note 11 to our consolidated financial statements for further information regarding our outstanding debt.
Payment Obligations Related to Debt
As of December 31, 2022, total amounts payable by us in connection with our outstanding obligations, including related interest, as well as notes payable and supply chain
financing, and the value deliverable at maturity under monetization contracts, but excluding finance lease obligations are as follows (see Note 9 to our consolidated financial
statements):
                                                                                CSC Holdings Restricted                                        Other Unrestricted Entities            Altice USA/
                                                                                       Group                            Lightpath                         (a)                        CSC Holdings
2023                                                                           $             1,519,076         $                      84,918   $               1,776,378 $                     3,380,372
2024                                                                                         2,119,783                                84,791                          —                        2,204,574
2025 (b)                                                                                     4,356,212                                84,263                          —                        4,440,475
2026                                                                                         1,622,150                                80,079                          —                        1,702,229
2027                                                                                         5,063,343                             1,103,294                          —                        6,166,637
Thereafter (c)                                                                              15,929,320                               438,344                          —                       16,367,664
Total                                                                          $            30,609,884         $                   1,875,689   $               1,776,378 $                    34,261,951


(a)         Includes $1,776,378 related to the Company's collateralized indebtedness and related interest. This indebtedness is collateralized by shares of Comcast common stock. In January
            2023, the Company settled this debt by delivering shares of Comcast common stock and the related equity derivative contracts.
(b)         Includes $1,575,000 principal amount and related interest related to the CSC Holdings' revolving credit facility that is due on the earlier of (i) July 13, 2027 and (ii) April 17, 2025 if,
            as of such date, any Term Loan B borrowings are still outstanding, unless the Term Loan B maturity date has been extended to a date falling after July 13, 2027.


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(c)      Includes $2,001,942 principal amount related to the CSC Holdings' Incremental Term Loan B-6 that is due on the earlier of (i) January 15, 2028 and (ii) April 15, 2027 if, as of such
         date, any Incremental Term Loan B-5 borrowings are still outstanding, unless the Incremental Term Loan B-5 maturity date has been extended to a date falling after January 15, 2028.

CSC Holdings Restricted Group
For financing purposes, the Company is structured as a restricted group (the "Restricted Group") and an unrestricted group, which includes certain designated subsidiaries and
investments (the "Unrestricted Group"). The CSC Holdings Restricted Group is comprised of CSC Holdings and substantially all of its wholly-owned operating subsidiaries,
excluding Lightpath which became an unrestricted subsidiary in September 2020. These subsidiaries are subject to the covenants and restrictions of the credit facility and
indentures governing the notes issued by CSC Holdings.
Sources of cash for the Restricted Group include primarily cash flow from the operations of the businesses in the Restricted Group, borrowings under its credit facility and
issuance of securities in the capital markets, contributions from its parent, and, from time to time, distributions or loans from its subsidiaries. The Restricted Group's principal
uses of cash include: capital spending, in particular, the capital requirements associated with the upgrade of its digital broadband, video and telephony services, including costs
to build our FTTH network; debt service; distributions made to its parent to fund share repurchases; other corporate expenses and changes in working capital; and investments
that it may fund from time to time.
CSC Holdings Credit Facility
In October 2015, a wholly-owned subsidiary of Altice USA, which merged with and into CSC Holdings on June 21, 2016, entered into a senior secured credit facility, which
currently provides U.S. dollar term loans currently in an aggregate principal amount of $3,000,000 ($1,535,842 outstanding at December 31, 2022) (the "CSC Term Loan
Facility", and the term loans extended under the CSC Term Loan Facility, the "CSC Term Loans") and U.S. dollar revolving loan commitments in an aggregate principal
amount of $2,475,000 ($1,575,000 outstanding at December 31, 2022) (the "CSC Revolving Credit Facility" and, together with the CSC Term Loan Facility, the "CSC Credit
Facilities"), which are governed by a credit facilities agreement entered into by, inter alios, CSC Holdings, certain lenders party thereto and JPMorgan Chase Bank, N.A. as
administrative agent and security agent (as amended, restated, supplemented or otherwise modified from time to time, the "CSC Credit Facilities Agreement").
In October 2018, CSC Holdings entered into a $1,275,000 ($527,014 outstanding at December 31, 2022) incremental term loan facility (the “Incremental Term Loan B-3”) and
in October 2019, CSC Holdings entered into a $3,000,000 ($2,917,500 outstanding at December 31, 2022) incremental term loan facility ("Incremental Term Loan B-5") under
its existing credit facilities agreement.
In July 2022, CSC Holdings entered into an amendment to its CSC Revolving Credit Facility that provided for, among other things, an extended maturity date of July 13, 2027
and in December 2022, CSC Holdings entered into a $2,001,942 incremental term loan facility (the "Incremental Term Loan B-6") under the CSC Holdings Credit Facilities
Agreement.
During the year ended December 31, 2022, CSC Holdings borrowed $2,315,000 under its revolving credit facility and repaid $1,640,000 of amounts outstanding under the
revolving credit facility.
See Note 11 to our consolidated financial statements for further information regarding the CSC Credit Facilities Agreement.
Senior Guaranteed Notes and Senior Notes
See Note 11 of our consolidated financial statements for further details of the Company’s outstanding senior guaranteed notes and senior notes.
As of December 31, 2022, CSC Holdings was in compliance with applicable financial covenants under its credit facility and with applicable financial covenants under each
respective indenture by which the senior guaranteed notes and senior notes were issued.
Lightpath Credit Facility
In November 2020, Lightpath entered into a credit agreement which provides a term loan in an aggregate principal amount of $600,000 ($588,000 outstanding at December 31,
2022) and revolving loan commitments in an aggregate principal amount of $100,000. As of December 31, 2022, there were no borrowings outstanding under the Lightpath


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revolving credit facility. See Note 11 to our consolidated financial statements for further information regarding the Lightpath credit agreement.
As of December 31, 2022, Lightpath was in compliance with applicable financial covenants under its credit agreement and with applicable financial covenants under each
respective indenture by which its senior secured notes and senior notes were issued.
Lightpath Interest Rate Swap Contract
Lightpath entered into an interest rate swap contract, effective April 2022, on a notional amount of $300,000, whereby Lightpath pays interest of 2.161% through December
2026 and receives interest based on the one-month LIBOR rate. This swap contract is not designated as a hedge for accounting purposes. Accordingly, the changes in the fair
value of this interest rate swap contract are recorded through the statement of operations.

Capital Expenditures
The following table presents the Company's capital expenditures:
                                                                                                                                             Years Ended December 31,
                                                                                                                                            2022                 2021
Customer premise equipment                                                                                                        $               316,175 $             227,280
Network infrastructure                                                                                                                          1,153,860               642,545
Support and other                                                                                                                                 270,149               235,314
Business services                                                                                                                                 174,098               126,576
Capital purchases (cash basis)                                                                                                                  1,914,282             1,231,715
Right-of-use assets acquired in exchange for finance lease obligations                                                                            160,542               145,047
Notes payable issued to vendor for the purchase of equipment and other assets                                                                     132,452                89,898
Change in accrued and unpaid purchases and other                                                                                                  169,227               129,020
Capital purchases (accrual basis)                                                                                                 $             2,376,503 $           1,595,680

Customer premise equipment includes expenditures for set-top boxes, cable modems, routers and other equipment that is placed in a customer's home, as well as installation
costs for placing assets into service. Network infrastructure includes: (i) scalable infrastructure, such as headend equipment, (ii) line extensions, such as FTTH and fiber/coaxial
cable, amplifiers, electronic equipment, make-ready and design engineering, and (iii) upgrade and rebuild, including costs to modify or replace existing fiber/coaxial cable
networks, including enhancements. Support and other capital expenditures includes costs associated with the replacement or enhancement of non-network assets, such as
software systems, vehicles, facilities and office equipment. Business services capital expenditures include primarily equipment, installation, support, and other costs related to
our fiber based telecommunications business serving primarily enterprise customers.
Cash Flow Discussion
Altice USA
Operating Activities
Net cash provided by operating activities amounted to $2,366,901 and $2,854,078 for the years ended December 31, 2022, and 2021, respectively.
The decrease in cash provided by operating activities of $487,177 in 2022 as compared to 2021 resulted from a decrease in net income before depreciation and amortization and
other non-cash items of $561,762, partially offset by an increase of $74,585 due to changes in working capital (including an increase in interest payments of $69,659 and a
decrease in tax payments of $9,627), as well as the timing of payments and collections of accounts receivable, among other items.
Investing Activities
Net cash used in investing activities for the years ended December 31, 2022 and 2021 was $1,921,510 and $1,573,603, respectively.
The 2022 investing activities consisted primarily of capital expenditures of $1,914,282.


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The 2021 investing activities consisted primarily of capital expenditures of $1,231,715, and payment for acquisitions, net of cash acquired of $340,444.
Financing Activities
Net cash used in financing activities amounted to $335,906 and $1,362,524 for the years ended December 31, 2022 and 2021.
In 2022, the Company's financing activities consisted primarily of the repayment of debt of $4,469,727, and principal payments on finance lease obligations of $134,682,
partially offset by net proceeds from long-term debt of $4,276,903.
In 2021, the Company's financing activities consisted primarily of the repayment of debt of $4,870,108, the purchase of common stock pursuant to a share repurchase program
of $804,928, principal payments on finance lease obligations of $85,949, repayment of collateralized indebtedness and related derivative contracts, net of $185,105 and other net
cash payments of $11,539, partially offset by net proceeds from long-term debt of $4,410,000 and proceeds from collateralized indebtedness and related derivative contracts,
net of $185,105.
CSC Holdings
Operating Activities
Net cash provided by operating activities amounted to $2,366,901 and $2,823,934 for the years ended December 31, 2022 and 2021, respectively.
The decrease in cash provided by operating activities of $457,033 in 2022 as compared to 2021 resulted from a decrease in income from continuing operations before
depreciation and amortization and other non-cash items of $558,119, partially offset by an increase of $101,086 due to changes in working capital (including an increase in
interest payments of $69,659 and a decrease in tax payments of $9,627, as well as the timing of payments and collections of accounts receivable, among other items).
Investing Activities
Net cash used in investing activities for the years ended December 31, 2022 and 2021 was $1,921,510 and $1,573,603, respectively.
The 2022 investing activities consisted primarily of capital expenditures of $1,914,282.
The 2021 investing activities consisted primarily of capital expenditures of $1,231,715 and payments for acquisitions, net of cash acquired of $340,444.
Financing Activities
Net cash used in financing activities amounted to $333,356 and $1,334,453 for the years ended December 31, 2022 and 2021, respectively.
In 2022, the Company's financing activities consisted primarily of the repayment of long-term debt of $4,469,727, and principal payments on finance lease obligations of
$134,682, partially offset by net proceeds from long-term debt of $4,276,903.
In 2021, the Company's financing activities consisted primarily of the repayment of long-term debt of $4,870,108, distribution to parent of $763,435, principal payments on
finance lease obligations of $85,949, repayment of collateralized indebtedness and related derivative contracts, net of $185,105 and other net cash payments of $24,961,
partially offset by net proceeds from long-term debt of $4,410,000 and proceeds from collateralized indebtedness and related derivative contracts, net of $185,105.
Contractual Obligations and Off Balance Sheet Commitments
Our contractual obligations as of December 31, 2022 consist primarily of our debt obligations, purchase obligations which primarily include contractual commitments with
various programming vendors to provide video services to our customers and minimum purchase obligations to purchase goods or services, operating and finance lease
obligations, outstanding letters of credit, and guarantees. Note 11 to our consolidated financial statements contains further information regarding our debt obligations,Note 17
contains information regarding our off-balance sheet obligations and Note 9 contains information regarding our leases.


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Share Repurchase Program
In June 2018, the Board of Directors of Altice USA authorized a share repurchase program of $2,000,000, and on July 30, 2019, the Board of Directors authorized a new
incremental three-year share repurchase program of $5,000,000 that took effect following the completion in August 2019 of the $2,000,000 repurchase program. In November
2020, the Board of Directors authorized an additional $2,000,000 of share repurchases, bringing the total amount of cumulative share repurchases authorized to $9,000,000.
Under these repurchase programs, shares of Altice USA Class A common stock may be purchased from time to time in the open market and may include trading plans entered
into with one or more brokerage firms in accordance with Rule 10b5-1 under the Securities Exchange Act of 1934. Size and timing of these purchases will be determined based
on market conditions and other factors.
On November 23, 2020, the Company commenced a modified "Dutch auction" tender offer (the "Tender Offer") to purchase up to $2,500,000 in value of shares of its Class A
Common Stock, at a price not greater than $36.00 per share nor less than $32.25 per share. The Tender Offer expired on December 21, 2020. On December 21, 2020, the
Company accepted for purchase 64,613,479 shares of its Class A Common Stock, at a price of $36.00 per share, plus related fees, for an aggregate purchase price of
$2,326,949. The aggregate purchase price of these shares (including the fees relating to the Tender Offer), is reflected in stockholders' equity (deficiency) in the consolidated
balance sheet of Altice USA as of December 31, 2020.
For the year ended December 31, 2022, Altice USA did not repurchase any shares. For the years ended December 31, 2021 and 2020, Altice USA repurchased an aggregate of
23,593,728 and 161,216,653 shares, respectively, for a total purchase price of approximately $804,928 and $4,816,895, respectively. These acquired shares were retired and the
cost of these shares was recorded in stockholders' equity (deficiency) in the consolidated balance sheet of Altice USA. From inception through December 31, 2022, Altice USA
repurchased an aggregate of 285,507,773 shares for a total purchase price of approximately $7,808,698. As of December 31, 2022, Altice USA had approximately $1,191,302
of availability remaining under the incremental share repurchase program.
Managing our Interest Rate and Equity Price Risk
See "Item 7A. Quantitative and Qualitative Disclosures About Market Risk" for a discussion regarding interest rate risk and equity price risk.
Critical Accounting Policies and Estimates
In preparing its financial statements, the Company is required to make certain estimates, judgments and assumptions that it believes are reasonable based upon the information
available. These estimates and assumptions affect the reported amounts of assets and liabilities at the date of the financial statements and the reported amounts of revenues and
expenses during the periods presented.
We believe that the application of the following accounting policy requires significant estimates and is the most critical to aid in fully understanding and evaluating our reported
financial results:
Plant and Equipment
Costs incurred in the construction of the Company's cable systems, including line extensions to, and upgrade of, the Company's HFC infrastructure and construction of the
parallel FTTH infrastructure, are capitalized. This includes headend facilities and initial placement of the feeder cable to connect a customer that had not been previously
connected. These costs consist of materials, subcontractor labor, direct consulting fees, and internal labor and related costs associated with the construction activities (including
interest related to FTTH construction). The internal costs that are capitalized consist of salaries and benefits of the Company's employees and the portion of facility costs,
including rent, taxes, insurance and utilities, that supports the construction activities. These costs are depreciated over the estimated life of the plant (10 to 25 years) and headend
facilities (5 to 25 years). Costs of operating the plant and the technical facilities, including repairs and maintenance, are expensed as incurred.
Costs associated with the initial deployment of new customer premise equipment ("CPE") necessary to provide broadband, video and telephony services are also capitalized.
These costs include materials, subcontractor labor, internal labor, and other related costs associated with the connection activities. The departmental activities supporting the
connection process are tracked through specific metrics, and the portion of departmental costs that is capitalized is determined through a time weighted activity allocation of
costs incurred based on time studies used to estimate the average time spent on each activity. These installation costs are amortized over the estimated useful lives of the CPE
necessary to provide broadband, video and telephony services. The portion of departmental costs related to disconnecting services and removing CPE from a customer, costs
related to connecting CPE that has been previously connected to the network, and repair and maintenance are expensed as incurred.


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Recently Issued Accounting Standards
See Note 3 to the accompanying consolidated financial statements contained in "Part II. Item 8. Financial Statements and Supplementary Data" for a discussion of recently
issued accounting standards.
Item 7A.         Quantitative and Qualitative Disclosures About Market Risk
All dollar amounts, except per share data, included in the following discussion are presented in thousands.
Equity Price Risk
Our exposure to equity price risk stems from the shares of Comcast common stock we held. We had entered into equity derivative contracts consisting of a collateralized loan
and an equity collar to hedge our equity price risk and to monetize the value of these securities. These contracts were expected to offset declines in the fair value of these
securities below the hedge price per share while allowing us to retain upside appreciation from the hedge price per share to the relevant cap price. In January 2023, we settled
the collateralized indebtedness by delivering the Comcast shares we held and the related equity derivative contracts resulting in the receipt of cash of approximately $50,500.
The underlying stock and the equity collars were carried at fair value in our consolidated balance sheets and the collateralized indebtedness is carried at its principal value, net
of discounts. These discounts were being amortized over the term of the related indebtedness. The carrying value of our collateralized indebtedness amounted to $1,746,281 at
December 31, 2022.
As of December 31, 2022, the fair value and the carrying value of our holdings of Comcast common stock aggregated $1,502,145. Assuming a 10% change in price, the
potential change in the fair value of these investments would be approximately $150,215. As of December 31, 2022, the net fair value and the carrying value of the equity collar
component of the equity derivative contracts entered into to partially hedge the equity price risk of our holdings of Comcast common stock aggregated $263,873, a net asset
position. For the year ended December 31, 2022, we recorded a net gain of $425,815 related to our outstanding equity derivative contracts and recorded an unrealized loss of
$659,792 related to the Comcast common stock that we held.
Fair Value of Equity Derivative Contracts

Fair value as of December 31, 2021, net liability position                                                                                                     $            (161,942)
 Change in fair value, net                                                                                                                                                   425,815
Fair value as of December 31, 2022, net asset position                                                                                                         $             263,873

The maturity, number of shares deliverable at the relevant maturity, hedge price per share, and the lowest and highest cap prices received for the Comcast common stock
monetized via an equity derivative prepaid forward contract are summarized in the following table:
                      # of Shares Deliverable                                      Maturity                        Hedge Price per Share (a)                   Cap Price (b)
                            42,955,236                                              2023                                    $40.95                                 $49.55


(a)      Represents the price below which we are provided with downside protection and above which we retain upside appreciation. Also represents the price used in determining the cash
         proceeds payable to us at inception of the contracts.
(b)      Represents the price up to which we receive the benefit of stock price appreciation.

Fair Value of Debt
At December 31, 2022, the fair value of our fixed rate debt, comprised of our collateralized debt, senior guaranteed and senior secured notes, senior notes and notes payable of
$12,544,754 was lower than its carrying value of $17,279,643 by $4,734,889. The fair value of these financial instruments is estimated based on reference to quoted market
prices for these or comparable securities. Our floating rate borrowings, comprised of our term loans and revolving credit facilities bear interest in reference to current LIBOR-
based or SOFR-based market rates and thus their principal values approximate fair value. The effect of a hypothetical 100 basis point decrease in interest rates prevailing at
December 31, 2022 would increase the estimated fair value of our fixed rate debt by $541,058 to $13,085,812. This estimate is based on the assumption of an immediate and
parallel shift in interest rates across all maturities.

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Interest Rate Risk
To manage interest rate risk, we have from time to time entered into interest rate swap contracts to adjust the proportion of total debt that is subject to variable and fixed interest
rates. Such contracts effectively fix the borrowing rates on floating rate debt to provide an economic hedge against the risk of rising rates and/or effectively convert fixed rate
borrowings to variable rates to permit the Company to realize lower interest expense in a declining interest rate environment. We monitor the financial institutions that are
counterparties to our interest rate swap contracts and we only enter into interest rate swap contracts with financial institutions that are rated investment grade. All such contracts
are carried at their fair market values on our consolidated balance sheets, with changes in fair values reflected in the consolidated statements of operations. See Note 12 to our
Consolidated Financial Statements for a summary of interest rate swap contracts outstanding at December 31, 2022. The Company's outstanding interest rate swap contracts are
not designated as hedges for accounting purposes. Accordingly, the changes in the fair value of these interest rate swap contracts are recorded through the statements of
operations. For the year ended December 31, 2022, the Company recorded a gain on interest rate swap contracts of$271,788.
The following represents the location of the assets and liabilities associated with the Company's equity derivative contracts and interest rate swap contracts within the
consolidated balance sheets:
                                                                                                                                                             Fair Value at December 31,
       Derivatives Not Designated as Hedging Instruments                                        Balance Sheet Location                                                  2022
Asset Derivatives:
Prepaid forward contracts                                       Derivative contracts                                                                     $                      263,873
Interest rate swap contracts                                    Other assets, long-term                                                                                         185,622
                                                                                                                                                         $                      449,495

As of December 31, 2022, we did not hold and have not issued derivative instruments for trading or speculative purposes.

Item 8.       Financial Statements and Supplementary Data
For information required by Item 8, refer to the Index to Financial Statements on page F-1.

Item 9.       Changes in and Disagreements with Accountants on Accounting and Financial Disclosure
None.

Item 9A.       Controls and Procedures
Evaluation of Disclosure Controls and Procedures
An evaluation was carried out under the supervision and with the participation of Altice USA's management, including our Chief Executive Officer and Chief Financial Officer,
of the effectiveness of the design and operation of our disclosure controls and procedures (as defined under SEC rules). Based upon that evaluation, the Chief Executive Officer
and Chief Financial Officer concluded that the design and operation of these disclosure controls and procedures were effective as of December 31, 2022.
Management's Annual Report on Internal Control Over Financial Reporting
The Company's management is responsible for establishing and maintaining effective internal control over financial reporting as defined in Rules 13a-15(f) under the Securities
Exchange Act of 1934, as amended. The Company's internal control over financial reporting is a process designed under the supervision of the Company's Chief Executive
Officer and Chief Financial Officer to provide reasonable assurance to the Company's management and Board of Directors regarding the reliability of financial reporting and
the preparation of the Company's external financial statements, including estimates and judgments, in accordance with accounting principles generally accepted in the United
States of America.
Because of its inherent limitations, internal control over financial reporting may not prevent or detect misstatements. Therefore, even those internal controls determined to be
effective can provide only reasonable assurance with respect to financial statement preparation and presentation. Also, the evaluation of the effectiveness of internal control over
financial reporting was made as of a specific date, and continued effectiveness in future periods is subject to the risks that controls may become inadequate because of changes
in conditions or that the degree of compliance with the policies and procedures may decline.


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The Company's management conducted an assessment of the effectiveness of the Company's internal control over financial reporting based on the framework established in
Internal Control-Integrated Framework issued by the Committee of Sponsoring Organizations of the Treadway Commission (COSO) (2013 framework). Based on this
assessment, management concluded that the Company's internal control over financial reporting was effective as of December 31, 2022.
Audit Report of the Independent Registered Public Accounting Firm
The effectiveness of the Company's internal control over financial reporting as of December 31, 2022 has been audited by KPMG LLP, an independent registered public
accounting firm, as stated in their audit report on the Company’s internal control over financial reporting appearing on page F-2.
Changes in Internal Control
During the year ended December 31, 2022, there were no changes in the Company's internal control over financial reporting that materially affected or are reasonably likely to
materially affect the Company's internal control over financial reporting.

Item 9B.          Other Information
None.

Item 9C.          Disclosure Regarding Foreign Jurisdiction that Prevent Inspections
Not applicable.

                                                                                   PART III
Information required under Item 10, Directors, Executive Officers and Corporate Governance, Item 11, Executive Compensation, Item 12, Security Ownership of Certain
Beneficial Owners and Management and Related Stockholder Matters, Item 13, Certain Relationships and Related Transactions, and Director Independence and Item 14,
Principal Accountant Fees and Services, is hereby incorporated by reference from the Company's definitive proxy statement for its Annual Meeting of Stockholders or, if such
definitive proxy statement is not filed with the Securities and Exchange Commission within 120 days after the close of the Company’s fiscal year, an amendment to this Annual
Report on Form 10-K filed under cover of Form 10-K/A.

                                                                                   PART IV
Item 15.         Exhibits and Financial Statement Schedules
(a)     The following documents are filed as part of this report:
            i.     The financial statements as indicated in the index set forth on page F-1.
           ii.     Financial statement schedules have been omitted, since they are either not applicable, not required or the information is included elsewhere herein.
          iii.     The Index to Exhibits is on page 68.

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                                                                          EXHIBIT INDEX
 Exhibit No.                                                                         Exhibit Description
3.1            Form of Third Amended and Restated Certificate of Incorporation of the Company (incorporated herein by reference to Exhibit 3.3 of the Company's
               Registration Statement on Form S-1/A (File No. 333-222475) filed on May 21, 2018)
3.2            Form of Second Amended and Restated Bylaws of the Company (incorporated herein by reference to Exhibit 3.4 of the Company's Registration Statement on
               Form S-1/A (File No. 333-222475) filed on May 21, 2018)
4.1 +          Specimen Class A Common Stock Certificate
4.2 +          Specimen Class B Common Stock Certificate
4.3            Amended and Restated Stockholders and Registration Rights Agreement, dated June 7, 2018, by and among Altice USA, Inc. and the stockholders party
               thereto (incorporated herein by reference to Exhibit 4.1 of the Company's Current Report on Form 8-K (File No. 001-38126) filed on June 13, 2018)
4.4            Stockholders’ Agreement, dated June 7, 2018, by and among Altice USA, Inc., Next Alt S.à.r.l. and A4 S.A. (incorporated herein by reference to Exhibit 10.1
               of the Company’s Current Report on Form 8-K (File No. 001-38126) filed on June 13, 2018)
4.5            Indenture, dated as of April 2, 2010, relating to Cablevision’s senior debt securities (incorporated herein by reference to Exhibit 4.4 of the Company's
               Registration Statement on Form S-1/A (File No. 333-217240) filed on May 16, 2017)
                                                                                                                                                    7
4.6            Second Supplemental Indenture, dated as of September 27, 2012, to the Indenture dated as of April 2, 2010, relating to Cablevision's 5/ 8 % Senior Notes due
               2022 (incorporated herein by reference to Exhibit 4.6 of the Company's Registration Statement on Form S-1/A (File No. 333-217240) filed on May 16, 2017)
                                                                                       3                                 3
4.7            Indenture, dated as of November 15, 2011, relating to CSC Holdings' 6 / 4 % Senior Notes due 2021 and 6 / 4 % Series B Senior Notes due 2021 (incorporated
               herein by reference to Exhibit 4.10 of the Company's Registration Statement on Form S-1/A (File No. 333-217240) filed on May 16, 2017)
                                                                                 1                               1
4.8            Indenture, dated as of May 23, 2014, relating to CSC Holdings' 5 / 4 % Senior Notes due 2024 and 5 / 4 % Series B Senior Notes due 2024 (incorporated herein
               by reference to Exhibit 4.11 of the Company's Registration Statement on Form S-1/A (File No. 333-217240) filed on May 16, 2017)
                                                                                       1
4.9            Indenture, dated as of September 23, 2016, relating to CSC Holdings' 5 / 2 % Senior Guaranteed Notes due 2027 (incorporated herein by reference to Exhibit
               4.16 of the Company's Registration Statement on Form S-1/A (File No. 333-217240) filed on May 16, 2017)
4.10           Indenture, dated as of January 29, 2018, relating to CSC Holdings, LLC's 5.375% Senior Notes due 2028 (incorporated herein by reference to Exhibit 4.1 of
               the Company's Current Report on Form 8-K (File No. 001-38126) filed on February 2, 2018)
4.11           Indenture, dated as of April 5, 2018, relating to Cequel Communications Holdings I, LLC's and Cequel Capital Corporation's 7.500% Senior Notes due 2028
               (incorporated herein by reference to Exhibit 4.1 of the Company's Current Report on Form 8-K (File No. 001-38126) filed on April 6, 2018)
4.12           2028 Supplemental Indenture, dated as of October 17, 2018, between Cequel Communications Holdings I, LLC and Cequel Capital Corporation, as Co-
               Issuers and Deutsche Bank Trust Company Americas, as Trustee (incorporated herein by reference to Exhibit 4.4 of the Company's Current Report on
               Form 8-K (File No. 001-38126) filed on October 19, 2018)
4.13           Senior Guaranteed Notes Indenture, dated as of November 27, 2018, between, inter alios, CSC Holdings, LLC, as Issuer and Deutsche Bank Trust Company
               Americas, as Trustee (incorporated herein by reference to Exhibit 4.1 of the Company's Current Report on Form 8-K (File No. 001-38126) filed on November
               28, 2018)
4.14           Senior Notes Indenture, dated as of November 27, 2018, between, inter alios, CSC Holdings, LLC, as Issuer and Deutsche Bank Trust Company Americas,
               as Trustee (incorporated herein by reference to Exhibit 4.2 of the Company's Current Report on Form 8-K (File No. 001-38126) filed on November 28, 2018)
4.15           Supplemental Indenture dated as of November 27, 2018, between, inter alios, CSC, as issuer, the guarantors (named therein) and Deutsche Bank Trust
               Company Americas, as trustee, to the 2016 Senior Guaranteed Notes Indenture (incorporated herein by reference to Exhibit 4.4 of the Company's Current
               Report on Form 8-K (File No. 001-38126) filed on November 28, 2018)


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 Exhibit No.                                                                        Exhibit Description
4.16           Supplemental Indenture dated as of November 27, 2018, between, inter alios, CSC, as issuer, the guarantors (named therein) and Deutsche Bank Trust
               Company Americas, as trustee, to the 2018 Senior Guaranteed Notes Indenture (incorporated herein by reference to Exhibit 4.5 of the Company's Current
               Report on Form 8-K (File No. 001-38126) filed on November 28, 2018)
4.17           Joinder Agreement dated as of November 27, 2018, between, inter alios, the additional guarantors (named therein) to the Facility Guaranty (incorporated
               herein by reference to Exhibit 4.6 of the Company's Current Report on Form 8-K (File No. 001-38126) filed on November 28, 2018)
4.18           Joinder Agreement dated as of November 27, 2018, between, inter alios, the additional pledgors (named therein) to the Pledge Agreement (incorporated
               herein by reference to Exhibit 4.7 of the Company's Current Report on Form 8-K (File No. 001-38126) filed on November 28, 2018)
4.19           Indenture, dated as of January 31, 2019 between CSC Holdings, LLC, as Issuer, and Deutsche Bank Trust Company Americas, as Trustee (incorporated
               herein by reference to Exhibit 4.1 of the Company's Current Report on Form 8-K (File No. 001-38126) filed on February 5, 2019)
4.20           Indenture, dated as of July 10, 2019 between CSC Holdings, LLC, as Issuer, and Deutsche Bank Trust Company Americas, as Trustee (incorporated herein
               by reference to Exhibit 4.1 of the Company's Current Report on Form 8-K (File No. 001-38126) filed on July 12, 2019)
4.21           Supplemental Indenture, dated as of November 1, 2019, between, inter alios, CSC Holdings, LLC as successor issuer, Cablevision Systems Corporation as
               original issuer and U.S. Bank National Association, as Trustee, to the Cablevision 2022 Notes Indenture (incorporated herein by reference to Exhibit 4.1 of
               the Company's Current Report on Form 8-K (File No. 001-38126) filed on November 4, 2019)
4.22           Description of common stock registered pursuant to Section 12 of the Securities Exchange Act of 1934 (incorporated herein by reference to Exhibit 4.43 of
               the Company’s Annual Report on Form 10-K (File No. 001-38126) filed on February 14, 2020)
4.23           Senior Notes Indenture, dated as of June 16, 2020 between CSC Holdings, LLC as Issuer, and Deutsche Bank Trust Company Americas, as Trustee
               (incorporated herein by reference to Exhibit 4.1 of the Company's Current Report on Form 8-K (File No. 001-38126) filed on June 16, 2020)
4.24           Senior Guaranteed Notes Indenture, dated as of June 16, 2020 between, inter alios, CSC Holdings, LLC as Issuer, the Guarantors set forth therein and
               Deutsche Bank Trust Company Americas, as Trustee (incorporated herein by reference to Exhibit 4.2 of the Company's Current Report on Form 8-K (File
               No. 001-38126) filed on June 16, 2020)
4.25           Senior Guaranteed Notes Indenture, dated as of August 17, 2020 between inter alios, CSC Holdings, LLC, as Issuer, the Guarantors set forth therein and
               Deutsche Bank Trust Company Americas, as trustee (incorporated herein by reference to Exhibit 4.6 of the Company’s Quarterly Report on Form 10-Q (File
               No. 001- 38126) filed on October 30, 2020.
4.26           Senior Notes Indenture, dated as of September 29, 2020 between Cablevision Lightpath LLC as Issuer, and Deutsche Bank Trust Company Americas, as
               Trustee (incorporated herein by reference to Exhibit 4.1 of the Company's Current Report on Form 8-K (File No. 001-38126) filed on October 1, 2020)
4.27           Senior Secured Notes Indenture, dated as of September 29, 2020 between Cablevision Lightpath LLC, as Issuer, and Deutsche Bank Trust Company
               Americas, as trustee (incorporated herein by reference to Exhibit 4.2 of the Company's Current Report on Form 8-K (File No. 001-38126) filed on October 1,
               2020)
4.28           Senior Notes Indenture, dated as of May 13, 2021 between CSC Holdings, LLC as Issuer, and Deutsche Bank Trust Company Americas, as Trustee.
               (incorporated herein by reference to Exhibit 4.1 of the Company's Current Report on Form 8-K (File No. 001-38126) filed on May 13, 2021)
4.29           Senior Guaranteed Notes Indenture, dated as of May 13, 2021 between, inter alios, CSC Holdings, LLC as Issuer, the Guarantors set forth therein and
               Deutsche Bank Trust Company Americas, as Trustee. (incorporated herein by reference to Exhibit 4.2 of the Company's Current Report on Form 8-K (File
               No. 001-38126) filed on May 13, 2021)




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 Exhibit No.                                                                       Exhibit Description
10.1           Credit Agreement, dated as of October 9, 2015, by and among CSC Holdings, LLC (as successor by merger to Neptune Finco Corp.), as borrower, certain
               lenders party thereto, JPMorgan Chase Bank, N.A., as administrative agent and security agent, Barclays Bank plc and BNP Paribas Securities Corp., as co-
               syndication agents, Credit Agricole Corporate and Investment Bank, Deutsche Bank Securities Inc., Royal Bank of Canada, Societe Generale, TD Securities
               (USA) LLC and the Bank of Nova Scotia, as co-documentation agents, and J.P. Morgan Securities LLC, Barclays Bank plc, BNP Paribas Securities Corp.,
               Credit Agricole Corporate and Investment Bank, Deutsche Bank Securities Inc., Royal Bank of Canada, Societe Generale, TD Securities (USA) LLC and The
               Bank of Nova Scotia, as joint bookrunners and lead arrangers (incorporated herein by reference to Exhibit 10.1 of the Company’s Registration Statement on
               Form S-1/A (File No. 333-217240) filed on May 16, 2017)
10.2           First Amendment to Credit Agreement, dated as of June 20, 2016 (incorporated herein by reference to Exhibit 10.2 of the Company’s Registration Statement
               on Form S-1/A (File No. 333-217240) filed on May 16, 2017)
10.3           Incremental Loan Assumption Agreement, dated as of June 21, 2016 (incorporated herein by reference to Exhibit 10.3 of the Company’s Registration
               Statement on Form S-1/A (File No. 333-217240) filed on May 16, 2017)
10.4           Incremental Loan Assumption Agreement, dated as of July 21, 2016 (incorporated herein by reference to Exhibit 10.4 of the Company’s Registration
               Statement on Form S-1/A (File No. 333-217240) filed on May 16, 2017)
10.5           Second Amendment to Credit Agreement (Extension Amendment), dated as of September 9, 2016 (incorporated herein by reference to Exhibit 10.5 of the
               Company’s Registration Statement on Form S-1/A (File No. 333-217240) filed on May 16, 2017)
10.6           Third Amendment to Credit Agreement (Extension Amendment, Incremental Loan Assumption Agreement & Assignment and Acceptance), dated as of
               December 9, 2016 (incorporated herein by reference to Exhibit 10.6 of the Company’s Registration Statement on Form S-1/A (File No. 333-217240) filed on
               May 16, 2017)
10.7           Fourth Amendment to Credit Agreement (Incremental Loan Assumption Agreement & Refinancing Amendment), dated as of March 15, 2017 (incorporated
               herein by reference to Exhibit 10.7 of the Company’s Registration Statement on Form S-1/A (File No. 333-217240) filed on May 16, 2017)
10.8           Facility Guaranty, dated as of June 21, 2016, by and among the guarantors party thereto and JPMorgan Chase Bank, N.A. (incorporated herein by reference
               to Exhibit 10.8 of the Company’s Registration Statement on Form S-1/A (File No. 333-217240) filed on May 16, 2017)
10.9           Pledge Agreement, dated as of June 21, 2016, by and among CSC Holdings, LLC, certain pledgors party thereto and JPMorgan Chase Bank, N.A.
               (incorporated herein by reference to Exhibit 10.9 of the Company’s Registration Statement on Form S-1/A (File No. 333-217240) filed on May 16, 2017
10.10          Fifth Amendment to Credit Agreement, dated as of January 12, 2018, by and among the Borrower, the Additional Lenders and Lead Arrangers party thereto
               and JPMorgan Chase Bank, N.A. as Administrative Agent (incorporated herein by reference to Exhibit 10.1 of the Company’s Current Report on Form 8-K
               (File No. 001-38126) filed on January 16, 2018)
10.11          Sixth Amendment, dated as of October 15, 2018, between, inter alios, CSC Holdings, LLC as Borrower, Goldman Sachs Bank USA as Additional Lender
               and JPMorgan Chase Bank, N.A. as Administrative Agent (incorporated herein by reference to Exhibit 4.11 of the Company's Current Report on Form 8-K
               (File No. 001-38126) filed on October 19, 2018)
10.12          Seventh Amendment to Credit Agreement, dated as of January 24, 2019, by and among the Borrower, each of the other Loan Parties, the Lenders and
               JPMorgan Chase Bank, N.A. as the Administrative Agent (incorporated herein by reference to Exhibit 10.1 of the Company’s Current Report on Form 8-K
               (File No. 001-38126) filed on January 30, 2019)
10.13          Eighth Amendment to Credit Agreement, dated as of February 7, 2019, by and among the Borrower, each of the other Loan Parties, the February 2019
               Incremental Term Loan Lenders party thereto and JPMorgan Chase Bank, N.A. as the Administrative Agent (incorporated herein by reference to Exhibit 10.1
               of the Company’s Current Report on Form 8-K (File No. 001-38126) filed on February 8, 2019)


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 Exhibit No.                                                                       Exhibit Description
10.14          Eleventh Amendment to Credit Agreement, dated as of October 3, 2019, by and among the Borrower, each of the other Loan Parties, the Additional Lenders
               party thereto and JPMorgan Chase Bank, N.A. as the Administrative Agent (incorporated herein by reference to Exhibit 10.1 of the Company’s Current
               Report on Form 8-K (File No. 001-38126) filed on October 7, 2019)
10.15          Twelfth Amendment to Credit Agreement, dated as of July 13, 2022, by and among the Borrower, each of the other Loan Parties, the Lenders party thereto
               and JPMorgan Chase Bank, N.A. as the Administrative Agent. (incorporated herein by reference to Exhibit 10.1 of the Company's Current Report on Form 8-
               K (File No. 001-38126) filed on July 13, 2022)
10.16          Thirteenth Amendment to Credit Agreement, dated as of December 19, 2022, by and among the Borrower, each of the other Loan Parties, the Lenders party
               thereto and JPMorgan Chase Bank, N.A. as the Administrative Agent. (incorporated herein by reference to Exhibit 10.1 of the Company's Current Report on
               Form 8-K (File No. 001-38126) filed on December 19, 2022)
10.17          Credit Agreement, dated as of September 29, 2020 between Cablevision Lightpath LLC, as Borrower, the Lenders party thereto, Goldman Sachs Bank USA
               as administrative agent and Deutsche Bank Trust Company Americas as collateral agent (incorporated herein by reference to Exhibit 4.3 of the Company's
               Current Report on Form 8-K (File No. 001-38126) filed on October 1, 2020)
10.18          Altice USA Short Term Incentive Compensation Plan (incorporated herein by reference to Exhibit 10.21 of the Company's Registration Statement on Form S-
               1/A (File No. 333-217240) filed on June 12, 2017)
10.19          Altice USA 2017 Long Term Incentive Plan, as amended (incorporated herein by reference to Exhibit 99.1 of the Company's Registration Statement on Form
               S-8 (File No. 333-228907) filed on December 19, 2018)
10.20          Altice USA 2017 Long Term Incentive Plan, Form of Nonqualified Stock Option Award Agreement (incorporated herein by reference to Exhibit 99.1 of the
               Company’s Current Report on Form 8-K (File No. 001-38126) filed on January 3, 2018)
10.21          Altice USA 2017 Long Term Incentive Plan, Form of Performance-Based Nonqualified Stock Option Award Agreement (incorporated herein by reference to
               Exhibit 10.25 of the Company’s Annual Report on Form 10-K (File No. 001-38126) filed on March 6, 2018)
10.22          Master Separation Agreement, dated as of May 18, 2018, by and between Altice USA, Inc. and Altice N.V.(incorporated herein by reference to Exhibit 10.25
               of the Company's Registration Statement on Form S-1/A (File No. 333-222475) filed on May 21, 2018)
10.23          Transition Agreement and Separation Agreement, dated April 8, 2019, by and between Altice USA, Inc. and David Connolly (incorporated herein by
               reference to Exhibit 10.1 of the Company’s Quarterly Report on Form 10-Q (File No. 001-38126) filed on July 31, 2019)
10.24          Separation Agreement, dated October 28, 2019, by and between Altice USA, Inc. and Charles Stewart (incorporated herein by reference to Exhibit 10.21 of
               the Company’s Annual Report on Form 10-K (File No. 001-38126) filed on February 14, 2020)
10.25          Restriction Agreement, dated December 31, 2019, by and between Altice USA, Inc. and Dexter Goei (incorporated herein by reference to Exhibit 10.22 of
               the Company’s Annual Report on Form 10-K (File No. 001-38126) filed on February 14, 2020)
10.26          Altice USA 2017 Long Term Incentive Plan, Form of Nonqualified Stock Option Award Agreement (incorporated herein by reference to Exhibit 99.1 of the
               Company’s Form 10-Q (File No. 001-38126) filed on May 1, 2020)
10.27          Altice USA 2017 Long Term Incentive Plan, Form of Performance-Based Nonqualified Stock Option Award Agreement (incorporated herein by reference to
               Exhibit 99.2 of the Company’s Form 10-Q (File No. 001-38126) filed on May 1, 2020)
10.28          Altice USA 2017 Long Term Incentive Plan, as amended (incorporated herein by reference to Exhibit 99.1 of the Company's Form S-8 (File No. 333-
               239085) filed on June 10, 2020)
10.29          Transition Agreement and Separation Agreement with Abdelhakim Boubazine (incorporated herein by reference to Exhibit 10.1 of the Company’s Form 10-
               Q (File No. 001-38126) filed on November 5, 2021)
10.30          Altice USA 2017 Long Term Incentive Plan, Form of Nonqualified Stock Option Award Agreement (incorporated herein by reference to Exhibit 10.1 of the
               Company's Current Report on Form 8-K (File No. 001-38126) filed on December 30, 2021)
10.31          Altice USA 2017 Long Term Incentive Plan, Form of Restricted Stock Unit Award Agreement (incorporated herein by reference to Exhibit 10.2 of the
               Company's Current Report on Form 8-K (File No. 001-38126) filed on December 30, 2021)


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    Exhibit No.                                                                         Exhibit Description
10.32              Executive Employment Agreement, dated September 7, 2022, by and between Altice USA, Inc. and Dennis Mathew. (incorporated herein by reference to
                   Exhibit 10.1 of the Company’s Form 10-Q (File No. 001-38126) filed on November 2, 2022)
10.33              Transition Agreement, dated September 6, 2022, between Altice USA, Inc. and Dexter Goei. (incorporated herein by reference to Exhibit 10.2 of the
                   Company’s Form 10-Q (File No. 001-38126) filed on November 2, 2022)
21*                List of subsidiaries of the Registrant.
23.1*              Consent of Independent Registered Public Accounting Firm.
31.1*              Section 302 Certification of the CEO.
31.2*              Section 302 Certification of the CFO.
32*                Section 906 Certifications of the CEO and CFO.
101                The following financial statements of Altice USA, Inc. included in the Altice USA Form 10-K for the year ended December 31, 2022, filed with the Securities
                   and Exchange Commission on February 22, 2023, formatted in iXBRL (inline eXtensible Business Reporting Language): (i) the Consolidated Balance Sheets;
                   (ii) the Consolidated Statements of Operations; (iii) the Consolidated Statements of Comprehensive Income; (iv) the Consolidated Statements of Stockholders'
                   Equity (Deficiency); (v) the Consolidated Statements of Cash Flows; and (vi) the Combined Notes to Consolidated Financial Statements.
104*               The cover page from this annual report on Form 10-K formatted in Inline XBRL.

+     Shares of Class A common stock and Class B common stock of the Company are issued in uncertificated form. Therefore, the Company has not filed specimen Class A
          common stock or Class B common stock certificates. Reference is made to Exhibits 3.1 and 3.2 hereto.
*    Filed herewith.



Item 16.          Form 10-K Summary
None.


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                                                                               SIGNATURES
Pursuant to the requirements of the Securities Exchange Act of 1934, as amended, the Registrant has duly caused this report to be signed on its behalf by the undersigned,
thereunto duly authorized on the 22nd day of February, 2023.
               Altice USA, Inc.

By:            /s/ Michael J. Grau
Name:          Michael J. Grau
Title:         Chief Financial Officer
                                                                        POWER OF ATTORNEY
KNOW ALL MEN BY THESE PRESENTS, that each person whose signature appears below constitutes and appoints Michael J. Grau and Michael E. Olsen, and each of them,
his true and lawful attorneys-in-fact and agents, with full power of substitution and resubstitution, for him in his name, place and stead, in any and all capacities, to sign this
report, and file the same, with all exhibits thereto, and other documents in connection therewith, with the Securities and Exchange Commission, granting unto said attorneys-in-
fact and agents, full power and authority to do and perform each and every act and thing requisite and necessary to be done as fully to all intents and purposes as he might or
could do in person, hereby ratifying and confirming all that said attorneys-in-fact and agents or any of them may lawfully do or cause to be done by virtue hereof.
Pursuant to the requirements of the Securities Exchange Act of 1934, as amended, this report has been signed below by the following persons in the capacities and on the dates
indicated on behalf of the Registrant.

Signature                                                    Title                                                                                Date
/s/ Dennis Mathew                                            Chief Executive Officer                                                              February 22, 2023
Dennis Mathew                                                (Principal Executive Officer)
/s/ Michael J. Grau                                          Chief Financial Officer                                                              February 22, 2023
Michael J. Grau                                              (Principal Financial Officer)
/s/ Maria Bruzzese                                           Senior Vice President and Chief Accounting Officer                                   February 22, 2023
Maria Bruzzese                                               (Principal Accounting Officer)
/s/ Dexter Goei                                              Executive Chairman and Director                                                      February 22, 2023
Dexter Goei
/s/ Gerrit Jan Bakker                                        Director                                                                             February 22, 2023
Gerrit Jan Bakker
/s/ David Drahi                                              Director                                                                             February 22, 2023
David Drahi
/s/ Patrick Drahi                                            Director                                                                             February 22, 2023
Patrick Drahi

/s/ Mark Mullen                                              Director                                                                             February 22, 2023
Mark Mullen

/s/ Dennis Okhuijsen                                         Director                                                                             February 22, 2023
Dennis Okhuijsen
/s/ Susan C. Schnabel                                        Director                                                                             February 22, 2023
Susan C. Schnabel
/s/ Charles Stewart                                          Director                                                                             February 22, 2023
Charles Stewart

/s/ Raymond Svider                                           Director                                                                             February 22, 2023
Raymond Svider


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Reports of Independent Registered Public Accounting Firm                                                                 F-2
   Auditor Name: KPMG LLP
   Auditor Location: New York, New York
   Auditor Firm ID: 185
ALTICE USA, INC. AND SUBSIDIARIES
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                                                           Report of Independent Registered Public Accounting Firm


To the Stockholders and Board of Directors
Altice USA, Inc.
Opinion on Internal Control Over Financial Reporting
We have audited Altice USA and subsidiaries' (the Company) internal control over financial reporting as of December 31, 2022, based on criteria established in Internal Control
– Integrated Framework (2013) issued by the Committee of Sponsoring Organizations of the Treadway Commission. In our opinion, the Company maintained, in all material
respects, effective internal control over financial reporting as of December 31, 2022, based on criteria established in Internal Control – Integrated Framework (2013) issued by
the Committee of Sponsoring Organizations of the Treadway Commission.
We also have audited, in accordance with the standards of the Public Company Accounting Oversight Board (United States) (PCAOB), the consolidated balance sheets of the
Company as of December 31, 2022 and 2021, the related consolidated statements of operations, comprehensive income, stockholders’ equity (deficiency), and cash flows for
each of the years in the three-year period ended December 31, 2022, and the related notes (collectively, the consolidated financial statements), and our report dated February 22,
2023 expressed an unqualified opinion on those consolidated financial statements.
Basis for Opinion
The Company’s management is responsible for maintaining effective internal control over financial reporting and for its assessment of the effectiveness of internal control over
financial reporting, included in the accompanying Management's Annual Report on Internal Control Over Financial Reporting. Our responsibility is to express an opinion on the
Company’s internal control over financial reporting based on our audit. We are a public accounting firm registered with the PCAOB and are required to be independent with
respect to the Company in accordance with the U.S. federal securities laws and the applicable rules and regulations of the Securities and Exchange Commission and the
PCAOB.
We conducted our audit in accordance with the standards of the PCAOB. Those standards require that we plan and perform the audit to obtain reasonable assurance about
whether effective internal control over financial reporting was maintained in all material respects. Our audit of internal control over financial reporting included obtaining an
understanding of internal control over financial reporting, assessing the risk that a material weakness exists, and testing and evaluating the design and operating effectiveness of
internal control based on the assessed risk. Our audit also included performing such other procedures as we considered necessary in the circumstances. We believe that our audit
provides a reasonable basis for our opinion.
Definition and Limitations of Internal Control Over Financial Reporting
A company’s internal control over financial reporting is a process designed to provide reasonable assurance regarding the reliability of financial reporting and the preparation of
financial statements for external purposes in accordance with generally accepted accounting principles. A company’s internal control over financial reporting includes those
policies and procedures that (1) pertain to the maintenance of records that, in reasonable detail, accurately and fairly reflect the transactions and dispositions of the assets of the
company; (2) provide reasonable assurance that transactions are recorded as necessary to permit preparation of financial statements in accordance with generally accepted
accounting principles, and that receipts and expenditures of the company are being made only in accordance with authorizations of management and directors of the company;
and (3) provide reasonable assurance regarding prevention or timely detection of unauthorized acquisition, use, or disposition of the company’s assets that could have a material
effect on the financial statements.
Because of its inherent limitations, internal control over financial reporting may not prevent or detect misstatements. Also, projections of any evaluation of effectiveness to
future periods are subject to the risk that controls may become inadequate because of changes in conditions, or that the degree of compliance with the policies or procedures
may deteriorate.


/s/ KPMG LLP
New York, New York
February 22, 2023




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                                                          Report of Independent Registered Public Accounting Firm

To the Stockholders and Board of Directors
Altice USA, Inc.:
Opinion on the Consolidated Financial Statements
We have audited the accompanying consolidated balance sheets of Altice USA, Inc. and subsidiaries (the Company) as of December 31, 2022 and 2021, the related
consolidated statements of operations, comprehensive income, stockholders’ equity (deficiency), and cash flows for each of the years in the three-year period ended December
31, 2022, and the related notes (collectively, the consolidated financial statements). In our opinion, the consolidated financial statements present fairly, in all material respects,
the financial position of the Company as of December 31, 2022 and 2021, and the results of its operations and its cash flows for each of the years in the three-year period ended
December 31, 2022, in conformity with U.S. generally accepted accounting principles.
We also have audited, in accordance with the standards of the Public Company Accounting Oversight Board (United States) (PCAOB), the Company’s internal control over
financial reporting as of December 31, 2022, based on criteria established in Internal Control – Integrated Framework (2013) issued by the Committee of Sponsoring
Organizations of the Treadway Commission, and our report dated February 22, 2023 expressed an unqualified opinion on the effectiveness of the Company’s internal control
over financial reporting.
Basis for Opinion
These consolidated financial statements are the responsibility of the Company’s management. Our responsibility is to express an opinion on these consolidated financial
statements based on our audits. We are a public accounting firm registered with the PCAOB and are required to be independent with respect to the Company in accordance with
the U.S. federal securities laws and the applicable rules and regulations of the Securities and Exchange Commission and the PCAOB.
We conducted our audits in accordance with the standards of the PCAOB. Those standards require that we plan and perform the audit to obtain reasonable assurance about
whether the consolidated financial statements are free of material misstatement, whether due to error or fraud. Our audits included performing procedures to assess the risks of
material misstatement of the consolidated financial statements, whether due to error or fraud, and performing procedures that respond to those risks. Such procedures included
examining, on a test basis, evidence regarding the amounts and disclosures in the consolidated financial statements. Our audits also included evaluating the accounting principles
used and significant estimates made by management, as well as evaluating the overall presentation of the consolidated financial statements. We believe that our audits provide a
reasonable basis for our opinion.
Critical Audit Matter
The critical audit matter communicated below is a matter arising from the current period audit of the consolidated financial statements that was communicated or required to be
communicated to the audit committee and that: (1) relates to accounts or disclosures that are material to the consolidated financial statements and (2) involved our especially
challenging, subjective, or complex judgments. The communication of a critical audit matter does not alter in any way our opinion on the consolidated financial statements,
taken as a whole, and we are not, by communicating the critical audit matter below, providing a separate opinion on the critical audit matter or on the accounts or disclosures to
which it relates.
       Evaluation of Residential and SMB Revenue
       As discussed in Note 2 to the consolidated financial statements, the Company earns revenue from both residential and small and medium-sized business (“SMB”)
       customers. This revenue is derived primarily from monthly subscription charges for its broadband, video, and telephony services. Revenue is recognized as the services are
       provided to a customer on a monthly basis.

       We identified the evaluation of the sufficiency of audit evidence over residential and SMB revenue as a critical audit matter. Subjective auditor judgement was required in
       evaluation the sufficiency of audit evidence due to the number of related information technology (“IT”) systems. Specifically, obtaining an understanding of the systems,
       databases, and processes used in the Company’s recognition of residential and SMB revenue and evaluating the related internal controls required significant auditor effort,
       including specialized knowledge related to IT.
       The following are the primary procedures we performed to address this critical audit matter. We applied auditor judgement to determine the nature and extent of procedures
       to be performed over residential and SMB revenue,




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      including assessing contractual terms and conditions and customer credits, including those issued subsequent to December 31, 2022. We evaluated the design and tested
      the operating effectiveness of certain internal controls related to the Company’s residential and SMB revenue recognition processes, including general and application IT
      controls. We involved IT professionals with specialized skills and knowledge, who assisted in testing certain IT systems that are used by the Company in its recognition of
      residential and SMB revenue. To assess the revenue recognized during the year, we developed an expectation of revenue recorded based on cash received during the year.
      The assessment included the evaluation of the relevance and reliability of internal data and cash received. We evaluated the sufficiency of audit evidence obtained by
      assessing the results of procedures performed including the appropriateness of the nature and extent of such evidence.


/s/ KPMG LLP

We have served as the Company’s auditor since 2016.
New York, New York
February 22, 2023




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                                                          Report of Independent Registered Public Accounting Firm


To the Member and Board of Directors
CSC Holdings, LLC:
Opinion on the Consolidated Financial Statements
We have audited the accompanying consolidated balance sheets of CSC Holdings, LLC and subsidiaries (the Company) as of December 31, 2022 and 2021, the related
consolidated statements of operations, comprehensive income, changes in total member’s equity (deficiency), and cash flows for each of the years in the three‑year period ended
December 31, 2022, and the related notes (collectively, the consolidated financial statements). In our opinion, the consolidated financial statements present fairly, in all material
respects, the financial position of the Company as of December 31, 2022 and 2021, and the results of its operations and its cash flows for each of the years in the three‑year
period ended December 31, 2022, in conformity with U.S. generally accepted accounting principles.
Basis for Opinion
These consolidated financial statements are the responsibility of the Company’s management. Our responsibility is to express an opinion on these consolidated financial
statements based on our audits. We are a public accounting firm registered with the Public Company Accounting Oversight Board (United States) (PCAOB) and are required to
be independent with respect to the Company in accordance with the U.S. federal securities laws and the applicable rules and regulations of the Securities and Exchange
Commission and the PCAOB.
We conducted our audits in accordance with the standards of the PCAOB and in accordance with auditing standards generally accepted in the United States of America. Those
standards require that we plan and perform the audit to obtain reasonable assurance about whether the consolidated financial statements are free of material misstatement,
whether due to error or fraud. Our audits included performing procedures to assess the risks of material misstatement of the consolidated financial statements, whether due to
error or fraud, and performing procedures that respond to those risks. Such procedures included examining, on a test basis, evidence regarding the amounts and disclosures in the
consolidated financial statements. Our audits also included evaluating the accounting principles used and significant estimates made by management, as well as evaluating the
overall presentation of the consolidated financial statements. We believe that our audits provide a reasonable basis for our opinion.
Critical Audit Matter
The critical audit matter communicated below is a matter arising from the current period audit of the consolidated financial statements that was communicated or required to be
communicated to the audit committee and that: (1) relates to accounts or disclosures that are material to the consolidated financial statements and (2) involved our especially
challenging, subjective, or complex judgments. The communication of the critical audit matter does not alter in any way our opinion on the consolidated financial statements,
taken as a whole, and we are not, by communicating the critical audit matter below, providing a separate opinion on the critical audit matter or on the accounts or disclosures to
which it relates.
        Evaluation of residential and SMB revenue
        As discussed in Note 2 to the consolidated financial statements, the Company earns revenue from both residential and small and medium-sized business (“SMB”)
        customers. This revenue is derived primarily from monthly subscription charges for its broadband, video, and telephony services. Revenue is recognized as the services
        are provided to a customer on a monthly basis.
        We identified the evaluation of the sufficiency of audit evidence over residential and SMB revenue as a critical audit matter. Subjective auditor judgment was required in
        evaluating the sufficiency of audit evidence due to the number of related information technology (“IT”) systems. Specifically, obtaining an understanding of the systems,
        databases, and processes used in the Company’s recognition of residential and SMB revenue and evaluating the related internal controls required significant auditor effort,
        including specialized knowledge related to IT.
       The following are the primary procedures we performed to address this critical audit matter. We applied auditor judgement to determine the nature and extent of procedures
       to be performed over residential and SMB revenue, including assessing contractual terms and conditions and customer credits, including those issued subsequent to
       December 31, 2022. We evaluated the design and tested the operating effectiveness of certain internal controls related to the Company’s residential and SMB revenue
       recognition processes, including




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      general and application IT controls. We involved IT professionals with specialized skills and knowledge, who assisted in testing certain IT systems that are used by the
      Company in its recognition of residential and SMB revenue. To assess the revenue recognized during the year, we developed an expectation of revenue recorded based on
      cash received during the year. The assessment included the evaluation of the relevance and reliability of internal data and cash received. We evaluated the sufficiency of
      audit evidence obtained by assessing the results of procedures performed including the appropriateness of the nature and extent of such evidence.


/s/ KPMG LLP

We have served as the Company’s auditor since 2016.
New York, New York
February 22, 2023




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                                              USA, INC. AND SUBSIDIARIES
                                                        581 SHEETS
                                        CONSOLIDATED BALANCE
                                                                                            (In thousands)


                                                                                                                                                    December 31,
                                                                                                                                         2022                      2021
ASSETS
Current Assets:
 Cash and cash equivalents                                                                                                           $            305,484   $             195,711
 Restricted cash                                                                                                                                      267                     264
 Accounts receivable, trade (less allowance for doubtful accounts of $ 20,767 and $ 27,931, respectively)                                         365,992                 406,952
 Prepaid expenses and other current assets ($ 572 and $ 3,776 due from affiliates, respectively)                                                  130,684                 183,714
 Derivative contracts                                                                                                                             263,873                   2,993
 Investment securities pledged as collateral                                                                                                    1,502,145                      —
     Total current assets                                                                                                                       2,568,445                 789,634
Property, plant and equipment, net of accumulated depreciation of $ 7,785,397 and $ 7,142,852, respectively                                  7,500,780                 6,340,467
Right-of-use operating lease assets                                                                                                            250,601                   222,124
Investment securities pledged as collateral                                                                                                         —                  2,161,937
Other assets                                                                                                                                   259,681                    76,653
Amortizable intangibles, net of accumulated amortization of $ 5,549,674 and $ 5,051,149, respectively                                        1,660,331                 2,202,001
Indefinite-lived cable television franchises                                                                                                13,216,355                13,216,355
Goodwill                                                                                                                                     8,208,773                 8,205,863
     Total assets                                                                                                                    $      33,664,966      $         33,215,034
LIABILITIES AND STOCKHOLDERS' DEFICIENCY
Current Liabilities:
  Accounts payable                                                                                                                   $      1,213,806       $         1,023,045
  Interest payable                                                                                                                            252,351                   244,934
  Accrued employee related costs                                                                                                              139,328                   124,941
  Deferred revenue                                                                                                                             80,559                    94,943
  Debt                                                                                                                                      2,075,077                   917,313
  Other current liabilities ($20,857 and $31,810 due to affiliates, respectively)                                                             278,580                   329,943
     Total current liabilities                                                                                                              4,039,701                 2,735,119
Other liabilities                                                                                                                             274,623                   159,082
Deferred tax liability                                                                                                                      5,081,661                 5,048,129
Liabilities under derivative contracts                                                                                                             —                    276,933
Right-of-use operating lease liability                                                                                                        260,237                   237,226
Long-term debt, net of current maturities                                                                                                  24,512,656                25,629,447
  Total liabilities                                                                                                                        34,168,878                34,085,936
Commitments and contingencies (Note 17)
Stockholders' Deficiency:
  Preferred stock, $0.01 par value, 100,000,000 shares authorized, no shares issued and
     outstanding                                                                                                                                      —                       —
  Class A common stock: $0.01 par value, 4,000,000,000 shares authorized, 271,851,984 and 271,833,063 issued and outstanding as of
     December 31, 2022 and 270,341,685 and 270,320,798 shares issued and outstanding as of December 31, 2021                                       2,719                   2,703
 Class B common stock: $0.01 par value, 1,000,000,000 shares authorized, 490,086,674 issued, 184,329,229 shares outstanding as of
   December 31, 2022 and 184,333,342 shares outstanding as of December 31, 2021                                                                    1,843                   1,843
 Class C common stock: $0.01 par value, 4,000,000,000 shares authorized, no shares
    issued and outstanding                                                                                                                         —                         —
 Paid-in capital                                                                                                                              182,701                    18,005
 Accumulated deficit                                                                                                                         (654,273)                 (848,836)
                                                                                                                                             (467,010)                 (826,285)
 Treasury stock, at cost (18,921 and 20,887 Class A common shares at December 31, 2022 and 2021, respectively)                                     —                         —
 Accumulated other comprehensive income (loss)                                                                                                 (8,201)                    6,497
Total Altice USA stockholders' deficiency                                                                                                    (475,211)                 (819,788)
Noncontrolling interests                                                                                                                      (28,701)                  (51,114)
Total stockholders' deficiency                                                                                                               (503,912)                 (870,902)
Total liabilities and stockholders' deficiency                                                                                       $     33,664,966       $        33,215,034

                                                                     See accompanying notes to consolidated financial statements.



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                                                                   ALTICE USA, INC. AND SUBSIDIARIES
                                                              CONSOLIDATED STATEMENTS OF OPERATIONS
                                                               Years ended December 31, 2022, 2021 and 2020
                                                                 (In thousands, except per share amounts)
                                                                                                                               2022               2021              2020
Revenue (including revenue from affiliates of $2,368, $13,238 and $14,729, respectively) (See Note 16)                     $     9,647,659    $   10,090,849    $    9,894,642
Operating expenses:
 Programming and other direct costs (including charges from affiliates of $14,321, $17,167 and $13,346, respectively) (See
   Note 16)                                                                                                                      3,205,638         3,382,129         3,340,442
 Other operating expenses (including charges from affiliates of $12,210, $11,989 and $11,869, respectively) (See Note 16)        2,735,469         2,379,765         2,264,473
 Restructuring expense and other operating items                                                                                   130,285            17,176            91,073
 Depreciation and amortization (including impairments)                                                                           1,773,673         1,787,152         2,083,365
                                                                                                                                 7,845,065         7,566,222         7,779,353
Operating income                                                                                                                 1,802,594         2,524,627         2,115,289
Other income (expense):
 Interest expense, net                                                                                                          (1,331,636)       (1,266,591)       (1,350,341)
 Gain (loss) on investments, net                                                                                                  (659,792)          (88,898)          320,061
 Gain (loss) on derivative contracts, net                                                                                          425,815            85,911          (178,264)
 Gain (loss) on interest rate swap contracts, net                                                                                  271,788            92,735           (78,606)
 Loss on extinguishment of debt and write-off of deferred financing costs                                                             (575)          (51,712)         (250,489)
 Other income, net                                                                                                                   8,535             9,835             5,577
                                                                                                                                (1,285,865)       (1,218,720)       (1,532,062)
Income before income taxes                                                                                                         516,729         1,305,907           583,227
  Income tax expense                                                                                                              (295,840)         (294,975)         (139,748)
Net income                                                                                                                         220,889         1,010,932           443,479
Net income attributable to noncontrolling interests                                                                                (26,326)          (20,621)           (7,296)
Net income attributable to Altice USA, Inc. stockholders                                                                  $        194,563    $      990,311    $      436,183
Income per share:
  Basic income per share                                                                                                  $           0.43    $         2.16    $         0.75
 Basic weighted average common shares (in thousands)                                                                              453,244           458,311           581,057

 Diluted income per share                                                                                                 $           0.43    $         2.14    $         0.75
 Diluted weighted average common shares (in thousands)                                                                            453,282           462,295           583,689
Cash dividends declared per common share                                                                                  $             —     $           —     $           —


                                                             See accompanying notes to consolidated financial statements.




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                                                              ALTICE USA, INC. AND SUBSIDIARIES
                                                     CONSOLIDATED STATEMENTS OF COMPREHENSIVE INCOME
                                                          Years ended December 31, 2022, 2021 and 2020
                                                                         (In thousands)

                                                                                                                           2022              2021               2020
Net income                                                                                                        $           220,889    $     1,010,932    $      443,479
Other comprehensive income (loss):
 Defined benefit pension plans                                                                                                (20,526)             4,772            12,333
 Applicable income taxes                                                                                                        5,537             (1,259)           (3,270)
   Defined benefit pension plans, net of income taxes                                                                         (14,989)             3,513             9,063
   Foreign currency translation adjustment                                                                                        291               (662)           (2,167)
Other comprehensive income (loss)                                                                                             (14,698)             2,851             6,896
Comprehensive income                                                                                                          206,191          1,013,783           450,375
Comprehensive income attributable to noncontrolling interests                                                                 (26,326)           (20,621)           (7,296)
Comprehensive income attributable to Altice USA, Inc. stockholders                                                $           179,865    $       993,162    $      443,079


                                                            See accompanying notes to consolidated financial statements.




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                                                                 ALTICE USA, INC. AND SUBSIDIARIES
                                                  CONSOLIDATED STATEMENTS OF STOCKHOLDERS' EQUITY (DEFICIENCY)
                                                             Years ended December 31, 2022, 2021 and 2020
                                                                            (In thousands)
                                                                                                                                                    Total
                                                                                           Retained                        Accumulated           Altice USA
                                      Class A           Class B                            Earnings                           Other             Stockholders'           Non-              Total
                                      Common           Common          Paid-in           (Accumulated      Treasury       Comprehensive            Equity            controlling         Equity
                                       Stock             Stock         Capital              Deficit)        Stock         Income (Loss)         (Deficiency)          Interests        (Deficiency)
Balance at January 1, 2020        $      4,572     $      1,862    $   2,039,918     $        390,766     $ (163,904) $           (3,250)   $       2,269,964    $         9,298   $      2,279,262
Net income attributable to
  Altice USA stockholders                   —                —                   —            436,183             —                   —               436,183                 —             436,183
Net income attributable to
  noncontrolling interests                  —                —                   —                  —             —                   —                    —               7,296              7,296
Contributions from
  noncontrolling interests                  —                —                   —                  —                                 —                    —             12,498              12,498
Pension liability adjustments,
  net of income taxes                       —                —                   —                  —             —                9,063                9,063                 —               9,063
Foreign currency translation
  adjustment, net of income
  taxes                                     —                —                   —                  —             —               (2,167)              (2,167)                —              (2,167)
Share-based compensation
  expense (equity classified)               —                —           122,811                    —             —                   —               122,811                 —             122,811
Redeemable equity vested                                                  96,918                                  —                                    96,918                 —              96,918
Change in redeemable equity                 —                —           (14,130)                   —             —                   —               (14,130)                —             (14,130)
Conversion of Class B to Class
  A shares                                   3               (3)                 —                  —             —                   —                    —                  —                  —
Issuance of common shares
   pursuant to employee long
   term incentive plan                       9               —            15,705                    —             38                  —                15,752                —               15,752
Impact of the sale of Lightpath             —                —           741,471                    —             —                   —               741,471           (91,201)            650,270
Class A shares acquired
   through share repurchase
   program and retired                  (1,612)              —         (3,002,693)          (1,812,590)           —                   —            (4,816,895)               —           (4,816,895)
Balance at December 31, 2020 $           2,972     $      1,859    $           — $            (985,641)   $ (163,866) $            3,646    $      (1,141,030)   $      (62,109)   $     (1,203,139)

                                                                   See accompanying notes to consolidated financial statements.



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                                                        ALTICE USA, INC. AND SUBSIDIARIES
                                     CONSOLIDATED STATEMENTS OF STOCKHOLDERS' EQUITY (DEFICIENCY) (continued)
                                                    Years ended December 31, 2022, 2021 and 2020
                                                                   (In thousands)
                                                                                                                                       Total
                                                                                Retained                      Accumulated           Altice USA
                                    Class A        Class B                      Earnings                         Other             Stockholders'         Non-             Total
                                    Common        Common        Paid-in       (Accumulated      Treasury     Comprehensive            Equity          controlling        Equity
                                     Stock          Stock       Capital          Deficit)         Stock      Income (Loss)         (Deficiency)        Interests       (Deficiency)
Balance at January 1, 2021        $    2,972    $     1,859   $         —   $      (985,641)   $ (163,866) $           3,646     $    (1,141,030)   $     (62,109)   $   (1,203,139)
Net income attributable to
  Altice USA stockholders                 —             —              —            990,311            —                     —          990,311               —             990,311
Net income attributable to
  noncontrolling interests                —             —              —                 —             —                     —                —           20,621             20,621
Distributions to noncontrolling
  interests                               —             —              —                 —             —                     —                —          (14,004)           (14,004)
Pension liability adjustments,
  net of income taxes                     —             —              —                 —             —                3,513              3,513              —               3,513
Foreign currency translation
  adjustment, net of income
  taxes                                   —             —              —                 —             —                 (662)             (662)              —                (662)
Share-based compensation
  expense (equity classified)             —             —          17,990            79,521            —                     —           97,511               —              97,511
Redeemable equity vested                  —             —              —             23,749            —                     —           23,749               —              23,749
Change in redeemable equity               —             —              —              2,014            —                     —            2,014               —               2,014
Class A shares acquired
  through share repurchase
  program and retired                  (236)            —              —           (804,692)           —                     —         (804,928)              —            (804,928)
Conversion of Class B to Class
  A shares                                16           (16)            —                 —             —                     —                —               —                  —
Retirement of treasury stock
  and issuance of common
  shares pursuant to employee
  LTIP                                   (49)           —              15          (149,932)       163,866                 —             13,900               —              13,900
Other                                     —             —              —             (4,166)            —                  —             (4,166)           4,378                212
Balance at December 31, 2021 $         2,703    $    1,843    $    18,005   $      (848,836)   $        —    $          6,497    $     (819,788)    $    (51,114)    $     (870,902)


                                                              See accompanying notes to consolidated financial statements.




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                                                         ALTICE USA, INC. AND SUBSIDIARIES
                                      CONSOLIDATED STATEMENTS OF STOCKHOLDERS' EQUITY (DEFICIENCY) (continued)
                                                     Years ended December 31, 2022, 2021 and 2020
                                                                    (In thousands)
                                                                                                                                       Total
                                                                              Retained                       Accumulated            Altice USA
                                    Class A      Class B                      Earnings                          Other              Stockholders'         Non-             Total
                                    Common       Common       Paid-in       (Accumulated       Treasury     Comprehensive             Equity          controlling        Equity
                                     Stock        Stock       Capital          Deficit)         Stock       Income (Loss)          (Deficiency)        Interests       (Deficiency)
Balance at January 1, 2022        $    2,703   $    1,843   $    18,005   $      (848,836)   $        —   $           6,497      $      (819,788)   $     (51,114)   $     (870,902)
Net income attributable to
  Altice USA stockholders                —            —              —            194,563            —                      —           194,563               —             194,563
Net income attributable to
  noncontrolling interests               —            —              —                 —             —                      —                 —           26,326             26,326
Distributions to noncontrolling
  interests                              —            —              —                 —             —                      —                 —           (3,913)            (3,913)
Pension liability adjustments,
  net of income taxes                    —            —              —                 —             —              (14,989)            (14,989)              —             (14,989)
Foreign currency translation
  adjustment, net of income
  taxes                                  —            —              —                 —             —                     291              291               —                 291
Share-based compensation
  expense (equity classified)            —            —         167,410                —             —                      —           167,410               —             167,410
Issuance of common shares
   pursuant to employee long
   term incentive plan                   16           —              63                —             —                      —                 79              —                  79
Other                                     —            —         (2,777)               —             —                   —               (2,777)              —              (2,777)
Balance at December 31, 2022 $         2,719   $    1,843   $   182,701 $        (654,273)   $       —    $          (8,201)     $     (475,211)    $    (28,701)    $     (503,912)



                                                            See accompanying notes to consolidated financial statements.



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                                                                  ALTICE USA, INC. AND SUBSIDIARIES
                                                             CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                              Years ended December 31, 2022, 2021 and 2020
                                                                             (In thousands)
                                                                                                                            2022               2021               2020
Cash flows from operating activities:
 Net income                                                                                                       $            220,889     $     1,010,932    $      443,479
 Adjustments to reconcile net income to net cash provided by operating activities:
     Depreciation and amortization (including impairments)                                                                    1,773,673          1,787,152          2,083,365
     Loss (gain) on investments                                                                                                 659,792             88,898           (320,061)
     Loss (gain) on derivative contracts, net                                                                                  (425,815)           (85,911)           178,264
     Loss on extinguishment of debt and write-off of deferred financing costs                                                       575             51,712            250,489
     Amortization of deferred financing costs and discounts (premiums) on indebtedness                                           77,356             91,226             91,127
     Share-based compensation expense                                                                                           159,985             98,296            125,087
     Deferred income taxes                                                                                                       36,385             40,701             75,512
     Decrease in right-of-use assets                                                                                             44,342             43,820             45,995
     Provision for doubtful accounts                                                                                             88,159             68,809             65,965
     Other                                                                                                                        3,460              4,928             34,079
 Change in assets and liabilities, net of effects of acquisitions and dispositions:
     Accounts receivable, trade                                                                                                 (45,279)           (30,379)           (50,747)
     Prepaid expenses and other assets                                                                                           50,419             28,343              8,330
     Amounts due from and due to affiliates                                                                                      (7,749)            23,758              3,594
     Accounts payable and accrued liabilities                                                                                    46,724           (177,326)          (118,388)
     Deferred revenue                                                                                                           (14,953)           (40,929)           (39,977)
     Interest rate swap contracts                                                                                              (301,062)          (149,952)           104,051
     Net cash provided by operating activities                                                                                2,366,901          2,854,078          2,980,164
Cash flows from investing activities:
 Capital expenditures                                                                                                        (1,914,282)        (1,231,715)        (1,073,955)
 Payments for acquisitions, net of cash acquired                                                                                 (2,060)          (340,444)          (149,973)
 Other, net                                                                                                                      (5,168)            (1,444)             3,502
     Net cash used in investing activities                                                                                   (1,921,510)        (1,573,603)        (1,220,426)
Cash flows from financing activities:
 Proceeds from long-term debt                                                                                                 4,276,903          4,410,000          8,019,648
 Repayment of debt                                                                                                           (4,469,727)        (4,870,108)        (6,194,804)
 Proceeds from collateralized indebtedness and related derivative contracts, net                                                     —             185,105                 —
 Repayment of collateralized indebtedness and related derivative contracts, net                                                      —            (185,105)                —
 Principal payments on finance lease obligations                                                                               (134,682)           (85,949)           (43,083)
 Purchase of shares of Altice USA, Inc. Class A common stock, pursuant to a share repurchase program and Tender
   Offer                                                                                                                            —             (804,928)        (4,816,379)
 Proceeds from the sale of a noncontrolling interest in Lightpath, net of expenses                                                  —                   —             880,197
 Other, net                                                                                                                     (8,400)            (11,539)           (26,624)
     Net cash used in financing activities                                                                                    (335,906)         (1,362,524)        (2,181,045)
Net increase (decrease) in cash and cash equivalents                                                                           109,485            (82,049)          (421,307)
     Effect of exchange rate changes on cash and cash equivalents                                                                  291               (662)            (2,167)
Net increase (decrease) in cash and cash equivalents                                                                           109,776            (82,711)          (423,474)
Cash, cash equivalents and restricted cash at beginning of year                                                                195,975            278,686            702,160
Cash, cash equivalents and restricted cash at end of year                                                         $            305,751     $      195,975 $          278,686

                                                             See accompanying notes to consolidated financial statements.



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                                                                       CSC HOLDINGS, LLC AND SUBSIDIARIES
                                                                         CONSOLIDATED BALANCE SHEETS
                                                                                 (In thousands)
                                                                                                                                          December 31,
                                                                                                                                   2022                  2021
ASSETS
Current Assets:
  Cash and cash equivalents                                                                                                    $        305,477    $            193,154
  Restricted cash                                                                                                                           267                     264
  Accounts receivable, trade (less allowance for doubtful accounts of $20,767 and $27,931, respectively)                                365,992                 406,952
  Prepaid expenses and other current assets ($572 and $3,776 due from affiliates, respectively)                                         130,684                 183,714
  Derivative contracts                                                                                                                  263,873                   2,993
  Investment securities pledged as collateral                                                                                         1,502,145                     —
     Total current assets                                                                                                             2,568,438               787,077
Property, plant and equipment, net of accumulated depreciation of $7,785,397 and $7,142,852, respectively                             7,500,780             6,340,467
Right-of-use operating lease assets                                                                                                     250,601               222,124
Investment securities pledged as collateral                                                                                                  —              2,161,937
Other assets                                                                                                                            259,681                76,653
Amortizable intangibles, net of accumulated amortization of $ 5,549,674 and $5,051,149, respectively                                  1,660,331             2,202,001
Indefinite-lived cable television franchises                                                                                         13,216,355            13,216,355
Goodwill                                                                                                                              8,208,773             8,205,863
   Total assets                                                                                                                $     33,664,959    $       33,212,477

LIABILITIES AND MEMBER'S DEFICIENCY
Current Liabilities:
  Accounts payable                                                                                                             $      1,213,806    $        1,023,045
  Interest payable                                                                                                                      252,351               244,934
  Accrued employee related costs                                                                                                        139,328               124,941
  Deferred revenue                                                                                                                       80,559                94,943
  Debt                                                                                                                                2,075,077               917,313
  Other current liabilities ($20,857 and $31,810 due to affiliates, respectively)                                                       278,580               329,944
     Total current liabilities                                                                                                        4,039,701             2,735,120
Other liabilities                                                                                                                       274,623               159,082
Deferred tax liability                                                                                                                5,090,294             5,067,442
Liabilities under derivative contracts                                                                                                       —                276,933
Right-of-use operating lease liability                                                                                                  260,237               237,226
Long-term debt, net of current maturities                                                                                            24,512,656            25,629,447
    Total liabilities                                                                                                                34,177,511            34,105,250
Commitments and contingencies (Note 17)
Member's deficiency (100 membership units issued and outstanding)                                                                      (475,650)             (848,156)
Accumulated other comprehensive income                                                                                                   (8,201)                6,497
Total member's deficiency                                                                                                              (483,851)             (841,659)
Noncontrolling interests                                                                                                                (28,701)              (51,114)
Total deficiency                                                                                                                       (512,552)             (892,773)
   Total liabilities and member's deficiency                                                                                   $     33,664,959    $       33,212,477


                                                                See accompanying notes to consolidated financial statements.




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                                                                CSC HOLDINGS LLC AND SUBSIDIARIES
                                                             CONSOLIDATED STATEMENTS OF OPERATIONS
                                                              Years ended December 31, 2022, 2021 and 2020
                                                                             (In thousands)

                                                                                                                               2022              2021              2020
Revenue (including revenue from affiliates of $2,368, $13,238 and $14,729, respectively) (See Note 16)                     $     9,647,659   $   10,090,849    $    9,894,642
Operating expenses:
 Programming and other direct costs (including charges from affiliates of $14,321, $17,167 and $13,346, respectively) (See
   Note 16)                                                                                                                     3,205,638         3,382,129         3,340,442
 Other operating expenses (including charges from affiliates of $12,210, $11,989 and $11,869 respectively) (See Note 16)        2,735,469         2,379,765         2,264,473
 Restructuring expense and other operating items                                                                                  130,285            17,176            91,073
 Depreciation and amortization (including impairments)                                                                          1,773,673         1,787,152         2,083,365
                                                                                                                                7,845,065         7,566,222         7,779,353
Operating income                                                                                                                1,802,594         2,524,627         2,115,289
Other income (expense):
 Interest expense, net                                                                                                         (1,331,636)       (1,266,591)       (1,350,341)
 Gain (loss) on investments, net                                                                                                 (659,792)          (88,898)          319,515
 Gain (loss) on derivative contracts, net                                                                                         425,815            85,911          (178,264)
 Gain (loss) on interest rate swap contracts, net                                                                                 271,788            92,735           (78,606)
 Loss on extinguishment of debt and write-off of deferred financing costs                                                            (575)          (51,712)         (250,489)
 Other income, net                                                                                                                  8,535             9,835             5,577
                                                                                                                               (1,285,865)       (1,218,720)       (1,532,608)
Income before income taxes                                                                                                        516,729         1,305,907           582,681
  Income tax expense                                                                                                             (292,152)         (297,110)         (126,843)
Net income                                                                                                                        224,577         1,008,797           455,838
Net income attributable to noncontrolling interests                                                                               (26,326)          (20,621)           (7,296)
Net income attributable to CSC Holdings, LLC sole member                                                                  $       198,251    $      988,176    $      448,542


                                                               See accompanying notes to consolidated financial statements.




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                                                             CSC HOLDINGS, LLC AND SUBSIDIARIES
                                                     CONSOLIDATED STATEMENTS OF COMPREHENSIVE INCOME
                                                          Years ended December 31, 2022, 2021 and 2020
                                                                         (In thousands)

                                                                                                                           2022              2021               2020
Net income                                                                                                        $           224,577    $     1,008,797    $      455,838
Other comprehensive income (loss):
 Defined benefit pension plans                                                                                                (20,526)             4,772            12,333
 Applicable income taxes                                                                                                        5,537             (1,259)           (3,270)
   Defined benefit pension plans, net of income taxes                                                                         (14,989)             3,513             9,063
   Foreign currency translation adjustment                                                                                        291               (662)           (2,167)
Other comprehensive income (loss)                                                                                             (14,698)             2,851             6,896
Comprehensive income                                                                                                          209,879          1,011,648           462,734
Comprehensive income attributable to noncontrolling interests                                                                 (26,326)           (20,621)           (7,296)
Comprehensive income attributable to CSC Holdings, LLC's sole member                                              $           183,553    $       991,027    $      455,438


                                                            See accompanying notes to consolidated financial statements.




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                                                 CSC HOLDINGS, LLC AND SUBSIDIARIES
                               CONSOLIDATED STATEMENTS OF CHANGES IN TOTAL MEMBER'S EQUITY (DEFICIENCY)
                                               Years ended December 31, 2022, 2021 and 2020
                                                              (In thousands)

                                                                                          Accumulated Other    Total Member's
                                                                        Member's Equity    Comprehensive           Equity             Noncontrolling         Total Equity
                                                                         (Deficiency)       Income (Loss)       (Deficiency)            Interests            (Deficiency)
Balance at January 1, 2020                                              $     2,047,397 $            (3,250)   $       2,044,147 $              9,298    $       2,053,445
 Net income attributable to CSC Holdings' sole member                           448,542                  —               448,542                   —               448,542
 Net income attributable to noncontrolling interests                                 —                   —                    —                 7,296                7,296
 Contributions from noncontrolling interests                                         —                   —                    —                12,498               12,498
 Pension liability adjustments, net of income taxes                                  —                9,063                9,063                   —                 9,063
 Foreign currency translation adjustment, net of income taxes                        —               (2,167)              (2,167)                  —                (2,167)
 Share-based compensation expense (equity classified)                           122,811                  —               122,811                   —               122,811
 Redeemable equity vested                                                        96,918                  —                96,918                   —                96,918
 Change in redeemable equity                                                    (14,130)                 —               (14,130)                  —               (14,130)
 Impact of the sale of Lightpath                                                741,645                  —               741,645              (91,201)             650,444
 Non-cash contributions from parent, net                                        178,720                  —               178,720                   —               178,720
 Cash distributions to parent                                                (4,794,408)                 —            (4,794,408)                  —            (4,794,408)
Balance at December 31, 2020                                                 (1,172,505)              3,646           (1,168,859)             (62,109)          (1,230,968)
 Net income attributable to CSC Holdings' sole member                           988,176                  —               988,176                   —               988,176
 Net income attributable to noncontrolling interests                                 —                   —                    —                20,621               20,621
 Distributions to noncontrolling interests                                           —                   —                    —               (14,004)             (14,004)
 Pension liability adjustments, net of income taxes                                  —                3,513                3,513                   —                 3,513
 Foreign currency translation adjustment, net of income taxes                        —                 (662)                (662)                  —                  (662)
 Share-based compensation expense (equity classified)                            97,511                  —                97,511                   —                97,511
 Redeemable equity vested                                                        23,749                  —                23,749                   —                23,749
 Change in redeemable equity                                                      2,014                  —                 2,014                   —                 2,014
 Cash distributions to parent                                                  (763,435)                 —              (763,435)                  —              (763,435)
 Non-cash distributions to parent                                               (19,500)                 —               (19,500)                  —               (19,500)
 Other                                                                           (4,166)                 —                (4,166)               4,378                  212
Balance at December 31, 2021                                                   (848,156)              6,497             (841,659)             (51,114)            (892,773)
 Net income attributable to CSC Holdings' sole member                           198,251                  —               198,251                   —               198,251
 Net income attributable to noncontrolling interests                                 —                   —                    —                26,326               26,326
 Distributions to noncontrolling interests                                           —                   —                    —                (3,913)              (3,913)
 Pension liability adjustments, net of income taxes                                  —              (14,989)             (14,989)                  —               (14,989)
 Foreign currency translation adjustment, net of income taxes                        —                  291                  291                   —                   291
 Share-based compensation expense (equity classified)                           167,410                  —               167,410                   —               167,410
 Cash distributions to parent, net                                                 (170)                 —                  (170)                  —                  (170)
 Non-cash contributions from parent                                               7,015                  —                 7,015                   —                 7,015
Balance at December 31, 2022                                            $      (475,650) $           (8,201)   $        (483,851) $           (28,701)   $        (512,552)


                                                       See accompanying notes to consolidated financial statements.



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                                                                CSC HOLDINGS LLC AND SUBSIDIARIES
                                                             CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                              Years ended December 31, 2022, 2021 and 2020
                                                                                                                            2022               2021               2020
Cash flows from operating activities:
 Net income                                                                                                      $             224,577     $     1,008,797    $      455,838
 Adjustments to reconcile net income to net cash provided by operating activities:
    Depreciation and amortization (including impairments)                                                                     1,773,673          1,787,152          2,083,365
    Loss (gain) on investments                                                                                                  659,792             88,898           (319,515)
    Loss (gain) on derivative contracts, net                                                                                   (425,815)           (85,911)           178,264
    Loss on extinguishment of debt and write-off of deferred financing costs                                                        575             51,712            250,489
    Amortization of deferred financing costs and discounts (premiums) on indebtedness                                            77,356             91,226             91,127
    Share-based compensation expense                                                                                            159,985             98,296            125,087
    Deferred income taxes                                                                                                        25,705             32,201            101,217
    Decrease in right-of-use assets                                                                                              44,342             43,820             45,995
    Provision for doubtful accounts                                                                                              88,159             68,809             65,965
    Other                                                                                                                         3,460              4,928             34,079
 Change in assets and liabilities, net of effects of acquisitions and dispositions:
    Accounts receivable, trade                                                                                                  (45,279)           (30,379)           (50,747)
    Prepaid expenses and other assets                                                                                            50,419             28,343              8,328
    Amounts due from and due to affiliates                                                                                         (756)             3,778            180,911
    Accounts payable and accrued liabilities                                                                                     46,723           (176,855)          (334,055)
    Deferred revenue                                                                                                            (14,953)           (40,929)           (39,977)
    Interest rate swap contracts                                                                                               (301,062)          (149,952)           104,051
       Net cash provided by operating activities                                                                              2,366,901          2,823,934          2,980,422
Cash flows from investing activities:
 Capital expenditures                                                                                                        (1,914,282)        (1,231,715)        (1,073,955)
 Payment for acquisitions, net of cash acquired                                                                                  (2,060)          (340,444)          (149,973)
 Other, net                                                                                                                      (5,168)            (1,444)              (706)
       Net cash used in investing activities                                                                                 (1,921,510)        (1,573,603)        (1,224,634)
Cash flows from financing activities:
 Proceeds from long-term debt                                                                                                 4,276,903          4,410,000          8,019,648
 Repayment of debt                                                                                                           (4,469,727)        (4,870,108)        (6,194,804)
 Proceeds from collateralized indebtedness and related derivative contracts, net                                                     —             185,105                 —
 Repayment of collateralized indebtedness and related derivative contracts, net                                                      —            (185,105)                —
 Distributions to parent                                                                                                           (170)          (763,435)        (4,794,408)
 Proceeds from the sale of a noncontrolling interest in Lightpath, net of expenses                                                   —                  —             880,197
 Principal payments on finance lease obligations                                                                               (134,682)           (85,949)           (43,083)
 Other, net                                                                                                                      (5,680)           (24,961)           (40,972)
    Net cash used in financing activities                                                                                      (333,356)        (1,334,453)        (2,173,422)
Net increase (decrease) in cash and cash equivalents                                                                           112,035            (84,122)          (417,634)
     Effect of exchange rate changes on cash and cash equivalents                                                                  291               (662)            (2,167)
Net increase (decrease) in cash and cash equivalents                                                                           112,326            (84,784)          (419,801)
Cash, cash equivalents and restricted cash at beginning of year                                                                193,418            278,202            698,003
Cash, cash equivalents and restricted cash at end of year                                                        $             305,744     $      193,418 $          278,202


                                                             See accompanying notes to consolidated financial statements.



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                                    ALTICE USA, INC. AND SUBSIDIARIES
                                         COMBINED NOTES TO CONSOLIDATED FINANCIAL STATEMENTS
                                            (Dollars in thousands, except share and per share amounts)




NOTE 1.       DESCRIPTION OF BUSINESS AND RELATED MATTERS
The Company and Related Matters
Altice USA, Inc. ("Altice USA") was incorporated in Delaware on September 14, 2015. Altice USA is majority-owned by Patrick Drahi through Next Alt. S.à.r.l. ("Next Alt").
Patrick Drahi also controls Altice Group Lux S.à.r.l, formerly Altice Europe N.V. ("Altice Europe") and its subsidiaries and other entities. Altice USA is a holding company
that does not conduct any business operations of its own. Altice Europe, through a subsidiary, acquired Cequel Corporation ("Cequel") on December 21, 2015 (the "Cequel
Acquisition") and Cequel was contributed to Altice USA on June 9, 2016. Altice USA acquired Cablevision Systems Corporation ("Cablevision") on June 21, 2016 (the
"Cablevision Acquisition").
Altice USA, through CSC Holdings, LLC (a wholly-owned subsidiary of Cablevision) and its consolidated subsidiaries ("CSC Holdings," and collectively with Altice USA, the
"Company"), principally provides broadband communications and video services in the United States. It had marketed its residential services primarily under two brands:
Optimum, primarily in the New York metropolitan area, and Suddenlink, principally in markets in the south-central United States. On August 1, 2022, the Company began
marketing the Suddenlink services under the Optimum brand. It operates enterprise services under the brands Lightpath and Optimum Business. It delivers broadband, video,
telephony services, proprietary content and advertising services to residential and business customers. In addition, the Company offers a full service mobile offering to
consumers across its footprint. As these brands are managed on a consolidated basis, the Company classifies its operations in one segment.
The accompanying consolidated financial statements ("consolidated financial statements") of Altice USA include the accounts of Altice USA and its majority-owned
subsidiaries and the accompanying consolidated financial statements of CSC Holdings include the accounts of CSC Holdings and its majority-owned subsidiaries. The
consolidated balance sheets and statements of operations of Altice USA are essentially identical to the consolidated balance sheets and statements of operations of CSC
Holdings, with the following exceptions: Altice USA primarily has additional cash and deferred taxes on its consolidated balance sheet. In addition, CSC Holdings and its
subsidiaries have certain intercompany receivables from and payables to Altice USA. Differences between Altice USA's results of operations and those of CSC Holdings
primarily include loss on investments, net in 2020, and income tax expense in 2022, 2021 and 2020.
The combined notes to the consolidated financial statements relate to the Company, which, except as noted, are essentially identical for Altice USA and CSC Holdings. All
significant intercompany transactions and balances between Altice USA and CSC Holdings and their respective consolidated subsidiaries are eliminated in both sets of
consolidated financial statements. Intercompany transactions between Altice USA and CSC Holdings are not eliminated in the CSC Holdings consolidated financial statements,
but are eliminated in the Altice USA consolidated financial statements.
The financial statements of CSC Holdings are included herein as supplemental information as CSC Holdings is not an SEC registrant.
Share Repurchase Plan
In June 2018, the Board of Directors of Altice USA authorized a share repurchase program of $2,000,000, and on July 30, 2019, the Board of Directors authorized a new
incremental three-year share repurchase program of $5,000,000 that took effect following the completion in August 2019 of the $2,000,000 repurchase program. In November
2020, the Board of Directors authorized an additional $2,000,000 of share repurchases, bringing the total amount of cumulative share repurchases authorized to $9,000,000.
Under these repurchase programs, shares of Altice USA Class A common stock may be purchased from time to time in the open market and may include trading plans entered
into with one or more brokerage firms in accordance with Rule 10b5-1 under the Securities Exchange Act of 1934. Size and timing of these purchases will be determined based
on market conditions and other factors.
On November 23, 2020, the Company commenced a modified "Dutch auction" tender offer (the "Tender Offer") to purchase up to $2,500,000 in value of shares of its Class A
Common Stock, at a price not greater than $36.00 per share nor less than $32.25 per share. The Tender Offer expired on December 21, 2020. On December 21, 2020, the




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                                    ALTICE USA, INC. AND SUBSIDIARIES
                                  COMBINED NOTES TO CONSOLIDATED FINANCIAL STATEMENTS (continued)
                                          (Dollars in thousands, except share and per share amounts)


Company accepted for purchase 64,613,479 shares of its Class A Common Stock, at a price of $36.00 per share, plus related fees, for an aggregate purchase price of
$2,326,949. The aggregate purchase price of these shares (including the fees relating to the Tender Offer), is reflected in stockholders' equity (deficiency) in the consolidated
balance sheet of Altice USA as of December 31, 2020.
For the year ended December 31, 2022, Altice USA did not repurchase any shares. For the years ended December 31, 2021 and 2020, Altice USA repurchased an aggregate of
23,593,728, and 161,216,653 shares, respectively, for a total purchase price of approximately $804,928 and $4,816,895, respectively. These acquired shares were retired and the
cost of these shares was recorded in stockholders' equity (deficiency) in the consolidated balance sheet of Altice USA. As of December 31, 2022, Altice USA had
approximately $1,191,302 of availability remaining under the incremental share repurchase program.

NOTE 2.        SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES
Summary of Significant Accounting Policies
Revenue Recognition
Residential Services
The Company derives revenue through monthly charges to residential customers of its broadband, video, and telephony services, including installation services. In addition, the
Company derives revenue from digital video recorder ("DVR"), video-on-demand ("VOD"), pay-per-view, and home shopping commissions which are reflected in "Residential
video" revenues. The Company recognizes broadband, video, and telephony revenues as the services are provided to a customer on a monthly basis. Each service is accounted
for as a distinct performance obligation. Revenue from the sale of bundled services at a discounted rate is allocated to each product based on the standalone selling price of each
performance obligation within the bundled offer. The standalone selling price requires judgment and is typically determined based on the current prices at which the separate
services are sold by the Company. Installation revenue for the Company's residential services is deferred and recognized over the benefit period, which is estimated to be less
than one year. The estimated benefit period takes into account both quantitative and qualitative factors including the significance of average installation fees to total recurring
revenue per customer.
The Company is assessed non-income related taxes by governmental authorities, including franchising authorities (generally under multi-year agreements), and collects such
taxes from its customers. In instances where the tax is being assessed directly on the Company, amounts paid to the governmental authorities are recorded as programming and
other direct costs and amounts received from the customers are recorded as revenue. For the years ended December 31, 2022, 2021 and 2020, the amount of franchise fees and
certain other taxes and fees included as a component of revenue aggregated $232,795, $257,364 and $257,405, respectively.
Business and Wholesale Revenue
The Company derives revenue from the sale of products and services to both large enterprise and small and medium-sized business ("SMB") customers, including broadband,
telephony, networking, and video services reflected in "Business services and wholesale" revenues. The Company's business services also include Ethernet, data transport, and
IP-based virtual private networks. The Company also provides managed services to businesses, including hosted telephony services (cloud based SIP-based private branch
exchange), managed WiFi, managed desktop and server backup and managed collaboration services including audio and web conferencing. The Company also offers fiber-to-
the-tower services to wireless carriers for cell tower backhaul, which enables wireline communications service providers to connect to customers that their own networks do not
reach. The Company recognizes revenues for these services as the services are provided to a customer on a monthly basis.
Substantially all of our SMB customers are billed monthly and large enterprise customers are billed in accordance with the terms of their contracts which is typically on a
monthly basis. Contracts with large enterprise customers typically range from three to five years. In certain instances, upon expiration of a contract and prior to its renewal, we
continue to provide services on a month to month basis. Installation revenue related to our large enterprise customers is deferred and recognized over the average contract term.
Installation revenue related to SMB customers is deferred and recognized over the benefit period, which is less than one year. The estimated benefit period for SMB customers
takes into account both quantitative and qualitative factors including the significance of average installation fees to total recurring revenue per customer.




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News and Advertising Revenue
As part of the agreements under which the Company acquires video programming, the Company typically receives an allocation of scheduled advertising time during such
programming into which the Company's cable systems can insert commercials. In several of the markets in which the Company operates, it has entered into agreements
commonly referred to as interconnects with other cable operators to jointly sell local advertising. In some of these markets, the Company represents the advertising sales efforts
of other cable operators; in other markets, other cable operators represent the Company. The Company also offers customers the opportunity to advertise on digital platforms.
Advertising revenues are recognized when the advertising is distributed. For arrangements in which the Company controls the sale of advertising and acts as the principal to the
transaction, the Company recognizes revenue earned from the advertising customer on a gross basis and the amount remitted to the distributor as an operating expense. For
arrangements in which the Company does not control the sale of advertising and acts as an agent to the transaction, the Company recognizes revenue net of any fee remitted to
the distributor. Revenue earned from the data-driven, audience-based advertising solutions using advanced analytics tools is recognized when services are provided.
Affiliation fee revenue derived by our news business is recognized as the programming services are provided.
Mobile Revenue
The Company has a mobile service providing data, talk and text to consumers in or near our service areas. Customers can purchase or finance a variety of mobile devices.
Revenue is recognized from the sale of equipment upon delivery and acceptance by the customer. Customers are billed monthly for access to and usage of our mobile services.
The Company recognizes mobile service revenue as the services are provided to the customers.
Other Revenue
Revenues derived from other sources are recognized when services are provided or events occur.
Customer Contract Costs
Incremental costs incurred in obtaining a contract with a customer are deferred and recorded as an asset if the period of benefit is expected to be greater than one year. Sales
commissions for enterprise customers are deferred and amortized over the average contract term. As the amortization period for sales commission expenses related to residential
and SMB customers is less than one year, the Company is utilizing the practical expedient and is recognizing the costs when incurred. The costs of fulfilling a contract with a
customer are deferred and recorded as an asset if they generate or enhance resources of the Company that will be used in satisfying future performance obligations and are
expected to be recovered. Installation costs related to residential and SMB customers that are not capitalized as part of the initial deployment of new customer premise
equipment are expensed as incurred pursuant to industry-specific guidance.
Deferred enterprise sales commission costs are included in other current and noncurrent assets in the consolidated balance sheet and totaled $17,511 and $17,669 as of
December 31, 2022 and 2021, respectively.
A significant portion of our revenue is derived from residential and SMB customer contracts which are month-to month. As such, the amount of revenue related to unsatisfied
performance obligations is not necessarily indicative of the future revenue to be recognized from our existing customer base. Contracts with enterprise customers generally
range from three years to five years, and services may only be terminated in accordance with the contractual terms.




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The following table presents the composition of revenue:
                                                                                                                                      Years Ended December 31,
                                                                                                                             2022                2021                 2020
 Residential:
   Broadband                                                                                                          $         3,930,667   $       3,925,089   $      3,689,159
   Video                                                                                                                        3,281,306           3,526,205          3,670,859
   Telephony                                                                                                                      332,406             404,813            468,777
 Business services and wholesale                                                                                                1,473,837           1,586,044          1,454,532
 News and advertising                                                                                                             520,293             550,667            519,205
 Mobile                                                                                                                            97,679              84,194             78,127
 Other                                                                                                                             11,471              13,837             13,983
Total revenue                                                                                                         $         9,647,659   $      10,090,849   $      9,894,642

Multiple-Element Transactions
In the normal course of business, the Company may enter into multiple-element transactions where it is simultaneously both a customer and a vendor with the same counterparty
or in which it purchases multiple products and/or services, or settles outstanding items contemporaneously with the purchase of a product or service, from a single counterparty.
The Company's policy for accounting for each transaction negotiated contemporaneously is to record each deliverable of the transaction based on its best estimate of selling
price in a manner consistent with that used to determine the price to sell each deliverable on a standalone basis. In determining the fair value of the respective deliverable, the
Company utilizes historical transactions, quoted market prices (as available), or comparable transactions.
Programming and Other Direct Costs
Costs of revenue related to delivery of services and goods are classified as "programming and other direct costs" in the accompanying consolidated statements of operations.
Programming Costs
Programming expenses related to the Company's video service represent fees paid to programming distributors to license the programming distributed to video customers. This
programming is acquired generally under multi-year distribution agreements, with rates usually based on the number of customers that receive the programming. If there are
periods when an existing distribution agreement has expired and the parties have not finalized negotiations of either a renewal of that agreement or a new agreement for certain
periods of time, the Company continues to carry and pay for these services until execution of definitive replacement agreements or renewals. The amount of programming
expense recorded during the interim period is based on the Company's estimates of the ultimate contractual agreement expected to be reached, which is based on several factors,
including previous contractual rates, customary rate increases and the current status of negotiations. Such estimates are adjusted as negotiations progress until new programming
terms are finalized.
In addition, the Company has received, or may receive, incentives from programming distributors for carriage of the distributors' programming. The Company generally
recognizes these incentives as a reduction of programming costs and are recorded in "programming and other direct costs", generally over the term of the distribution
agreement.
Advertising Expenses
Advertising costs are charged to expense when incurred and are reflected in "other operating expenses" in the accompanying consolidated statements of operations. Advertising
costs amounted to $299,590, $274,639 and $213,474 for the years ended December 31, 2022, 2021 and 2020, respectively.
Share-Based Compensation
Share-based compensation expense which primarily relates to awards of stock options, restricted shares, performance stock units, and units in a carried unit plan is based on the
fair value of share-based payment awards at the date of grant. The Company recognizes share-based compensation expense over the requisite service period or when it is




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probable any related performance condition will be met. For awards with graded vesting, compensation cost is recognized on an accelerated method under the graded vesting
method over the requisite service period. Share-based compensation expense related to awards that vest entirely at the end of the vesting period are expensed on a straight-line
basis. The Company accounts for forfeitures as they occur.
See Note 15 to the consolidated financial statements for additional information about our share-based compensation.
Income Taxes
The Company's provision for income taxes is based on current period income, changes in deferred tax assets and liabilities and changes in estimates with regard to uncertain tax
positions. Deferred tax assets are subject to an ongoing assessment of realizability.
Cash and Cash Equivalents
The Company's cash investments are placed with money market funds and financial institutions that are investment grade as rated by S&P Global Ratings and Moody's
Investors Service. The Company selects money market funds that predominantly invest in marketable, direct obligations issued or guaranteed by the United States government
or its agencies, commercial paper, fully collateralized repurchase agreements, certificates of deposit, and time deposits.
The Company considers the balance of its investment in funds that substantially hold securities that mature within three months or less from the date the fund purchases these
securities to be cash equivalents. The carrying amount of cash and cash equivalents either approximates fair value due to the short-term maturity of these instruments or are at
fair value.
Accounts Receivable
Accounts receivable are recorded at net realizable value. The measurement of expected credit losses is based on relevant information about past events, including historical
experience, current conditions and reasonable and supportable forecasts that affect the collectability of the reported amount.
Investment Securities
Investment securities and investment securities pledged as collateral are carried at fair value with realized and unrealized holding gains and losses included in the consolidated
statements of operations.
Long-Lived Assets and Amortizable Intangible Assets
Property, plant and equipment, including construction materials, are carried at cost, and include all direct costs and certain indirect costs associated with the construction of
cable systems, and the costs of new equipment installations. Equipment under finance leases is recorded at the present value of the total minimum lease payments. Depreciation
on equipment is calculated on the straight-line basis over the estimated useful lives of the assets or, with respect to equipment under finance lease obligations and leasehold
improvements, amortized over the lease term or the assets' useful lives and reported in depreciation and amortization (including impairments) in the consolidated statements of
operations.
The Company capitalizes certain internal and external costs incurred to acquire or develop internal-use software. Capitalized software costs are amortized over the estimated
useful life of the software and reported in depreciation and amortization.
Customer relationships, trade names and other intangibles established in connection with acquisitions that are finite-lived are amortized in a manner that reflects the pattern in
which the projected net cash inflows to the Company are expected to occur, such as the sum of the years' digits method, or when such pattern does not exist, using the straight-
line basis over their respective estimated useful lives.
The Company reviews its long-lived assets (property, plant and equipment, and intangible assets subject to amortization) for impairment whenever events or circumstances
indicate that the carrying amount of an asset may not be recoverable. If the sum of the expected cash flows, undiscounted and without interest, is less than the carrying amount
of the asset, an impairment loss is recognized as the amount by which the carrying amount of the asset exceeds its fair value.




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Goodwill and Indefinite-Lived Intangible Assets
Goodwill and the value of franchises acquired in business combinations which have indefinite useful lives are not amortized. Rather, such assets are tested for impairment
annually or upon the occurrence of a triggering event.
The Company assesses the recoverability of its goodwill annually, or more frequently whenever events or substantive changes in circumstances indicate that the carrying
amount of its reporting units may exceed their fair value. The Company first considers qualitative factors to determine whether the existence of events or circumstances leads to
a determination that it is more-likely- than-not that the fair value of a reporting unit is less than its carrying amount. If, after this qualitative assessment, the Company
determines that it is not more-likely-than-not that the fair value of a reporting unit is less than its carrying amount then no further testing is performed. A quantitative
assessment is performed if the qualitative assessment results in a more-likely-than-not determination or if a qualitative assessment is not performed. The quantitative assessment
considers whether the carrying amount of a reporting unit exceeds its fair value, in which case an impairment charge is recorded to the extent the reporting unit’s carrying value
exceeds its fair value.
The Company assesses qualitative factors to determine whether it is necessary to perform the quantitative identifiable indefinite-lived intangible assets impairment test. This
quantitative test is required only if the Company concludes that it is more likely than not that a unit of accounting’s fair value is less than its carrying amount. When the
qualitative assessment is not used, or if the qualitative assessment is not conclusive, the impairment test for other intangible assets not subject to amortization requires a
comparison of the fair value of the intangible asset with its carrying value. If the carrying value of the indefinite-lived intangible asset exceeds its fair value, an impairment loss
is recognized in an amount equal to that excess.
Deferred Financing Costs
Deferred financing costs, which are presented as a reduction of debt, are amortized to interest expense using the effective interest method over the terms of the related debt.
Derivative Financial Instruments
The Company accounts for derivative financial instruments as either assets or liabilities measured at fair value. The Company uses derivative instruments to manage its
exposure to market risks from changes in certain equity prices and interest rates and does not hold or issue derivative instruments for speculative or trading purposes. These
derivative instruments are not designated as hedges, and changes in the fair values of these derivatives are recognized in the consolidated statements of operations as gain (loss)
on derivative contracts or gain (loss) on interest rate swap contracts.
Commitments and Contingencies
Liabilities for loss contingencies arising from claims, assessments, litigation, fines and penalties and other sources are recorded when the Company believes it is probable that a
liability has been incurred and the amount of the contingency can be reasonably estimated.
Foreign Currency
Certain of the Company's subsidiaries (including subsidiaries of i24 News S.à.r.l ("i24NEWS")) are located outside the United States. The functional currency for these
subsidiaries is determined based on the primary economic environment in which the subsidiary operates. Revenues and expenses for these subsidiaries are translated into U.S.
dollars using rates that approximate those in effect during the period while the assets and liabilities are translated into U.S. dollars using exchange rates in effect at the end of
each period. The resulting gains and losses from these translations are recognized in cumulative translation adjustment included in accumulated other comprehensive income
(loss) in stockholders’/member's equity (deficiency) on the consolidated balance sheets.
Common Stock of Altice USA
Each holder of Class A common stock has one vote per share while holders of Class B common stock have twenty-five votes per share. Class B shares can be converted to
Class A common stock at anytime with a conversion ratio of one Class A common share for one Class B common share.




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The following table provides details of Altice USA's shares of common stock outstanding:
                                                                                                                                 Shares of Common Stock Outstanding
                                                                                                                                Class A                      Class B
                                                                                                                              Common Stock               Common Stock
Balance at December 31, 2019                                                                                                         446,749,307                  186,245,832
 Conversion of Class B common stock to Class A common stock                                                                               349,929                    (349,929)
 Issuance of common shares                                                                                                                 40,000                          —
 Option exercises                                                                                                                         822,732                          —
 Repurchase and retirement of Class A common shares in connection with the Company's stock repurchase plan (see Note 1)             (161,216,653)                          —
 Treasury shares reissued                                                                                                               3,828,357                          —
Balance at December 31, 2020                                                                                                         290,573,672                  185,895,903
 Conversion of Class B common stock to Class A common stock                                                                             1,562,561                  (1,562,561)
 Option exercises                                                                                                                       1,080,548                          —
 Repurchase and retirement of Class A common shares in connection with the Company's stock repurchase plan (see Note 1)               (23,593,728)                         —
 Treasury shares reissued                                                                                                                 697,745                          —
Balance at December 31, 2021                                                                                                         270,320,798                  184,333,342
 Conversion of Class B common stock to Class A common stock                                                                                 4,113                      (4,113)
 Issuance of common shares in connection with the vesting of restricted stock units                                                     1,506,186                          —
 Treasury shares reissued                                                                                                                   1,966                          —
Balance at December 31, 2022                                                                                                         271,833,063                  184,329,229

CSC Holdings Membership Interests
As of December 31, 2022 and 2021, CSC Holdings had 100 membership units issued and outstanding, which are all indirectly owned by Altice USA.
Dividends and Distributions
Altice USA
Altice USA may pay dividends on its capital stock only from net profits and surplus as determined under Delaware law. If dividends are paid on the Altice USA common stock,
holders of the Altice USA Class A common stock and Altice USA Class B common stock are entitled to receive dividends, and other distributions in cash, stock or property,
equally on a per share basis, except that stock dividends with respect to Altice USA Class A common stock may be paid only with shares of Altice USA Class A common stock
and stock dividends with respect to Altice USA Class B common stock may be paid only with shares of Altice USA Class B common stock.
The Company's indentures restrict the amount of dividends and distributions in respect of any equity interest that can be made.
During 2022, 2021 and 2020, there were no dividends paid to shareholders by Altice USA.
CSC Holdings
CSC Holdings may make distributions on its membership interests only if sufficient funds exist as determined under Delaware law. See Note 16 for a discussion of equity
distributions that CSC Holdings made to its parent.




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Concentrations of Credit Risk
Financial instruments that may potentially subject the Company to a concentration of credit risk consist primarily of cash and cash equivalents and trade account receivables.
The Company monitors the financial institutions and money market funds where it invests its cash and cash equivalents with diversification among counterparties to mitigate
exposure to any single financial institution. The Company's emphasis is primarily on safety of principal and liquidity and secondarily on maximizing the yield on its
investments. Management believes that no significant concentration of credit risk exists with respect to its cash and cash equivalents because of its assessment of the
creditworthiness and financial viability of the respective financial institutions.
The Company did not have a single customer that represented 10% or more of its consolidated revenues for the years ended December 31, 2022, 2021 and 2020 or 10% or more
of its consolidated net trade receivables at December 31, 2022, and 2021, respectively.
Use of Estimates in Preparation of Financial Statements
The preparation of financial statements in conformity with U.S. generally accepted accounting principles ("GAAP") requires management to make estimates and assumptions
that affect the reported amounts of assets and liabilities and disclosure of contingent liabilities at the date of the financial statements and the reported amounts of revenues and
expenses during the reporting period. Actual results could differ from those estimates. See Note 13 for a discussion of fair value estimates.
Reclassifications
Certain reclassifications have been made to the 2021 and 2020 amounts to conform to the 2022 presentation.

NOTE 3.        ACCOUNTING STANDARDS
Accounting Standards Adopted in 2020
ASU No. 2020-04, Facilitation of the Effects of Reference Rate Reform on Financial Reporting ("ASU 2020-04")
In March 2020, the Financial Accounting Standards Board ("FASB") issued new accounting guidance related to the effects of reference rate reform on financial reporting. The
guidance, effective for reporting periods through December 31, 2022, provides accounting relief for contract modifications that replace an interest rate impacted by reference
rate reform (e.g., LIBOR) with a new alternative reference rate. The Company adopted the guidance as of March 31, 2020. The adoption of this guidance did not have an
impact on the Company's consolidated financial statements.
ASU No. 2019-12, Simplifying the Accounting for Income Taxes ("ASU 2019-12")
In December 2019, the FASB issued ASU 2019-12, Income Taxes (Topic 740). ASU 2019-12 simplifies the accounting for income taxes by eliminating certain exceptions for
investments, intraperiod allocations and interim calculations. The new guidance also simplifies aspects of the accounting for franchise taxes, enacted changes in tax laws or
rates, and clarifies the accounting for transactions that result in a step-up in the tax basis of goodwill. The amendments did not create new accounting requirements. The
Company adopted the standard as of January 1, 2020. The adoption of this standard did not have a significant impact on the Company's consolidated financial statements.
ASU No. 2018-15, Customer’s Accounting for Implementation Costs in a Cloud Computing Arrangement That Is a Service Contract ("ASU 2018-15")
In August 2018, the FASB issued ASU 2018-15 which requires upfront implementation costs incurred in a cloud computing arrangement (or hosting arrangement) that is a
service contract to be amortized to hosting expense over the term of the arrangement, beginning when the module or component of the hosting arrangement is ready for its
intended use. The Company adopted the standard as of January 1, 2020. The adoption of this standard did not have a significant impact on the Company's consolidated financial
statements.
ASU No. 2017-04, Intangibles-Goodwill and Other (Topic 350) ("ASU 2017-04")
In January 2017, the FASB issued ASU 2017-04 which simplifies the subsequent measurement of goodwill by removing the second step of the two-step impairment test. The
amendment requires an entity to perform its annual, or interim goodwill impairment test by comparing the fair value of a reporting unit with its carrying amount. An entity




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still has the option to perform the qualitative assessment for a reporting unit to determine if the quantitative impairment test is necessary. The Company adopted the standard as
of January 1, 2020. The adoption of this standard did not have an impact on the Company's consolidated financial statements.
ASU No. 2016-13, Measurement of Credit Losses on Financial Instruments ("ASU 2016-13")
In June 2016, the FASB issued ASU 2016-13 which requires a financial asset (or a group of financial assets) measured at amortized cost to be assessed for impairment under
the current expected credit loss model rather than an incurred loss model. The measurement of expected credit losses is based on relevant information about past events,
including historical experience, current conditions and reasonable and supportable forecasts that affect the collectability of the reported amount. ASU 2016-13 became effective
for the Company on January 1, 2020 and the adoption of this standard did not have a significant impact on the Company's consolidated financial statements.
Accounting Standards Adopted in 2022
ASU No. 2021-08, Business Combinations (Topic 805): Accounting for Contract Assets and Contract Liabilities from Contracts with Customers
In October 2021, the FASB issued ASU No. 2021-08, Business Combinations (Topic 805): Accounting for Contract Assets and Contract Liabilities from Contracts with
Customers, which will require companies to apply the definition of a performance obligation under ASC Topic 606, Revenue from Contracts with Customers, to recognize and
measure contract assets and contract liabilities relating to contracts with customers that are acquired in a business combination. Under current GAAP, an acquirer generally
recognizes assets acquired and liabilities assumed in a business combination, including contract assets and contract liabilities arising from revenue contracts with customers, at
fair value on the acquisition date. ASU No. 2021-08 will result in the acquirer recording acquired contract assets and liabilities on the same basis that would have been recorded
before the acquisition under ASC Topic 606. ASU No. 2021-08 is effective for the Company on January 1, 2023, however the Company elected to early adopt this ASU on
January 1, 2022 and the Company will provide required disclosures for any future material transactions.
ASU No. 2021-10, Government Assistance (Topic 832)
In November 2021, the FASB issued ASU No. 2021-10, Government Assistance (Topic 832), which requires business entities to disclose information about transactions with a
government that are accounted for by applying a grant or contribution model by analogy (for example, IFRS guidance in IAS 20 or guidance on contributions for not-for-profit
entities in ASC 958-605). For transactions in the scope of the new standard, business entities will need to provide information about the nature of the transaction, including
significant terms and conditions, as well as the amounts and specific financial statement line items affected by the transaction. The Company adopted the new guidance on
January 1, 2022 and it did not have a material impact on the Company's consolidated financial statements. The Company will provide the required disclosures for any future
material transactions.
Recently Issued But Not Yet Adopted Accounting Pronouncements
ASU No. 2022-04, Liabilities—Supplier Finance Programs (Subtopic 405-50): Disclosure of Supplier Finance Program Obligations
In September 2022, the FASB issued ASU 2022-04, Liabilities—Supplier Finance Programs (Subtopic 405-50): Disclosure of Supplier Finance Program Obligations, to
enhance transparency about an entity’s use of supplier finance programs. ASU 2022-04 would require the buyer in a supplier finance program to disclose (a) information about
the key terms of the program, (b) the amount outstanding that remains unpaid by the buyer as of the end of the period, (c) a rollforward of such amounts during each annual
period, and (d) a description of where in the financial statements outstanding amounts are being presented. ASU 2022-04 is effective for the Company on January 1, 2023,
except for the amendment on rollforward information which will be effective for the Company on January 1, 2024. Early adoption is permitted. The Company will provide any
necessary disclosures upon adoption.




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NOTE 4.        NET INCOME PER SHARE
Basic net income per common share attributable to Altice USA stockholders is computed by dividing net income attributable to Altice USA stockholders by the weighted
average number of common shares outstanding during the period. Diluted income per common share attributable to Altice USA stockholders reflects the dilutive effects of
stock options, restricted stock and restricted stock units. For awards that are performance based, the diluted effect is reflected upon the achievement of the performance criteria.
The following table presents a reconciliation of weighted average shares used in the calculations of the basic and diluted net income per share attributable to Altice USA
stockholders:
                                                                                                                                     Years Ended December 31,
                                                                                                                 2022                            2021                      2020
                                                                                                                                            (in thousands)
Basic weighted average shares outstanding                                                                               453,244                        458,311                    581,057
Effect of dilution:
 Stock options                                                                                                               —                          3,972                       2,617
 Restricted stock                                                                                                            38                            11                          15
 Restricted stock units                                                                                                      —                              1                          —
Diluted weighted average shares outstanding                                                                             453,282                       462,295                     583,689


Weighted average shares excluded from diluted weighted average shares outstanding:
   Anti-dilutive shares                                                                                                  57,961                        15,856                      25,768
   Performance stock units and restricted stock whose performance metrics have not been achieved                             7,309                       8,557                      8,308

Net income per membership unit for CSC Holdings is not presented since CSC Holdings is a limited liability company and a wholly-owned subsidiary of Altice USA.

NOTE 5.        ALLOWANCE FOR DOUBTFUL ACCOUNTS
Activity related to the Company's allowance for doubtful accounts is presented below:
                                                                                                                                   Deductions/ Write-Offs and
                                                                   Balance at Beginning of Period   Provision for Bad Debt              Other Charges            Balance at End of Period
Year Ended December 31, 2022
Allowance for doubtful accounts                                    $                      27,931    $              88,159      $                      (95,323)   $                20,767

Year Ended December 31, 2021
Allowance for doubtful accounts                                    $                      25,198    $              68,809      $                      (66,076)   $                27,931

Year Ended December 31, 2020
Allowance for doubtful accounts                                    $                      14,683    $              65,965      $                      (55,450)   $                25,198




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NOTE 6.           SUPPLEMENTAL CASH FLOW INFORMATION
The Company's non-cash investing and financing activities and other supplemental data were as follows:
                                                                                                                                Years Ended December 31,
                                                                                                             2022                         2021                       2020
  Non-Cash Investing and Financing Activities:

Altice USA and CSC Holdings:
  Property and equipment accrued but unpaid                                                          $               496,135    $               335,680    $                 206,680
  Notes payable issued to vendor for the purchase of equipment and other assets                                      132,452                     89,898                      106,925
  Right-of-use assets acquired in exchange for finance lease obligations                                             160,542                    145,047                      133,300
  Other non-cash investing and financing transactions                                                                  1,117                        500                        3,973
CSC Holdings:
  Contributions from (distributions to) parent, net                                                                    7,015                    (19,500)                     178,720
Supplemental Data:
Altice USA:
  Cash interest paid, net of capitalized interest                                                                   1,247,747                 1,178,088                     1,406,825
  Income taxes paid, net                                                                                              253,962                   263,589                        80,415
CSC Holdings:
  Cash interest paid, net of capitalized interest                                                                   1,247,747                 1,178,088                     1,406,825
  Income taxes paid, net                                                                                              253,962                   263,589                        80,415

NOTE 7.           RESTRUCTURING EXPENSE AND OTHER OPERATING ITEMS
The Company's restructuring and other operating items are comprised of the following:
                                                                                                                                   Years Ended December 31,
                                                                                                                    2022                     2021                     2020
Contractual payments for terminated employees                                                            $                   4,002 $                6,227 $                   50,852
Facility realignment costs                                                                                                   5,652                  2,551                      7,467
Impairment of right-of-use operating lease assets                                                                            3,821                  6,701                     30,429
Transaction costs related to certain transactions not related to the Company's operations                                    4,310                  1,697                      2,325
Litigation settlement (a)                                                                                                  112,500                     —                          —
      Restructuring expense and other operating items                                                    $                 130,285 $               17,176 $                   91,073


(a)         Represents the settlement amount of the Sprint litigation discussed in Note 17.

NOTE 8.           PROPERTY, PLANT AND EQUIPMENT
Costs incurred in the construction of the Company's cable systems, including line extensions to, and upgrade of, the Company's hybrid fiber/coaxial infrastructure and
construction of the parallel fiber-to-the-home ("FTTH") infrastructure, are capitalized. This includes headend facilities and initial placement of the feeder cable to connect a
customer that had not been previously connected. These costs consist of materials, subcontractor labor, direct consulting fees, and internal labor and related costs associated
with the construction activities (including interest related to FTTH construction). The internal costs that are capitalized consist of salaries and benefits of the Company's
employees and the portion of facility costs, including rent, taxes, insurance and utilities that supports the construction activities. These costs are depreciated over the estimated
life of the plant (10 to 25 years) and headend facilities (5 to 25 years). Costs of operating the plant and the technical facilities, including repairs and maintenance, are expensed
as incurred.




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Costs associated with the initial deployment of new customer premise equipment ("CPE") necessary to provide broadband, video and telephony services are also capitalized.
These costs include materials, subcontractor labor, internal labor, and other related costs associated with the connection activities. The departmental activities supporting the
connection process are tracked through specific metrics, and the portion of departmental costs that is capitalized is determined through a time weighted activity allocation of
costs incurred based on time studies used to estimate the average time spent on each activity. These installation costs are amortized over the estimated useful lives of the CPE
necessary to provide broadband, video and telephony services. The portion of departmental costs related to disconnecting services and removing CPE from a customer, costs
related to connecting CPE that has been previously connected to the network, and repairs and maintenance are expensed as incurred.
The estimated useful lives assigned to our property, plant and equipment are reviewed on an annual basis or more frequently if circumstances warrant and such lives are revised
to the extent necessary due to changing facts and circumstances. Any changes in estimated useful lives are reflected prospectively.
Property, plant and equipment (including equipment under finance leases) consist of the following assets, which are depreciated or amortized on a straight-line basis over the
estimated useful lives shown below:

                                                                                                                           December 31,                              Estimated
                                                                                                                   2022                     2021                   Useful Lives
Customer premise equipment                                                                                $           2,134,561 $              1,991,746            3 to 5 years
Headends and related equipment                                                                                        2,493,208                2,327,642           5 to 25 years
Infrastructure                                                                                                        7,711,815                6,606,817           5 to 25 years
Equipment and software                                                                                                1,434,742                1,362,770           3 to 10 years
Construction in progress (including materials and supplies)                                                             499,598                  291,611
Furniture and fixtures                                                                                                   81,518                   74,481            5 to 8 years
Transportation equipment                                                                                                145,413                  145,531           5 to 10 years
Buildings and building improvements                                                                                     550,884                  506,363          10 to 40 years
Leasehold improvements                                                                                                  185,645                  127,565          Term of lease
Land                                                                                                                     48,793                   48,793
                                                                                                                     15,286,177               13,483,319
Less accumulated depreciation and amortization                                                                       (7,785,397)              (7,142,852)
                                                                                                          $           7,500,780 $              6,340,467


For the years ended December 31, 2022, 2021 and 2020, the Company capitalized certain costs aggregating $138,845, $145,837 and $134,857, respectively, related to the
acquisition and development of internal use software, which are included in the table above.
Depreciation expense on property, plant and equipment (including finance leases) for the years endedDecember 31, 2022, 2021 and 2020 amounted to $1,218,365, $1,145,316
and $1,344,732, respectively.

NOTE 9.         LEASES
The Company's operating leases are comprised primarily of facility leases and finance leases are comprised primarily of vehicle and equipment leases. The Company determines
if an arrangement is a lease at inception and lease assets and liabilities are recognized upon commencement of the lease based on the present value of the future minimum lease
payments over the lease term. Lease assets and liabilities are not recorded for leases with an initial term of one year or less. The Company generally uses its incremental
borrowing rate as the discount rate for leases, unless an interest rate is implicitly stated in the lease. The lease term will include options to extend the lease when it is reasonably
certain that the Company will exercise that option.




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Balance sheet information related to our leases is presented below:

                                                                                                                                                   December 31,
                                                                  Balance Sheet location                                                2022                        2021
Operating leases:
 Right-of-use lease assets                                        Right-of-use operating lease assets                      $                   250,601   $                 222,124
 Right-of-use lease liability, current                            Other current liabilities                                                     38,740                      38,545
 Right-of-use lease liability, long-term                          Right-of-use operating lease liability                                       260,237                     237,226

Finance leases:
 Right-of-use lease assets                                        Property, plant and equipment                                                332,217                     272,948
 Right-of-use lease liability, current                            Current portion of long-term debt                                            129,657                     109,204
 Right-of-use lease liability, long-term                          Long-term debt                                                               114,938                     109,531

The following provides details of the Company's lease expense:
                                                                                                                           Years Ended December 31,
                                                                                                                    2022                                     2021
Operating lease expense, net                                                                                   $                 58,124        $                            56,951
Finance lease expense:
 Amortization of assets                                                                                                          86,455                                     56,945
 Interest on lease liabilities                                                                                                   11,332                                      8,966
Total finance lease expense                                                                                                      97,787                                     65,911
                                                                                                               $                155,911        $                           122,862

Other information related to leases is presented below:
                                                                                                                               As of December 31,
                                                                                                                   2022                                      2021
Right-of-use assets acquired in exchange for operating lease obligations                                   $                   74,063      $                           26,008
Cash Paid For Amounts Included In Measurement of Liabilities:
 Operating cash flows from finance leases                                                                                      11,332                                   8,966
 Operating cash flows from operating leases                                                                                    65,879                                  61,443
Weighted Average Remaining Lease Term:
 Operating leases                                                                                                              8.1 years                                   8.4 years
 Finance leases                                                                                                                2.0 years                                   2.2 years
Weighted Average Discount Rate:
 Operating leases                                                                                                                5.63 %                                     5.51 %
 Finance leases                                                                                                                  5.49 %                                     4.63 %




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The minimum future annual payments under non-cancellable leases during the next five years and thereafter, at rates now in force, are as follows:
                                                                                                                       Finance leases                   Operating leases
2023                                                                                                       $                            139,462    $                        48,284
2024                                                                                                                                     89,098                             54,435
2025                                                                                                                                     29,126                             46,806
2026                                                                                                                                        934                             43,155
2027                                                                                                                                        716                             40,556
Thereafter                                                                                                                                  335                            144,837
 Total future minimum lease payments, undiscounted                                                                                      259,671                            378,073
Less: Imputed interest                                                                                                                  (15,076)                           (79,096)
 Present value of future minimum lease payments                                                            $                            244,595    $                       298,977


NOTE 10.         INTANGIBLE ASSETS
The Company's amortizable intangible assets primarily consist of customer relationships acquired pursuant to business combinations and represent the value of the business
relationship with those customers.
The following table summarizes information relating to the Company's acquired amortizable intangible assets:


                                                       As of December 31, 2022                                      As of December 31, 2021
                                      Gross Carrying         Accumulated       Net Carrying        Gross Carrying         Accumulated       Net Carrying      Estimated Useful
                                         Amount              Amortization        Amount               Amount              Amortization        Amount                Lives
Customer relationships              $      6,123,586    $        (4,484,286) $      1,639,300    $      6,113,669     $       (4,020,282) $     2,093,387       3 to 18 years
Trade names                                1,024,300             (1,018,212)            6,088           1,081,083               (988,563)          92,520       4 to 10 years
Other amortizable intangibles                 62,119                (47,176)           14,943              58,398                (42,304)          16,094       1 to 15 years
                                    $      7,210,005    $        (5,549,674) $      1,660,331    $      7,253,150     $       (5,051,149) $     2,202,001

During the third quarter of 2022, the Company reduced the gross carrying amount and accumulated amortization of its fully amortized Suddenlink trademark by approximately
$56,783, as the Company had rebranded its entire footprint under the Optimum trademark.

Amortization expense for the years ended December 31, 2022, 2021 and 2020 aggregated $555,308, $641,836, and $738,633, respectively.
The following table sets forth the estimated amortization expense on intangible assets for the periods presented:
Estimated amortization expense
 Year Ending December 31, 2023                                                                                                                                             $394,205
 Year Ending December 31, 2024                                                                                                                                              312,534
 Year Ending December 31, 2025                                                                                                                                              264,000
 Year Ending December 31, 2026                                                                                                                                              218,272
 Year Ending December 31, 2027                                                                                                                                              174,160




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Goodwill and the value of franchises acquired in purchase business combinations which have indefinite useful lives are not amortized. The Company's cable television
franchises reflect agreements it has with state and local governments that allow it to construct and operate a cable business within a specified geographic area. The carrying
amount of indefinite-lived cable television franchises and goodwill is presented below:

                                                                                                                                  Indefinite-lived Cable
                                                                                                                                  Television Franchises        Goodwill
Balance as of December 31, 2020                                                                                                  $           13,068,017    $       8,160,566
 Indefinite-lived cable television franchises and goodwill recorded in connection with an acquisition (see discussion below)                     148,338              45,297
Balance as of December 31, 2021                                                                                                              13,216,355            8,205,863
 Goodwill recorded in connection with acquisitions                                                                                                    —                 2,910
Balance as of December 31, 2022                                                                                                  $           13,216,355    $       8,208,773


The Company recorded goodwill of $2,910 related to acquisitions completed during 2022.
In June 2021, Lightpath completed an acquisition for an aggregate net cash purchase price of approximately $28,260, and recorded customer relationships of $2,294, goodwill
of $11,800, and property, plant and equipment of $14,649.
In April 2021, the Company completed its acquisition of the cable assets of Morris Broadband, LLC in North Carolina for cash of approximately $312,184. In connection with
the acquisition, the Company recorded indefinite-lived cable television franchise rights of $148,338, customer relationships of $58,777, and goodwill of $33,497 based on an
allocation of the purchase price. In addition, the Company recorded property, plant and equipment of $71,586.

The acquisitions discussed above were accounted for as business combinations in accordance with ASC Topic 805.




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NOTE 11.           DEBT
The following table provides details of the Company's outstanding debt:
                                                                                                                 December 31, 2022                              December 31, 2021

                Date Issued                              Maturity Date    Interest Rate                Principal Amount     Carrying Amount (a)        Principal Amount    Carrying Amount (a)
CSC Holdings Senior Notes:
September 27, 2012                             September 15, 2022           5.875%                 $                  —     $                —     $            649,024    $           635,310
May 23, 2014                                   June 1, 2024                 5.250%                               750,000                726,343                 750,000                711,137
October 18, 2018                               April 1, 2028                7.500%                                 4,118                  4,113                   4,118                  4,113
November 27, 2018                              April 1, 2028                7.500%                             1,045,882              1,044,752               1,045,882              1,044,582
July 10 and October 7, 2019                    January 15, 2030             5.750%                             2,250,000              2,279,483               2,250,000              2,282,875
June 16 and August 17. 2020                    December 1, 2030             4.625%                             2,325,000              2,363,082               2,325,000              2,366,886
May 13, 2021                                   November 15, 2031            5.000%                               500,000                498,375                 500,000                498,234
                                                                                                               6,875,000              6,916,148               7,524,024              7,543,137
CSC Holdings Senior Guaranteed Notes:
September 23, 2016                             April 15, 2027               5.500%                             1,310,000              1,307,091               1,310,000              1,306,508
January 29, 2018                               February 1, 2028             5.375%                             1,000,000                995,078               1,000,000                994,262
January 24, 2019                               February 1, 2029             6.500%                             1,750,000              1,747,795               1,750,000              1,747,511
June 16, 2020                                  December 1, 2030             4.125%                             1,100,000              1,096,077               1,100,000              1,095,672
August 17, 2020                                February 15, 2031            3.375%                             1,000,000                997,258               1,000,000                996,970
May 13, 2021                                   November 15, 2031            4.500%                             1,500,000              1,495,144               1,500,000              1,494,710
                                                                                                               7,660,000              7,638,443               7,660,000              7,635,633
CSC Holdings Restricted Group Credit Facility:
Revolving Credit Facility                                                   6.682%        (b)(c)               1,575,000              1,570,730                 900,000                893,864
Term Loan B                                 July 17, 2025                   6.568%        (g)                  1,535,842              1,532,644               2,865,000              2,856,421
Incremental Term Loan B-3                   January 15, 2026                6.568%        (g)                    527,014                525,883               1,239,938              1,236,394
Incremental Term Loan B-5                   April 15, 2027                  6.818%                             2,917,500              2,902,921               2,947,500              2,929,813
Incremental Term Loan B-6                   January 15, 2028                8.823%        (g)                  2,001,942              1,955,839                      —                      —
                                                                                                               8,557,298              8,488,017               7,952,438              7,916,492
Lightpath Senior Notes:
September 29, 2020                             September 15, 2028           5.625%                              415,000                408,090                  415,000               407,104
Lightpath Senior Secured Notes:
September 29, 2020                             September 15, 2027           3.875%                               450,000                443,046                 450,000                441,739
Lightpath Term Loan                            November 30, 2027            7.568%                               588,000                575,478                 594,000                579,119
Lightpath Revolving Credit Facility                                                       (e)                         —                      —                       —                      —
                                                                                                               1,453,000              1,426,614               1,459,000              1,427,962
Collateralized indebtedness (see Note 12)                                                                      1,759,017              1,746,281               1,759,017              1,706,997
Finance lease obligations (see Note 9)                                                                           244,595                244,595                 218,735                218,735
Notes payable and supply chain financing (d)                                                                     127,635                127,635                  97,804                 97,804
                                                                                                              26,676,545             26,587,733              26,671,018             26,546,760
Less: current portion of credit facility debt                                                                    (71,643)               (71,643)                (78,750)               (78,750)
Less: current portion of senior notes                                                                                 —                      —                 (649,024)              (635,310)
Less: current portion of collateralized indebtedness (f)                                                      (1,759,017)            (1,746,281)                     —                      —
Less: current portion of finance lease obligations                                                              (129,657)              (129,657)               (109,204)              (109,204)
Less: current portion of notes payable and supply chain financing                                               (127,496)              (127,496)                (94,049)               (94,049)
                                                                                                              (2,087,813)            (2,075,077)               (931,027)              (917,313)
Long-term debt                                                                                     $          24,588,732    $        24,512,656    $         25,739,991    $        25,629,447




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(a)      The carrying amount is net of the unamortized deferred financing costs and/or discounts/premiums and with respect to certain notes, a fair value adjustment resulting from the Cequel
         and Cablevision acquisitions.
(b)      At December 31, 2022, $130,994 of the revolving credit facility was restricted for certain letters of credit issued on behalf of the Company and $ 769,006 of the facility was undrawn
         and available, subject to covenant limitations. See discussion below regarding the Twelfth Amendment to the CSC Revolving Credit Facility for the maturity date.
(c)      The revolving credit facility of an aggregate principal amount of $2,475,000 is priced at SOFR plus 2.25%. See discussion of the Twelfth Amendment to the CSC Holdings credit
         facilities agreement below for the maturity date.
(d)      Includes $123,880 related to supply chain financing agreements that is required to be repaid within one year from the date of the respective agreement.
(e)      There were no borrowings outstanding under the Lightpath Revolving Credit Facility which provides for commitments in an aggregate principal amount of $100,000. See discussion
         below.
(f)      The indebtedness is collateralized by shares of Comcast common stock. In January 2023, the Company settled this debt by delivering shares of Comcast common stock and the related
         equity derivative contracts.
(g)      Approximately $1,299,158 of the Term Loan B and approximately $ 700,174 of the Incremental Term Loan B-3 were repaid with proceeds from the Incremental Term Loan B-6
         entered into by the Company in December 2022.

CSC Holdings Credit Facilities
For financing purposes, the Company has two debt silos: CSC Holdings and Lightpath. The CSC Holdings silo is structured as a restricted group (the "Restricted Group") and
an unrestricted group, which includes certain designated subsidiaries and investments (the "Unrestricted Group"). The Restricted Group is comprised of CSC Holdings and
substantially all of its wholly-owned operating subsidiaries excluding Lightpath, a 50.01% owned subsidiary of the Company, which became an unrestricted subsidiary in
September 2020. These Restricted Group subsidiaries are subject to the covenants and restrictions of the credit facility and indentures governing the notes issued by CSC
Holdings. The Lightpath silo includes all of its operating subsidiaries which are subject to the covenants and restrictions of the credit facility and indentures governing the notes
issued by Lightpath. See discussion below regarding the Lightpath debt financing.

In October 2015, a wholly-owned subsidiary of Altice USA, which merged with and into CSC Holdings on June 21, 2016, entered into a senior secured credit facility, which
currently provides U.S. dollar term loans currently in an aggregate principal amount of $3,000,000 ($1,535,842 outstanding at December 31, 2022) (the "CSC Term Loan
Facility", and the term loans extended under the CSC Term Loan Facility, the "CSC Term Loans") and U.S. dollar revolving loan commitments in an aggregate principal
amount of $2,475,000 ($1,575,000 outstanding at December 31, 2022) (the "CSC Revolving Credit Facility" and, together with the CSC Term Loan Facility, the "CSC Credit
Facilities"), which are governed by a credit facilities agreement entered into by, inter alios, CSC Holdings certain lenders party thereto and JPMorgan Chase Bank, N.A. as
administrative agent and security agent (as amended, restated, supplemented or otherwise modified from time to time, the "CSC Credit Facilities Agreement").
The Term Loan B is comprised of eurodollar borrowings or alternate base rate borrowings, and bears interest at a rate per annum equal to the adjusted LIBOR or the alternate
base rate, as applicable, plus the applicable margin, where the applicable margin is (i) with respect to any alternate base rate loan, 1.25% per annum and (ii) with respect to any
eurodollar loan, 2.25% per annum. The Company is required to make scheduled quarterly payments equal to 0.25% of the principal amount of the Term Loan B, beginning with
the fiscal quarter ended September 30, 2017, with the remaining balance scheduled to be paid on July 17, 2025.
In October 2019, CSC Holdings entered into a $3,000,000 ($2,917,500 outstanding at December 31, 2022), incremental term loan facility ("Incremental Term Loan B-5") under
its existing credit facilities agreement, out of which $500,000 was available on a delayed draw basis. The Incremental Term Loan B-5 matures on April 15, 2027 and was issued
at par. The Incremental Term Loan B-5 may be comprised of eurodollar borrowings or alternative base rate borrowings, and will bear interest at a rate per annum equal to the
Adjusted LIBOR or the alternate base rate, as applicable, plus the applicable margin, where the applicable margin is (i) with respect to any alternate base rate loan, 1.50% per
annum and (ii) with respect to any eurodollar loan, 2.50% per annum. The Company is required to make scheduled quarterly payments equal to 0.25% (or $7,500) of the
principal amount of the Incremental Term Loan B-5, beginning with the fiscal quarter ended June 30, 2020.




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On July 13, 2022, CSC Holdings entered into an amendment (the "Twelfth Amendment") under its existing credit facilities agreement. The Twelfth Amendment provides for,
among other things, an extended maturity on the CSC Revolving Credit Facility until the date that is the earlier of (i) July 13, 2027 and (ii) April 17, 2025 if, as of such date,
any Term Loan B borrowings are still outstanding, unless the Term Loan B maturity date has been extended to a date falling after July 13, 2027. Interest on borrowings under
the Twelfth Amendment are calculated based on the Term Secured Overnight Financing Rate ("SOFR") or alternative base rate borrowings, at a rate per annum equal to the
Term SOFR rate (plus a Term SOFR credit adjustment spread of 0.10%) or the alternate base rate, as applicable, plus the applicable margin, where the applicable margin is (i)
with respect to any alternate base rate loan, 1.25% per annum and (ii) with respect to any Term SOFR loan, 2.25% per annum.
On December 19, 2022, CSC Holdings entered into the thirteenth amendment under its existing credit facilities agreement (the "Thirteenth Amendment" or "Incremental Term
Loan B-6"). The Incremental Term Loan B-6 provides for, among other things, new refinancing term loan commitments in an aggregate principal amount of $ 2,001,942 issued
with an original issue discount of 200 basis points, with an extended maturity until the date that is the earlier of (i) January 15, 2028 and (ii) April 15, 2027 if, as of such date,
any Incremental Term Loan B-5 borrowings are still outstanding, unless the Incremental Term Loan B-5 maturity date has been extended to a date falling after January 15,
2028. Interest on the Incremental Term Loan B-6 will be calculated at a rate per annum equal to the Term SOFR rate or the alternate base rate, as applicable, plus the applicable
margin, where the applicable margin is (i) with respect to any alternate base rate loan, 3.50% per annum and (ii) with respect to any Term SOFR loan, 4.50% per annum. The
proceeds from the Incremental Term Loan B-6 were used to refinance (including by way of cashless roll) a portion of the Company's Term Loan B and Incremental Term Loan
B-3. The Company is required to make scheduled quarterly payments equal to 0.25% (or $5,004) of the principal amount of the Incremental Term Loan B-6, beginning with the
fiscal quarter ended June 30, 2023.
During the year ended December 31, 2022, CSC Holdings borrowed $2,315,000 under its revolving credit facility and repaid $1,640,000 of amounts outstanding under the
revolving credit facility. A portion of these borrowings were used to redeem at maturity $649,024 aggregate outstanding principal amount of CSC Holdings 5.875% senior notes
due September 2022.
The CSC Credit Facilities Agreement requires the prepayment of outstanding CSC Term Loans, subject to certain exceptions and deductions, with (i) 100% of the net cash
proceeds of certain asset sales, subject to reinvestment rights and certain other exceptions; and (ii) on a pari ratable share (based on the outstanding principal amount of the Term
Loans divided by the sum of the outstanding principal amount of all pari passu indebtedness and the Term Loans) of 50% of annual excess cash flow, which will be reduced to
0% if the consolidated net senior secured leverage ratio of CSC Holdings is less than or equal to 4.5 to 1.
The obligations under the CSC Credit Facilities are guaranteed by each restricted subsidiary of CSC Holdings (other than CSC TKR, LLC and its subsidiaries, Lightpath, and
certain excluded subsidiaries) (the "Initial Guarantors") and, subject to certain limitations, will be guaranteed by each future material wholly-owned restricted subsidiary of CSC
Holdings. The obligations under the CSC Credit Facilities (including any guarantees thereof) are secured on a first priority basis, subject to any liens permitted by the Credit
Facilities, by capital stock held by CSC Holdings or any guarantor in certain subsidiaries of CSC Holdings, subject to certain exclusions and limitations.
The CSC Credit Facilities Agreement includes certain negative covenants which, among other things and subject to certain significant exceptions and qualifications, limit CSC
Holdings' ability and the ability of its restricted subsidiaries to: (i) incur or guarantee additional indebtedness, (ii) make investments, (iii) create liens, (iv) sell assets and
subsidiary stock, (v) pay dividends or make other distributions or repurchase or redeem our capital stock or subordinated debt, (vi) engage in certain transactions with affiliates,
(vii) enter into agreements that restrict the payment of dividends by subsidiaries or the repayment of intercompany loans and advances; and (viii) engage in mergers or
consolidations. In addition, the CSC Revolving Credit Facility includes a financial maintenance covenant solely for the benefit of the lenders under the CSC Revolving Credit
Facility consisting of a maximum consolidated net senior secured leverage ratio of CSC Holdings and its restricted subsidiaries of 5.0 to 1.0. The financial covenant will be
tested on the last day of any fiscal quarter, but only if on such day there are outstanding borrowings, as defined, under the CSC Revolving Credit Facility.
The CSC Credit Facilities Agreement also contains certain customary representations and warranties, affirmative covenants and events of default (including, among others, an
event of default upon a change of control). If an event of default occurs, the lenders under the CSC Credit Facilities will be entitled to take various actions, including the




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acceleration of amounts due under the CSC Credit Facilities and all actions permitted to be taken by a secured creditor.
Issuances of Senior Guaranteed Notes and Senior Notes

In May 2021, CSC Holdings issued $1,500,000 in aggregate principal amount of senior guaranteed notes that bear interest at a rate of4.500% and mature on November 15,
2031 and $500,000 in aggregate principal amount of senior notes that bear interest at a rate of5.000% which also mature on November 15, 2031. The net proceeds from the sale
of these notes were used to early redeem the $1,498,806 aggregate principal amount of CSC Holdings' 5.500% senior guaranteed notes due May 15, 2026, plus pay accrued
interest and the associated premium related to the early redemption of these notes. The remaining proceeds were used for general corporate purposes, including repayment of
borrowings under the CSC Holdings revolving credit facility and share repurchases.
The indentures under which the Senior Guaranteed Notes and Senior Notes were issued contain certain customary covenants and agreements, including limitations on the ability
of CSC Holdings and its restricted subsidiaries to (i) incur or guarantee additional indebtedness, (ii) make investments or other restricted payments, (iii) create liens, (iv) sell
assets and subsidiary stock, (v) pay dividends or make other distributions or repurchase or redeem our capital stock or subordinated debt, (vi) engage in certain transactions with
affiliates, (vii) enter into agreements that restrict the payment of dividends by subsidiaries or the repayment of intercompany loans and advances, and (viii) engage in mergers or
consolidations, in each case subject to certain exceptions. The indentures also contain certain customary events of default. If an event of default occurs, the obligations under the
notes may be accelerated.
Subject to customary conditions, the Company may redeem some or all of the notes at the redemption price set forth in the relevant indenture, plus accrued and unpaid interest,
plus a specified "make-whole" premium (in the event the notes are redeemed prior to a certain specified time set forth in the indentures).
Lightpath Credit Facility
On September 29, 2020, Lightpath entered into a credit agreement between, inter alios, certain lenders party thereto and Goldman Sachs Bank USA, as administrative agent,
and Deutsche Bank Trust Company Americas, as collateral agent, (the "Lightpath Credit Agreement") which provides for, among other things, (i) a term loan in an aggregate
principal amount of $600,000 (the “Lightpath Term Loan Facility”) at a price of 99.5% of the aggregate principal amount, which was drawn on November 30, 2020, and (ii)
revolving loan commitments in an aggregate principal amount of $100,000 (the “Lightpath Revolving Credit Facility"). As of December 31, 2022 and 2021, there were no
borrowings outstanding under the Lightpath Revolving Credit Facility. The Company is required to make scheduled quarterly payments equal to 0.25% (or $1,500) of the
principal amount of the Lightpath Term Loan Facility, beginning with the fiscal quarter ended March 31, 2021.
The loans made pursuant to the Lightpath Credit Agreement are comprised of eurodollar borrowings or alternative base rate borrowings, and bear interest at a rate per annum
equal to the adjusted LIBOR rate or the alternate base rate, as applicable, plus the applicable margin, where the applicable margin is (i) with respect to any alternate base rate
loan, 2.25% per annum and (ii) with respect to any eurodollar loan, 3.25% per annum.
As of December 31, 2022, CSC Holdings and Lightpath were in compliance with applicable financial covenants under their respective credit facilities and with applicable
financial covenants under each respective indenture by which the senior guaranteed notes, senior secured notes and senior notes were issued.
Loss on Extinguishment of Debt and the Write-off of Deferred Financing Costs
The following table provides a summary of the loss on extinguishment of debt and the write-off of deferred financing costs recorded by the Company:
For the Year Ended December 31, 2022
 Refinancing of CSC Holdings Term Loan B and Incremental Term Loan B-3                                                                                        $                 575

For the Year Ended December 31, 2021
 Repayment of CSC Holdings 5.500% Senior Guaranteed Notes due 2026                                                                                            $              51,712




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For the Year Ended December 31, 2020:
 Repayment of CSC Holdings 5.375% Senior Guaranteed Notes due 2023                                                                                                       $                26,721
 Repayment of CSC Holdings 7.75% Senior Notes due 2025                                                                                                                                    35,375
 Repayment of CSC Holdings 10.875% Senior Notes due 2025                                                                                                                                 136,249
 Repayment of CSC Holdings 6.625% Senior Guaranteed Notes due 2025                                                                                                                        52,144
                                                                                                                                                                         $               250,489

Summary of Debt Maturities
The future principal payments under the Company's various debt obligations outstanding as of December 31, 2022, including collateralized indebtedness (see Note 12) and
notes payable and supply chain financing, but excluding finance lease obligations (see Note 9), are as follows:
Years Ending December 31,
2023 (a)                                                                                                                                                                     $         1,958,156
2024                                                                                                                                                                                     826,788
2025 (b)                                                                                                                                                                               3,141,414
2026                                                                                                                                                                                     567,223
2027                                                                                                                                                                                   5,141,519
Thereafter (c)                                                                                                                                                                        14,796,850


(a)      Includes $1,759,017 principal amount related to the Company's collateralized indebtedness. In January 2023, the Company settled this debt by delivering shares of Comcast common
         stock and the related equity derivative contracts.
(b)      Includes $1,575,000 principal amount related to the CSC Holdings' revolving credit facility that is due on the earlier of (i) July 13, 2027 and (ii) April 17, 2025 if, as of such date, any
         Term Loan B borrowings are still outstanding, unless the Term Loan B maturity date has been extended to a date falling after July 13, 2027.
(c)      Includes $2,001,942 principal amount related to the CSC Holdings' Incremental Term Loan B-6 that is due on the earlier of (i) January 15, 2028 and (ii) April 15, 2027 if, as of such
         date, any Incremental Term Loan B-5 borrowings are still outstanding, unless the Incremental Term Loan B-5 maturity date has been extended to a date falling after January 15, 2028.

NOTE 12.         DERIVATIVE CONTRACTS AND COLLATERALIZED INDEBTEDNESS
Prepaid Forward Contracts
The Company has entered into various transactions to limit the exposure against equity price risk on its shares of Comcast Corporation ("Comcast") common stock. The
Company has monetized all of its stock holdings in Comcast through the execution of prepaid forward contracts, collateralized by an equivalent amount of the respective
underlying stock. At maturity, the contracts provide for the option to deliver cash or shares of Comcast stock with a value determined by reference to the applicable stock price
at maturity. These contracts, at maturity, are expected to offset declines in the fair value of these securities below the hedge price per share while allowing the Company to retain
upside appreciation from the hedge price per share to the relevant cap price.
The Company received cash proceeds upon execution of the prepaid forward contracts discussed above which has been reflected as collateralized indebtedness in the
accompanying consolidated balance sheets. In addition, the Company separately accounts for the equity derivative component of the prepaid forward contracts. These equity
derivatives have not been designated as hedges for accounting purposes. Therefore, the net fair values of the equity derivatives have been reflected in the accompanying
consolidated balance sheets as an asset or liability and the net increases or decreases in the fair value of the equity derivative component of the prepaid forward contracts are
included in gain (loss) on derivative contracts in the accompanying consolidated statements of operations.
All of the Company's monetization transactions are obligations of its wholly-owned subsidiaries that are not part of the Restricted Group; however, CSC Holdings has provided
guarantees of the subsidiaries' ongoing contract payment expense obligations and potential payments that could be due as a result of an early termination event (as defined in the
agreements). If any one of these contracts was terminated prior to its scheduled maturity date, the Company would be obligated to repay the fair value of the collateralized
indebtedness less the sum of the fair values of the




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underlying stock and equity collar, calculated at the termination date. As of December 31, 2022, the Company did not have an early termination shortfall relating to any of these
contracts.
The Company monitors the financial institutions that are counterparties to its equity derivative contracts. All of the counterparties to such transactions carry investment grade
credit ratings as of December 31, 2022.
In January 2023, the Company settled its outstanding collateralized indebtedness by delivering the Comcast shares it held and the related equity derivative contracts which
resulted in the Company receiving net cash of approximately $50,500.
Interest Rate Swap Contracts
To manage interest rate risk, we have from time to time entered into interest rate swap contracts to adjust the proportion of total debt that is subject to variable and fixed interest
rates. Such contracts effectively fix the borrowing rates on floating rate debt to provide an economic hedge against the risk of rising rates and/or effectively convert fixed rate
borrowings to variable rates to permit the Company to realize lower interest expense in a declining interest rate environment. We monitor the financial institutions that are
counterparties to our interest rate swap contracts and we only enter into interest rate swap contracts with financial institutions that are rated investment grade. All such contracts
are carried at their fair market values on our consolidated balance sheets, with changes in fair value reflected in the consolidated statements of operations. As of December 31,
2022, the Company did not hold and has not issued derivative instruments for trading or speculative purposes.
The following represents the location of the assets and liabilities associated with the Company's derivative instruments within the consolidated balance sheets:
                                                                                                                                            Fair Value at December 31,
    Derivatives Not Designated as Hedging
                 Instruments                                                  Balance Sheet Location                                     2022                            2021
Asset Derivatives:
Interest rate swap contracts                        Derivative contracts                                                     $                       —    $                        2,993
Prepaid forward contracts                           Derivative contracts                                                                        263,873                               —
Interest rate swap contracts                        Other assets, long-term                                                                     185,622                               —
                                                                                                                             $                  449,495   $                        2,993
Liability Derivatives:
Interest rate swap contracts                        Other current liabilities                                                $                       —    $                       (3,441)
Prepaid forward contracts                           Liabilities under derivative contracts, long-term                                                —                          (161,942)
Interest rate swap contracts                        Liabilities under derivative contracts, long-term                                                —                          (114,991)
                                                                                                                             $                       —    $                     (280,374)

The following table presents certain consolidated statement of operations data related to our derivative contracts and the underlying Comcast common stock:
                                                                                                                                    Years Ended December 31,
                                                                                                                   2022                       2021                          2020
Gain (loss) on derivative contracts related to change in the value of equity derivative contracts related to
  Comcast common stock                                                                                         $       425,815       $              85,911      $                (178,264)
Change in fair value of Comcast common stock included in gain (loss) on investments                                   (659,792)                    (88,917)                       319,157
Gain (loss) on interest rate swap contracts, net of a gain of $74,835 recorded in 2020 in connection with
  the early termination of the swap agreements discussed below                                                            271,788                   92,735                         (78,606)

In March 2020, the Company terminated two swap agreements whereby the Company was paying a floating rate of interest and receiving a fixed rate of interest on an aggregate
notional value of $1,500,000. These contracts were due to mature in May 2026. In connection with the early termination, the Company received cash of $74,835 which has been
recorded in gain (loss) on interest swap contracts, net in our consolidated statements of operations and presented in operating activities in our consolidated statements of cash
flows.




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The following is a summary of interest rate swap contracts outstanding at December 31, 2022:
                                      Maturity Date            Notional Amount                        Company Pays                                         Company Receives
CSC Holdings:
                             January 2025                     $        500,000    Fixed rate of 1.53%                                      Three-month LIBOR
                             January 2025                              500,000    Fixed rate of 1.625%                                     Three-month LIBOR
                             January 2025                              500,000    Fixed rate of 1.458%                                     Three-month LIBOR
                             December 2026                             750,000    Fixed rate of 2.9155%                                    Three-month LIBOR
                             December 2026                             750,000    Fixed rate of 2.9025%                                    Three-month LIBOR
Lightpath:
                             December 2026 (a)                         300,000    Fixed rate of 2.161%                                     One-month LIBOR


(a)      Interest rate swap contract was effective April 2022. This swap contract is also not designated as a hedge for accounting purposes. Accordingly, this contract is carried at its fair
         market value on our consolidated balance sheet, with changes in fair value reflected in the consolidated statements of operations.

NOTE 13.          FAIR VALUE MEASUREMENT
The fair value hierarchy is based on inputs to valuation techniques that are used to measure fair value that are either observable or unobservable. Observable inputs reflect
assumptions market participants would use in pricing an asset or liability based on market data obtained from independent sources while unobservable inputs reflect a reporting
entity's pricing based upon their own market assumptions. The fair value hierarchy consists of the following three levels:
     •       Level I - Quoted prices for identical instruments in active markets.
     •       Level II - Quoted prices for similar instruments in active markets; quoted prices for identical or similar instruments in markets that are not active; and model-derived
             valuations whose inputs are observable or whose significant value drivers are observable.
     •       Level III - Instruments whose significant value drivers are unobservable.
The following table presents the Company's financial assets and financial liabilities that are measured at fair value on a recurring basis and their classification under the fair
value hierarchy:

                                                                                                                       Fair Value                            December 31,
                                                                                                                       Hierarchy                    2022                      2021
Assets:
  Money market funds                                                                                                    Level I            $             141,137    $             100,015
  Investment securities pledged as collateral                                                                           Level I                        1,502,145                2,161,937
  Prepaid forward contracts                                                                                             Level II                         263,873                       —
  Interest rate swap contracts                                                                                          Level II                         185,622                    2,993
Liabilities:
  Prepaid forward contracts                                                                                             Level II                               —                     161,942
  Interest rate swap contracts                                                                                          Level II                               —                     118,432
  Contingent consideration related to acquisition                                                                       Level III                           8,383                         —

The Company's money market funds which are classified as cash equivalents and investment securities pledged as collateral are classified within Level I of the fair value
hierarchy because they are valued using quoted market prices.
The Company's derivative contracts and liabilities under derivative contracts on the Company's consolidated balance sheets are valued using market-based inputs to valuation
models. These valuation models require a variety of inputs, including contractual terms, market prices, yield curves, and measures of volatility. When appropriate, valuations are
adjusted for various factors such as liquidity, bid/offer spreads and credit risk considerations. Such adjustments are generally based on available market evidence. Since model
inputs can generally be verified and do not involve




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significant management judgment, the Company has concluded that these instruments should be classified within Level II of the fair value hierarchy.
The fair value of the contingent consideration as of December 31, 2022 related to an acquisition in the third quarter of 2022 was determined using a probability assessment of
the contingent payment.
Fair Value of Financial Instruments
The following methods and assumptions were used to estimate fair value of each class of financial instruments for which it is practicable to estimate:
Credit Facility Debt, Collateralized Indebtedness, Senior Notes, Senior Guaranteed Notes, Senior Secured Notes, Notes Payable and Supply Chain Financing
The fair values of each of the Company's debt instruments are based on quoted market prices for the same or similar issues or on the current rates offered to the Company for
instruments of the same remaining maturities. The fair value of notes payable is based primarily on the present value of the remaining payments discounted at the borrowing
cost. The carrying value of outstanding amounts related to supply chain financing agreements approximates the fair value due to their short-term maturity (less than one year).
The carrying values, estimated fair values, and classification under the fair value hierarchy of the Company's financial instruments, excluding those that are carried at fair value
in the accompanying consolidated balance sheets, are summarized below:
                                                                                                       December 31, 2022                            December 31, 2021
                                                                       Fair Value               Carrying              Estimated              Carrying              Estimated
                                                                       Hierarchy               Amount (a)             Fair Value            Amount (a)             Fair Value

  Credit facility debt                                                  Level II           $        9,063,495   $          9,145,298   $         8,495,611    $          8,546,438
  Collateralized indebtedness                                           Level II                    1,746,281              1,731,771             1,706,997               1,741,710
  Senior guaranteed and senior secured notes                            Level II                    8,081,489              6,154,075             8,077,372               8,180,813
  Senior notes                                                          Level II                    7,324,238              4,531,300             7,950,241               7,883,071
  Notes payable and supply chain financing                              Level II                      127,635                127,608                97,804                  97,588
                                                                                           $       26,343,138   $         21,690,052   $        26,328,025    $         26,449,620


(a)      Amounts are net of unamortized deferred financing costs and discounts/premiums.
The fair value estimates related to the Company's debt instruments presented above are made at a specific point in time, based on relevant market information and information
about the financial instrument. These estimates are subjective in nature and involve uncertainties and matters of significant judgments and therefore cannot be determined with
precision. Changes in assumptions could significantly affect the estimates.

NOTE 14.         INCOME TAXES
Altice USA files a federal consolidated and certain state combined income tax returns with its80% or more owned subsidiaries. CSC Holdings and its subsidiaries are included
in the consolidated federal income tax returns of Altice USA. The income tax provision for CSC Holdings is determined on a stand-alone basis for all periods presented as if
CSC Holdings filed separate consolidated income tax returns. In accordance with a tax sharing agreement between CSC Holdings and Altice USA, CSC Holdings has an
obligation to Altice USA for its stand-alone current tax liability as if it filed separate income tax returns.




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Income tax expense for the years ended December 31, 2022, 2021 and 2020 consist of the following components:
                                                                                 Altice USA                                                                CSC Holdings
                                                                          Years Ended December 31,                                                   Years Ended December 31,
                                                               2022                 2021                         2020                      2022                2021                2020
Current expense (benefit):
 Federal                                               $           133,329     $            168,397      $                  —    $            133,329    $        179,032 $           (55,044)
 State                                                              81,076                   56,211                     65,804                 88,068              56,211              82,238
 Foreign                                                               128                       (3)                        —                     128                  (3)                 —
                                                                   214,533                  224,605                     65,804                221,525             235,240              27,194
Deferred expense (benefit):
 Federal                                                           (43,797)                  70,989                  113,871                  (43,797)             70,989             156,338
 State                                                              80,356                  (30,108)                 (38,359)                  69,676             (38,608)            (55,121)
 Foreign                                                              (174)                    (180)                      —                      (174)               (180)                 —
                                                                    36,385                   40,701                   75,512                   25,705              32,201             101,217
                                                                   250,918                  265,306                  141,316                  247,230             267,441             128,411
Tax expense (benefit) relating to uncertain tax
  positions                                                         44,922                   29,669                   (1,568)                  44,922              29,669              (1,568)
Income tax expense                                     $           295,840     $            294,975      $           139,748 $                292,152    $        297,110      $      126,843

The income tax expense attributable to operations differs from the amount derived by applying the statutory federal rate to pretax income principally due to the effect of the
following items:
                                                                                        Altice USA                                                          CSC Holdings
                                                                                 Years Ended December 31,                                             Years Ended December 31,
                                                                        2022               2021                          2020                 2022              2021               2020
Federal tax expense at statutory rate                              $      108,513 $            274,240 $                   122,478     $        108,513 $         274,240 $          122,363
State income taxes, net of federal impact                                  26,527               21,492                      59,383               28,768            13,973             58,802
Changes in the valuation allowance                                         20,176               13,573                      10,333               15,494            12,793             10,598
Change in New York state rate to measure deferred taxes, net of
  federal impact                                                             112,117                         —                   —                112,117                —                 —
Other changes in the state rates used to measure deferred taxes,
  net of federal impact                                                       (9,603)                  (6,924)              (46,768)              (10,849)           (7,125)          (46,768)
Tax expense (benefit) relating to uncertain tax positions                     36,281                   24,580                (1,568)               36,281            24,580            (1,568)
Tax credits                                                                   (3,544)                  (2,500)              (17,205)               (3,544)           (2,500)          (17,205)
Excess tax deficiencies (benefits) related to share-based
  compensation including non-deductible carried unit plans                    10,321                (2,602)                   (116)                10,321           (2,602)              (116)
Non-deductible officers compensation                                           4,916                 7,201                   6,715                  4,916            7,201              6,715
Foreign losses of disregarded entities                                        (6,352)                   —                       —                  (6,352)              —                  —
Other permanent differences                                                       —                (35,256)                     —                      —           (35,256)                —
Other non-deductible expenses (benefits)                                       1,588                 1,483                   1,340                  1,588            1,483               (886)
Other, net                                                                    (5,100)                 (312)                  5,156                 (5,101)          10,323             (5,092)
  Income tax expense                                               $         295,840    $          294,975       $         139,748 $              292,152 $        297,110 $          126,843


In December 2022, the New York State Division of Tax Appeals, via an Administrative Law Judge determination, published a decision in Charter Communications, Inc. versus
New York State, which concluded that each corporation in a combined reporting group would have to separately qualify as a qualified emerging technology company
(“QETC”) to use the preferential QETC tax rate. As the Company had been historically using the QETC rate at the




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combined reporting group level, it recorded a cumulative income tax expense of $157,300 that included both a revaluation of state deferred taxes and an increase to the
Company's uncertain tax positions reserve for tax years 2017 through 2022 based on this published decision.
In 2021, due to internal restructuring of i24NEWS and a permanent reduction in tax relating to the Opportunity Zones commitment (see note below), a permanent tax benefit of
$35,256 was recognized. In 2020, the Company recorded a $17,205 benefit resulting from research and development tax credits for the years 2016 through 2019.

In March 2020, the Coronavirus Aid, Relief, and Economic Security Act (the “CARES Act”) was signed into law. Included in the CARES Act, was a revision to IRC Sec 163(j)
increasing the ATI (adjusted taxable income) limit of deductible interest from 30% to 50% for tax years 2019 and 2020. The additional deductible interest on the 2019 federal
return was $176,539, tax-effected; as a result, the previously reported federal net operating loss carryforwards (“NOLs”) were increased by $176,539, resulting in a net zero tax
impact for CSC Holdings and Altice USA.
The tax effects of temporary differences which give rise to significant portions of deferred tax assets or liabilities and the corresponding valuation allowance are as follows:
                                                                                                              Altice USA                                       CSC Holdings
                                                                                                             December 31,                                      December 31,
                                                                                                     2022                      2021                    2022                     2021
  Noncurrent
  NOLs, capital loss, and tax credit carry forwards (a)                                    $                117,995    $            171,705 $                86,547 $               134,259
  Compensation and benefit plans                                                                             97,115                  63,870                  97,115                  63,870
  Restructuring liability                                                                                     2,079                   2,208                   2,079                   2,208
  Other liabilities                                                                                          48,433                  40,946                  48,433                  40,946
  Research and experimental expenditures                                                                     22,292                      —                   22,292                      —
  Liabilities under derivative contracts                                                                    315,861                 475,970                 315,861                 475,970
  Interest deferred for tax purposes                                                                        272,842                  63,402                 272,842                  63,402
  Operating lease liability                                                                                  71,232                  65,538                  71,232                  65,538
     Deferred tax assets                                                                                    947,849                 883,639                 916,401                 846,193
  Less: Valuation allowance                                                                                 (73,560)                (53,384)                (50,745)                (35,251)
     Net deferred tax assets, noncurrent                                                                    874,289                 830,255                 865,656                 810,942

  Deferred tax liabilities:
  Fixed assets and intangibles                                                                          (5,185,319)              (4,955,405)             (5,185,319)             (4,955,405)
  Operating lease asset                                                                                    (58,360)                 (51,494)                (58,360)                (51,494)
  Investments                                                                                             (393,700)                (559,919)               (393,700)               (559,919)
  Partnership investments                                                                                 (155,434)                (143,908)               (155,434)               (143,908)
  Prepaid expenses                                                                                         (11,477)                 (13,042)                (11,477)                (13,042)
  Fair value adjustments related to debt and deferred financing costs                                       (5,698)                 (11,985)                 (5,698)                (11,985)
  Opportunity Zone tax deferral                                                                           (145,608)                (142,631)               (145,608)               (142,631)
     Deferred tax liability, noncurrent                                                                 (5,955,596)              (5,878,384)             (5,955,596)             (5,878,384)
  Total net deferred tax liabilities                                                       $            (5,081,307)    $         (5,048,129) $           (5,089,940) $           (5,067,442)


(a)      Includes deferred tax assets of $354 as of December 31, 2022 that relate to the net operating losses of foreign subsidiaries which are presented under Other assets on the consolidated
         balance sheets.
Under the Tax Cuts & Jobs Act (“TCJA”) enacted in December 2017, research and experimental expenditures are required to be capitalized and amortized for the tax years
beginning after December 31, 2021. As a result, the Company has capitalized (net of amortization) $22,292 in 2022.




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As a result of the Company selling its 1% interest in Newsday LLC, as well as internal restructuring of i24NEWS in 2021, capital losses of $235,316 and $104,171,
respectively, were recognized for tax purposes. In the fourth quarter of 2022, the Company carried back the net capital loss against the taxable capital gain generated in
connection with the 49.99% sale of Lightpath in 2020. In addition, the Company received $48,645 in 2021 relating to a refund request for prior year AMT credits, including
$12,161 claimed in 2020 due to the CARES Act acceleration of credits.
Deferred tax assets have resulted primarily from the Company's future deductible temporary differences and NOLs. In assessing the realizability of deferred tax assets,
management considers whether it is more likely than not that some portion or all of the deferred tax asset will not be realized. In evaluating the need for a valuation allowance,
management takes into account various factors, including the expected level of future taxable income, available tax planning strategies and reversals of existing taxable
temporary differences. If such estimates and related assumptions change in the future, the Company may be required to record additional valuation allowances against its
deferred tax assets, resulting in additional income tax expense in the Company's consolidated statements of operations. Management evaluates the realizability of the deferred
tax assets and the need for additional valuation allowances quarterly. Due to the significant deferred tax liabilities associated with our fixed assets and intangibles, primarily due
to the change in the 2017 TCJA, allowing 100% bonus depreciation on most fixed assets, as well as the continued taxable income adjustments associated with the deferred tax
liabilities established under purchase accounting pursuant to the Cablevision and Cequel acquisitions in 2016, the future taxable income that will result from the reversal of
existing taxable temporary differences for which deferred tax liabilities are recognized is sufficient to conclude it is more likely than not that the Company will realize all of its
gross deferred tax assets, except those deferred tax assets against which a valuation allowance has been recorded which relate to certain state NOLs and the foreign NOLs in
i24NEWS.
In the normal course of business, the Company engages in transactions in which the income tax consequences may be uncertain. The Company's income tax returns are filed
based on interpretation of tax laws and regulations. Such income tax returns are subject to examination by taxing authorities. For financial statement purposes, the Company
only recognizes tax positions that it believes are more likely than not of being sustained. There is considerable judgment involved in determining whether positions taken or
expected to be taken on the tax return are more likely than not of being sustained. Changes in the liabilities for uncertain tax positions are recognized in the interim period in
which the positions are effectively settled or there is a change in factual circumstances.
The following is the activity relating to the Company's liability for uncertain tax positions:
                                                                                                                                         Years Ended December 31,
                                                                                                                               2022                2021                   2020
Balance at beginning of year                                                                                            $          25,296   $           1,301   $                2,093
Increases (decreases) from prior period positions                                                                                     871                (637)                    (792)
Increases from current period positions                                                                                            44,426              24,632                       —
Balance at end of year                                                                                                  $          70,593   $          25,296   $                1,301

Interest and penalties related to unrecognized tax benefits (“UTBs”) are included in our provision for income taxes. We recognized a net expense (benefit) for interest and
penalties of $9,683, $6,159, and $(1,301) during the years ended December 31, 2022, 2021, and 2020, respectively. As of December 31, 2022 and 2021, accrued interest and
penalties associated with UTBs were $16,789 and $7,106, respectively. The increase in interest and penalties for the year ended December 31, 2022 was primarily due to the
addition of the QETC tax rate position (see note above). We are not expecting a material change in the reserve due to expiring statutes, audit activity, or tax payments in the next
twelve months. If we were to prevail on all uncertain positions, the net effect would result in an income tax benefit of $56,398.
The most significant jurisdictions in which the Company is required to file income tax returns include the states of New York, New Jersey, Connecticut, and the City of New
York. The State and City of New York are presently auditing income tax returns for tax years 2012 through 2018 and 2015 through 2019, respectively. The State of New Jersey
is presently auditing income tax returns for tax years 2014 through 2017, and for tax years 2019 and 2020. Management does not believe that the resolution of these ongoing
income tax examinations will have a material adverse impact on the financial position of the Company.




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NOTE 15.         SHARE-BASED COMPENSATION
The following table presents share-based compensation expense and unrecognized compensation cost:


                                                                                                         Share-Based Compensation                     Unrecognized Compensation
                                                                                                                                                                 Cost
                                                                                             2022                   2021             2020              as of December 31, 2022
Awards issued pursuant to 2017 LTIP:
 Stock Option Awards                                                              $                  86,307   $        87,697   $        98,380   $                       75,493
 Performance Stock Units                                                                             10,220             8,675            14,395                           28,603
 Restricted Share Units                                                                              63,458             1,120             2,276                           60,927
Carry Unit Awards                                                                                        —                804            10,036                               —
                                                                                  $                 159,985   $        98,296   $       125,087   $                      165,023

Long Term Incentive Plan
In connection with Altice USA's IPO, the Company adopted the Altice USA 2017 Long Term Incentive Plan (the "2017 LTIP"). Under the 2017 LTIP, the Company may grant
awards of options, restricted shares, restricted share units, stock appreciation rights, performance stock, performance stock units and other awards. Under the 2017 LTIP,
awards may be granted to officers, employees and consultants of the Company or any of its affiliates. The 2017 LTIP is administered by Altice USA's Board of Directors (the
"Board"), subject to the provision of the stockholders' agreement. The Board has delegated its authority to the Company's Compensation Committee. The Compensation
Committee has the full power and authority to, among other things, select eligible participants, to grant awards in accordance with the 2017 LTIP, to determine the number of
shares subject to each award or the cash amount payable in connection with an award and determine the terms and conditions of each award.
In November 2018, the Board and the Company's stockholders holding a majority of the voting power of its capital stock approved an amendment to the 2017 LTIP, which
increased the maximum aggregate number of shares that may be issued for all purposes under the Plan to 19,879,291. In June 2020, stockholders of the Company approved an
increase to the number of shares authorized for issuance under the 2017 LTIP by 35,000,000 shares to 54,879,291 and approved the extension of the term to June 10, 2030. In
June 2022, stockholders of the Company approved an increase to the number of shares authorized for issuance under the 2017 LTIP, as amended, by 35,000,000 shares to
89,879,291 shares. The Board has the authority to amend, suspend, or terminate the 2017 LTIP. No amendment, suspension or termination will be effective without the approval
of the Company's stockholders if such approval is required under applicable laws, rules and regulations.
Stock Option Awards
Options outstanding under the 2017 LTIP Plan either (i) cliff vest on the third anniversary of the date of grant, (ii) vest over 3 years in annual increments of 33-1/3%, or (iii)
vest over 4 years, where 50% vest on the second anniversary, 25% on the third anniversary and 25% on the fourth anniversary of the date of grant. The option awards generally
are subject to continued employment with the Company, and expire 10 years from the date of grant. Performance based option awards vest upon achievement of performance
criteria.




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The following table summarizes activity related to stock options granted to Company employees:

                                                                                     Shares Under Option
                                                                                                                                             Weighted Average
                                                                                                                 Weighted Average               Remaining
                                                                                            Time                     Exercise                Contractual Term          Aggregate Intrinsic
                                                                                           Vesting                Price Per Share                (in years)                Value (a)
Balance at December 31, 2019                                                                    14,083,741     $              19.12                             8.74 $            112,915
 Granted                                                                                        26,569,892                    28.41
 Exercised                                                                                        (824,227)                   17.46
 Forfeited                                                                                      (2,767,260)                   23.05
Balance at December 31, 2020                                                                    37,062,146                    25.52                             8.69                   457,608
 Granted                                                                                        18,192,257                    16.87
 Exercised                                                                                      (1,368,156)                   17.47
 Forfeited and Cancelled                                                                        (2,887,431)                   28.02
Balance at December 31, 2021                                                                    50,998,816                    22.51                             8.29                     6,801
 Granted                                                                                         7,888,472                      9.30
 Forfeited and Cancelled                                                                        (7,811,613)                   23.84
Balance at December 31, 2022                                                                    51,075,675     $                20.27                           7.73 $                    184
Options exercisable at December 31, 2022                                                         29,446,269    $                23.26                           6.81 $                     —


(a)      The aggregate intrinsic value is calculated as the difference between the exercise price and the closing price of Altice USA's Class A common stock at the respective date.
As of December 31, 2022, the total unrecognized compensation cost related to stock options is expected to be recognized over a weighted-average period of approximately2.24
years.
The Company calculated the fair value of each option award on the date of grant using the Black-Scholes valuation model. The Company's computation of expected life was
determined based on the simplified method (the average of the vesting period and option term) due to the Company's lack of recent historical data for similar awards. The
interest rate for periods within the contractual life of the stock option was based on interest yields for U.S. Treasury instruments in effect at the time of grant. The Company's
computation of expected volatility was based on historical volatility of its common stock and the expected volatility of comparable publicly-traded companies who granted
options that had similar expected lives.
The weighted-average fair values of stock option awards granted during the years ended December 31, 2022, 2021 and 2020 were 3$.76, $6.42 and $7.82, respectively. The
following weighted-average assumptions were used to calculate these fair values:
                                                                                                                                             Years Ended December 31,
                                                                                                                               2022                    2021                       2020
Risk-free interest rate                                                                                                       3.42%                   1.36%                      1.43%
Expected life (in years)                                                                                                       6.24                    6.02                       6.38
Dividend yield                                                                                                                 —%                      —%                         —%
Volatility                                                                                                                    41.79%                 35.80%                     28.53%

In January 2023, the Company commenced a stock option exchange program (the “Exchange Offer”) to cancel certain stock options granted with a per share exercise price
greater than $6.00, held by certain eligible individuals who are current employees of the Company in exchange for restricted stock units (“RSU”) and deferred cash-
denominated awards (“DCA”) at the exchange ratio of one RSU and $10 of DCAs for every seven eligible options in the Exchange Offer. Based on the terms of the Exchange
Offer, if all eligible options are exchanged, (i) options to purchase 28,943,193 shares of our Class A common stock will be surrendered and cancelled; and (ii)4,134,306
restricted stock units and $41,349 of deferred cash-denominated awards will be granted. The exchange of eligible options for RSUs will be accounted for as a modification of
stock-based compensation awards. Accordingly, the




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Company expects to recognize the unamortized compensation cost of the surrendered eligible options, as well as any incremental compensation cost of the replacement awards
granted in the Exchange Offer.
Performance Stock Units
In January 2020, certain employees of the Company were granted performance stock units ("PSUs"). Each PSU gives the employee the right to receive one share of Altice USA
class A common stock, upon achievement of a specified stock price hurdle. The PSUs will be forfeited if the applicable performance measure is not achieved prior to
January 29, 2026 or if the employee does not continue to provide services to the Company through the achievement date of the applicable performance measure.
The following table summarizes activity related to PSUs granted to Company employees:
                                                                                                                                                      Number of Units
Balance at December 31, 2019                                                                                                                                             —
 Granted                                                                                                                                                          7,639,628
 Forfeited                                                                                                                                                         (324,268)
Balance at December 31, 2020                                                                                                                                      7,315,360
 Granted                                                                                                                                                            160,647
 Forfeited                                                                                                                                                       (1,114,113)
Balance at December 31, 2021                                                                                                                                      6,361,894
 Forfeited                                                                                                                                                       (1,182,535)
Balance at December 31, 2022                                                                                                                                      5,179,359

The PSUs have a weighted average grant date fair value of $10.65 per unit. The total unrecognized compensation cost related to outstanding PSUs is expected to be recognized
over a weighted-average period of approximately 3.1 years.
Restricted Share Units
In June 2019, the Company granted RSUs to certain employees pursuant to the 2017 LTIP. The majority of these awards vest over 4 years, where 50% vest on the second
anniversary, 25% on the third anniversary and 25% on the fourth anniversary of the date of grant. The remaining awards vest monthly over a four year period. The grant date
fair value of these awards aggregated $27,013.
In December 2021, the Company granted 6,621,639 RSUs to certain employees pursuant to the 2017 LTIP with an aggregate fair value of $107,469 ($16.23 per share) which
are being expensed over the vesting period. Most of these awards vest over three years in 33-1/3% annual increments.
The following table summarizes activity related to RSUs granted to Company employees in 2021:
                                                                                                                                                      Number of Units
Balance at December 31, 2020                                                                                                                                             —
 Granted                                                                                                                                                          6,621,639
 Forfeited                                                                                                                                                           (3,802)
Balance at December 31, 2021                                                                                                                                      6,617,837
 Granted                                                                                                                                                          3,597,775
 Vested                                                                                                                                                          (2,141,449)
 Forfeited                                                                                                                                                         (578,775)
Balance at December 31, 2022                                                                                                                                      7,495,388

Lightpath Plan Awards
In the third quarter of 2021, Lightpath Management Incentive Aggregator LLC ("LMIA") established a Management Incentive Plan (the "Lightpath Plan") for the benefit of
employees of Lightpath by issuing equity interests in LMIA which holds an equivalent number of equity interests in Lightpath Holdings LLC (“Holdings”), the parent of
Lightpath. These equity interests allow employees to participate in the long-term growth of Lightpath. The Lightpath




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Plan provides for an aggregate of 650,000 Class A-1 management incentive units and 350,000 Class A-2 management incentive units for issuance.
As of December 31, 2022, 498,225 Class A-1 management incentive units and 221,987 Class A-2 management incentive units ("Award Units") granted to certain employees of
Lightpath were outstanding. Vested units will be redeemed upon a partial exit, a change in control or the completion of an initial public offering, as defined in the Holdings LLC
agreement. The grant date fair value of the Award Units granted and outstanding aggregated $ 32,289 and will be expensed in the period in which a partial exit or a liquidity
event is consummated.

NOTE 16.         AFFILIATE AND RELATED PARTY TRANSACTIONS
Affiliate and Related Party Transactions
Altice USA is controlled by Patrick Drahi through Next Alt who also controls Altice Europe and other entities.
As the transactions discussed below were conducted between entities under common control by Mr. Drahi, amounts charged for certain services may not have represented
amounts that might have been received or incurred if the transactions were based upon arm's length negotiations.
The following table summarizes the revenue and expenses related to services provided to or received from affiliates and related parties:
                                                                                                                                    Years Ended December 31,
                                                                                                                      2022                    2021                  2020
Revenue                                                                                                      $                 2,368 $              13,238 $               14,729
Operating expenses:
   Programming and other direct costs                                                                        $               (14,321)   $         (17,167)   $           (13,346)
   Other operating expenses, net                                                                                             (12,210)             (11,989)               (11,869)
     Operating expenses, net                                                                                                 (26,531)             (29,156)               (25,215)
Other credits                                                                                                                     48                   —                      —
Net charges                                                                                                  $               (24,115)   $         (15,918)   $           (10,486)
Capital Expenditures                                                                                         $               91,382     $          54,163    $             17,216

Revenue
The Company recognized revenue primarily from the sale of advertising to a subsidiary of Altice Europe and in 2021 also recognized revenue from a foundation controlled by
Mr. Drahi.
Programming and other direct costs
Programming and other direct costs include costs incurred by the Company for advertising services provided by Teads S.A., a subsidiary of Altice Europe.
Other operating expenses, net
Other operating expenses primarily include charges for services provided by certain subsidiaries of Altice Europe and other related parties.
Capital Expenditures
Capital expenditures primarily include costs for equipment purchased and software development services provided by subsidiaries of Altice Europe.
Aggregate amounts that were due from and due to affiliates and related parties are summarized below:




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                                                                                                                                                            December 31,
                                                                                                                                                    2022                    2021
Due from:
 Altice Europe                                                                                                                           $                   529    $                  241
 Other affiliates and related parties                                                                                                                         43                     3,535
                                                                                                                                         $                   572    $                3,776
Due to:
 Altice Europe                                                                                                                           $                 19,211   $               30,604
 Other affiliates and related parties                                                                                                                       1,646                    1,206
                                                                                                                                         $                 20,857   $               31,810

Amounts due from affiliates presented in the table above represent amounts paid by the Company on behalf of or for services provided to the respective related party. Amounts
due to affiliates presented in the table above and included in other current liabilities in the accompanying balance sheets relate to the purchase of equipment and advertising
services, as well as reimbursement for payments made on our behalf.
In June 2020, pursuant to the Company's share repurchase program, Altice USA purchased 3,582,525 shares of Altice USA Class A common stock held by Altice Europe for a
total consideration of $84,906. See further information regarding the Company's share repurchase plan in Note 1.
CSC Holdings
CSC Holdings made cash equity distribution payments to and received cash contributions from its parent. CSC Holdings also recorded net non-cash equity contributions
(distributions) which represent the non-cash settlement of intercompany balances with Altice USA. Non-cash equity contributions (distributions) include the settlement of
amounts due to/due from Altice USA pursuant to a tax sharing agreement between the entities. See summary below:
                                                                                                                                    Years Ended December 31,
                                                                                                                    2022                      2021                          2020
Cash distribution payments to Altice USA, net                                                             $                   (170) $              (763,435) $                 (4,794,408)
Non-cash equity contributions from (distributions to) Altice USA, net                                                        7,015                  (19,500)                      178,720

NOTE 17.              COMMITMENTS AND CONTINGENCIES
Commitments
Future cash payments and commitments required under arrangements pursuant to contracts entered into by the Company in the normal course of business as ofDecember 31,
2022 are as follows:
                                                                                                                       Payments Due by Period
                                                                                                                                                                            More than
                                                                                  Total                 Year 1               Years 2-3                Years 4-5              5 years
Off balance sheet arrangements:
 Purchase obligations (a)                                                 $         7,892,430    $         2,976,753    $         4,067,055     $            840,486    $            8,136
 Guarantees (b)                                                                        75,318                 62,703                 12,615                       —                     —
 Letters of credit (c)                                                                130,994                  1,513                    720                       —                128,761
      Total                                                               $         8,098,742    $         3,040,969    $         4,080,390     $            840,486    $          136,897


(a)           Purchase obligations primarily include contractual commitments with various programming vendors to provide video services to customers and minimum purchase obligations to
              purchase goods or services, including contracts to acquire handsets and other equipment. Future fees payable under contracts with programming vendors are based on numerous
              factors, including the number of customers receiving the programming. Amounts reflected above related to programming agreements are based on the number of customers receiving
              the programming as of December 31, 2022 multiplied by the per customer rates or the stated annual fee, as applicable, contained in the executed agreements in effect as of
              December 31, 2022.




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(b)      Includes franchise and performance surety bonds primarily for the Company's cable television systems.
(c)      Represent letters of credit guaranteeing performance to municipalities and public utilities and payment of insurance premiums. Payments due by period for these arrangements
         represent the year in which the commitment expires although payments under these arrangements are required only in the event of nonperformance.
The table above does not include obligations for payments required to be made under multi-year franchise agreements based on a percentage of revenues generated from video
service per year.
Many of the Company's franchise agreements and utility pole leases require the Company to remove its cable wires and other equipment upon termination of the respective
agreements. The Company has concluded that the fair value of these asset retirement obligations cannot be reasonably estimated since the range of potential settlement dates is
not determinable.
The table above does not include obligations for rent related to utility poles used in our operations. The Company's pole rental agreements are for varying terms, and
management anticipates renewals as they expire. Rent expense incurred for pole rental attachments for the years ended December 31, 2022, 2021 and 2020 was $40,277,
$37,545, and $36,364, respectively.
Legal Matters
On November 6, 2018, Sprint Communications Company L.P ("Sprint") filed a complaint in the U.S. District Court for the District of Delaware alleging that the Company
infringes Sprint’s patents purportedly by providing Voice over Internet Protocol ("VoIP") services. The lawsuit is part of a pattern of litigation that was initiated as far back as
2005 by Sprint against numerous broadband and telecommunications providers, which has resulted in judgments and settlements of significant value for Sprint. Sprint and the
Company have reached a settlement of the foregoing suit for $112,500. The Company paid $65,000 to T-Mobile, the successor-in-interest to Sprint as of December 31, 2022,
and the balance of $47,500 is payable on or before June 30, 2024. The Company is evaluating indemnity claims against certain suppliers in connection with this matter.
On December 14, 2022, BMG Rights Management (US) LLC, UMG Recordings, Inc., Capitol Records, LLC, Concord Music Group, Inc., and Concord Bicycle Assets, LLC
(collectively, “BMG” or “Plaintiffs”) filed a complaint in the U.S. District Court for the Eastern District of Texas, alleging that certain of the Company’s Internet subscribers
directly infringed over 7,700 of Plaintiffs’ copyrighted works. Plaintiffs seek to hold the Company liable for claims of contributory infringement of copyright and vicarious
copyright infringement. The Company intends to vigorously defend these claims.
Although the outcome of the above matters cannot be predicted and the impact of a final resolution of these matters on the Company’s results of operations or financial position
is not known or reasonably estimable at this time, management does not believe that the ultimate resolution of the matters, individually or together, will have a material adverse
effect on the operations or financial position of the Company or the ability of the Company to meet its financial obligations as they become due, but they could be material to
the Company’s consolidated results of operations or cash flows for any one period.
In addition to the matters discussed above, the Company also receives notices from third parties, and in some cases is named as a defendant in lawsuits, claiming infringement
of various patents or copyrights relating to various aspects of the Company's businesses. In certain of these cases other industry participants are also defendants, and in certain
of these cases the Company expects that some or all potential liability would be the responsibility of the Company's vendors pursuant to applicable contractual indemnification
provisions. In the event that the Company is found to infringe on any patent or other intellectual property rights, the Company may be subject to substantial damages and/or an
injunction that could require the Company or its vendors to modify certain products and services the Company offers to its subscribers, as well as enter into royalty or license
agreements with respect to the patents at issue. The Company is also party to various other lawsuits, disputes and investigations arising in the ordinary course of its business,
some of which may involve claims for substantial damages, fines or penalties. Although the outcome of these matters cannot be predicted and the impact of the final resolution
of these matters on the Company's results of operations in a particular subsequent reporting period is not known, management does not believe that the resolution of these
matters, individually, will have a material adverse effect on the operations or financial position of the Company or the ability of the Company to meet its financial obligations as
they become due.




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                                                                                                  Exhibit 21
                                                LIST OF SUBSIDIARIES OF ALTICE USA, INC.




Name of Subsidiary                                Jurisdiction of Incorporation or Organization
1111 Stewart Corporation                          Delaware
4Connections LLC                                  New Jersey
a4 Media, LLC                                     Delaware
A R H, LTD.                                       Colorado
A-R Cable Services — NY, Inc.                     New York
Altice Care Holdings Corp.                        Delaware
Altice/Charter Maser Cable Advertising, LLC       Delaware
Altice News, Inc                                  Delaware
Altice Real Estate Corporation                    New York
Altice USA Employee Disaster Relief Fund          Delaware
Altice USA News, Inc.                             Delaware
Altice USA Wireless, Inc.                         Delaware
ATS Home Security Installers, LLC                 Delaware
ATS US Holdings Corp.                             Delaware
ATS US, LLC                                       Delaware
Audience Partners Canada, Inc.                    Canada
Audience Partners Worldwide LLC                   Delaware
Cable Systems, Inc.                               Kansas
Cablevision Lightpath CT LLC                      Delaware
Cablevision Lightpath Holdings LLC                Delaware
Cablevision Lightpath NJ LLC                      Delaware
Cablevision Lightpath LLC                         Delaware
Cablevision NYI L.L.C.                            Delaware
Cablevision Of Brookhaven, Inc.                   Delaware
Cablevision Of Hudson County, LLC                 Delaware
Cablevision Of Litchfield, Inc.                   Delaware
Cablevision Of Monmouth, LLC                      Delaware
Cablevision Of New Jersey, LLC                    Delaware
Cablevision Of Newark                             New York
Cablevision Of Oakland, LLC                       Delaware
Cablevision of Ossining Limited Partnership       Massachusetts
Cablevision Of Paterson, LLC                      Delaware
Cablevision of Rockland/Ramapo, LLC               Delaware
Cablevision Of Southern Westchester, Inc.         New York
Cablevision Of Wappingers Falls, Inc.             Delaware
Cablevision Of Warwick, LLC                       Delaware
Cablevision Systems Brookline Corporation         Delaware
Cablevision Systems Corporation                   Delaware
Cablevision Systems Dutchess Corporation          New York
Cablevision Systems East Hampton Corporation      New York
Cablevision Systems Great Neck Corporation        New York
Cablevision Systems Huntington Corporation        New York
Cablevision Systems Islip Corporation             New York
Cablevision Systems Long Island Corporation       New York
Cablevision Systems New York City Corporation     Delaware
Cablevision Systems Suffolk Corporation           New York
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Cablevision Systems Westchester Corporation    New York
Cambridge Network Solutions, LLC               Massachusetts
Cebridge Acquisition, L.P.                     Delaware
Cebridge Acquisition, LLC                      Delaware
Cebridge Connections Finance Corp.             Delaware
Cebridge Connections, Inc.                     Delaware
Cebridge Corporation                           Delaware
Cebridge General, LLC                          Delaware
Cebridge Limited, LLC                          Delaware
Cebridge Telecom CA, LLC                       Delaware
Cebridge Telecom General, LLC                  Delaware
Cebridge Telecom ID, LLC                       Delaware
Cebridge Telecom IN, LLC                       Delaware
Cebridge Telecom KS, LLC                       Delaware
Cebridge Telecom KY, LLC                       Delaware
Cebridge Telecom LA, LLC                       Delaware
Cebridge Telecom Limited, LLC                  Delaware
Cebridge Telecom MO, LLC                       Delaware
Cebridge Telecom MS, LLC                       Delaware
Cebridge Telecom NC, LLC                       Delaware
Cebridge Telecom NM, LLC                       Delaware
Cebridge Telecom OH, LLC                       Delaware
Cebridge Telecom OK, LLC                       Delaware
Cebridge Telecom TX, L.P.                      Delaware
Cebridge Telecom VA, LLC                       Delaware
Cebridge Telecom WV, LLC                       Delaware
Cequel Capital Corporation                     Delaware
Cequel Communications Access Services, LLC     Delaware
Cequel Communications Holdco, LLC              Delaware
Cequel Communications, LLC                     Delaware
Cequel Communications II, LLC                  Delaware
Cequel Communications III, LLC                 Delaware
Cequel III Communications I, LLC               Delaware
Cequel III Communications II, LLC              Delaware
Cequel Wireless, LLC                           Delaware
Charter/Altice Master Cable Advertising, LLC   Delaware
Classic Cable of Louisiana, L.L.C.             Louisiana
Classic Cable of Oklahoma, Inc.                Delaware
Classic Cable, Inc.                            Delaware
Classic Communications, Inc.                   Delaware
CNS Network Solutions, LLC                     Massachusetts
Coram Route 112 Corporation                    Delaware
CSC Acquisition Corporation                    Delaware
CSC Acquisition-MA, Inc.                       Delaware
CSC Acquisition-NY, Inc.                       New York
CSC Gateway, LLC                               Delaware
CSC Holdings, LLC                              Delaware
CSC Investments LLC                            Delaware
CSC MVDDS LLC                                  Delaware
CSC NASSAU II, LLC                             Delaware
CSC NC, LLC                                    Delaware
CSC Optimum Holdings, LLC                      Delaware
CSC QOF I, LLC                                 Delaware
CSC QOF II, LLC                                Delaware
CSC QOZB, LLC                                  Delaware
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CSC T Holdings I, INC.                          Delaware
CSC T Holdings II, INC.                         Delaware
CSC T Holdings III, INC.                        Delaware
CSC T Holdings IV, INC.                         Delaware
CSC Technology, LLC                             Delaware
CSC Telecom East, LLC                           Delaware
CSC Telecom NJ, LLC                             Delaware
CSC TKR, LLC                                    Delaware
CSC Transport II, Inc.                          Delaware
CSC Transport III, Inc.                         Delaware
CSC Transport, Inc.                             Delaware
CSC Voice, LLC                                  Delaware
CSC VT, Inc.                                    Vermont
CSC Wireless, LLC                               Delaware
CSC Wireless NY, LLC                            Delaware
DTV Norwich LLC                                 Delaware
Friendship Cable Of Arkansas, Inc.              Texas
Friendship Cable Of Texas, Inc.                 Texas
Frowein Road Corporation                        Delaware
GlitchAI, Inc.                                  Delaware
Hornell Television Services, Inc.               New York
i24 News France                                 France
i24 News S.a.r.l.                               Luxembourg
i24 US Corp                                     Delaware
I24 US, LLC                                     Delaware
Intelcia Jamaica Limited                        Jamaica
Intelcia USA LLC                                Delaware
Juice Media, Inc.                               Delaware
Kingwood Holdings, LLC                          Delaware
Kingwood Security Services, LLC                 Delaware
Lightpath Holdco 1, Inc.                        Delaware
Lightpath Holdco 2, Inc                         Delaware
Lightpath Holdings LLC                          Delaware
Lightpath Management Incentive Aggregator LLC   Delaware
Lightpath of New England, LLC                   Delaware
Mercury Voice and Data, LLC                     Delaware
Middle East News                                Israel
MSGVN LLC                                       Delaware
N12N LLC                                        Delaware
News 12 Company                                 New York
News 12 Connecticut LLC                         Delaware
News 12 Networks LLC                            Delaware
News 12 New Jersey Holding LLC                  Delaware
News 12 New Jersey II Holding LLC               Delaware
News 12 New Jersey L.L.C.                       Delaware
News 12 The Bronx Holding LLC                   Delaware
News 12 The Bronx, L.L.C.                       Delaware
News 12 Traffic and Weather LLC                 Delaware
News 12 Varsity Network LLC                     Delaware
News 12 Westchester LLC                         Delaware
NMG Holdings, INC.                              Delaware
NPG Cable, LLC                                  Delaware
NPG Digital Phone, LLC                          Delaware
NY Interconnect, LLC                            Delaware
NY OV LLC                                       Delaware
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ORBIS1, L.L.C.                          Louisiana
OV LLC                                  Delaware
Petra Cablevision Corp.                 New York
Princeton Video Image Israel, Ltd.      Israel
Samson Cablevision Corp.                New York
SL3TV, LLC                              Delaware
St@rt LLC                               California
Suffolk Cable Corporation               New York
Suffolk Cable Of Shelter Island, Inc.   New York
Suffolk Cable Of Smithtown, Inc.        New York
TCA Communications, L.L.C.              Texas
Telerama, Inc.                          Ohio
The New York Interconnect L.L.C.        Delaware
Tristate Digital Group LLC              Delaware
Two Nil, LLC                            California
Universal Cable Holdings, Inc.          Delaware
Via D’Oro, Inc.                         Delaware
W.K. Communications, Inc.               Kansas
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                                                                                                                                                             Exhibit 23.1




                                                      Consent of Independent Registered Public Accounting Firm


We consent to the incorporation by reference in the registration statements (No. 333-265631, No. 333-239085, No. 333-228907 and No. 333-222170) on Form S-8 of our reports
dated February 22, 2023, with respect to the consolidated financial statements of Altice USA, Inc. and the effectiveness of internal control over financial reporting.


/s/ KPMG LLP
New York, New York
February 22, 2023
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                                                                                                                                                                         Exhibit 31.1

                                                                                CERTIFICATION

I, Dennis Mathew, Chief Executive Officer of Altice USA, Inc., certify that:

    1.   I have reviewed this annual report on Form 10-K of Altice USA, Inc.;

    2.   Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the statements made, in
         light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;

    3.   Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the financial condition,
         results of operations and cash flows of the registrant as of, and for, the periods presented in this report;

    4.   The registrant's other certifying officers and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in Exchange Act Rules 13a-
         15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and have:

             (a) designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to ensure that
                 material information relating to the registrant, including their consolidated subsidiaries, is made known to us by others within those entities, particularly during
                 the period in which this annual report is being prepared;

             (b) designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our supervision, to provide
                 reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance with
                 generally accepted accounting principles;

             (c) evaluated the effectiveness of the registrant's disclosure controls and procedures and presented in this annual report our conclusions about the effectiveness of
                 the disclosure controls and procedures as of the end of the period covered by this annual report based on such evaluation; and

             (d) disclosed in this annual report any change in the registrant's internal control over financial reporting that occurred during the registrant's most recent fiscal
                 quarter (the registrant's fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the
                 registrant's internal control over financial reporting;

    5.   The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the registrant’s auditors
         and the audit committee of the registrant’s board of directors (or persons performing the equivalent functions):

             (a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably likely to
                 adversely affect the registrant’s ability to record, process, summarize and report financial information; and

             (b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal control over financial
                 reporting.



    Date:       February 22, 2023                                                             By:      /s/ Dennis Mathew
                                                                                                       Dennis Mathew
                                                                                                       Chief Executive Officer
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                                                                                                                                                                             Exhibit 31.2

                                                                                   CERTIFICATION

I, Michael J. Grau, Chief Financial Officer of Altice USA, Inc., certify that:

    1.     I have reviewed this annual report on Form 10-K of Altice USA, Inc.;

    2.     Based on my knowledge, this report does not contain any untrue statement of a material fact or omit to state a material fact necessary to make the statements made, in
           light of the circumstances under which such statements were made, not misleading with respect to the period covered by this report;

    3.     Based on my knowledge, the financial statements, and other financial information included in this report, fairly present in all material respects the financial condition,
           results of operations and cash flows of the registrant as of, and for, the periods presented in this report;

    4.     The registrant's other certifying officers and I are responsible for establishing and maintaining disclosure controls and procedures (as defined in Exchange Act Rules 13a-
           15(e) and 15d-15(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and have:

                 (a) designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision, to ensure that
                     material information relating to the registrant, including their consolidated subsidiaries, is made known to us by others within those entities, particularly during
                     the period in which this annual report is being prepared;

                 (b) designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our supervision, to provide
                     reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for external purposes in accordance with
                     generally accepted accounting principles;

                 (c) evaluated the effectiveness of the registrant's disclosure controls and procedures and presented in this annual report our conclusions about the effectiveness of
                     the disclosure controls and procedures as of the end of the period covered by this annual report based on such evaluation; and

                 (d) disclosed in this annual report any change in the registrant's internal control over financial reporting that occurred during the registrant's most recent fiscal
                     quarter (the registrant's fourth fiscal quarter in the case of an annual report) that has materially affected, or is reasonably likely to materially affect, the
                     registrant's internal control over financial reporting;

    5.     The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation of internal control over financial reporting, to the registrant’s auditors
           and the audit committee of the registrant’s board of directors (or persons performing the equivalent functions):

                 (a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are reasonably likely to
                     adversely affect the registrant’s ability to record, process, summarize and report financial information; and

                 (b) Any fraud, whether or not material, that involves management or other employees who have a significant role in the registrant’s internal control over financial
                     reporting.




         Date:       February 22, 2023                                                              By:     /s/ Michael J. Grau
                                                                                                            Michael J. Grau
                                                                                                            Chief Financial Officer
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                                                                                                                                                                        Exhibit 32


                                                                                  Certifications
Pursuant to 18 U.S.C. § 1350, each of the undersigned officers of Altice USA, Inc. ("Altice USA") hereby certifies, to such officer's knowledge, that Altice USA's Annual
Report on Form 10-K for the year ended December 31, 2022 (the "Report") fully complies with the requirements of Section 13(a) or 15(d), as applicable, of the Securities
Exchange Act of 1934, and that the information contained in the Report fairly presents, in all material respects, the financial condition and results of operations of Altice USA.

Date:       February 22, 2023                                               By:       /s/ Dennis Mathew
                                                                                      Dennis Mathew
                                                                                      Chief Executive Officer

Date:       February 22, 2023                                               By:       /s/ Michael J. Grau
                                                                                      Michael J. Grau
                                                                                      Chief Financial Officer
